    Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 1 of 142



                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

                                    )
SPEECHNOW.ORG, et. al.,             )
                                    )
                  Plaintiffs,       )
                                    )      Civ. No. 08-248 (JR)
            v.                      )
                                    )
FEDERAL ELECTION COMMISSION, )
                                    )
                  Defendant.        )
____________________________________)


            DEFENDANT FEDERAL ELECTION COMMISSION’S
                   PROPOSED FINDINGS OF FACT

                                    Thomasenia P. Duncan
                                    (D.C. Bar No. 424222)
                                    General Counsel

                                    David Kolker
                                    (D.C. Bar No. 394558)
                                    Associate General Counsel

                                    Kevin Deeley
                                    Assistant General Counsel

                                    Robert W. Bonham III
                                    (D.C. Bar No. 397859)
                                    Senior Attorney

                                    Vivien Clair
                                    Steve N. Hajjar
                                    Greg J. Mueller
                                    (D.C. Bar No. 462840)
                                    Graham Wilson
                                    Attorneys

October 28, 2008                    FOR THE DEFENDANT
                                    FEDERAL ELECTION COMMISSION
                                    999 E Street NW
                                    Washington, DC 20463
                                    (202) 694-1650
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 2 of 142




                                           TABLE OF CONTENTS

I.     The Parties ...........................................................................................................................1

       A.         Defendant Federal Election Commission ................................................................1

       B.         Plaintiffs ...................................................................................................................1

II.    SpeechNow Was Formed to Serve as a “Test Case” ...........................................................5

III.   SpeechNow’s Advertisements Constitute the Speech of David Keating – Who Is
       Solely Responsible for Its Activities, and Not the Speech of Its Contributors..................10

IV.    Unlimited Contributions To an Association Devoted to Independent Candidate
       Expenditures Pose a Danger of Corruption or its Appearance ..........................................18

       A.         Independent Expenditures Are Effective in Determining the Outcome of
                  Elections and Have Gotten More Effective Over Time, Even Though They
                  Are Not Coordinated with a Campaign .................................................................19

                  1.         Independent Expenditures Can Have a Significant Impact on
                             Elections Generally....................................................................................19

                  2.         There Are Many Specific Examples of Independent Expenditures
                             Having a Significant Impact on an Election. .............................................24

                  3.         Independent Expenditures Have Become More Effective over
                             Time ...........................................................................................................30

                  4.         Technical Coordination with a Candidate Is Unnecessary for an
                             Independent Expenditure to Effectively Supplement a Campaign ............32

       B.         Independent Expenditures Lead to Gratitude, Indebtedness, and Access,
                  Pose a Danger of Quid Pro Quo Arrangements, and Create the Appearance
                  of Corruption..........................................................................................................37

                  1.         Large Direct Contributions Raise the Danger of Quid Pro Quo
                             Arrangements, Undue Influence, and the Appearance of
                             Corruption ..................................................................................................37

                  2.         Donors Are Also Willing to Make Large Indirect Contributions to
                             Secure Access and Influence Policymaking ..............................................39

                  3.         The History of Contributions to Party Soft Money Committees
                             Illustrates that Donors Are Willing to Invest Their Contributions
                             Indirectly and Officeholders Seek Such Contributions. ............................40



                                                                  i
Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 3 of 142



     4.         Donors Seeking Access and Influence Give to Non-Party
                Organizations As Well...............................................................................43

     5.         Contributions to Groups that Make Independent Expenditures Can
                Lead to Corruption in the Same Way as Direct and Other Kinds of
                Indirect Contributions ................................................................................47

     6.         Unregulated Contributions to Groups that Make Independent
                Expenditures in California Illustrates the Potential for Corruption
                and Circumvention.....................................................................................48

     7.         People Have Established Independent Groups Devoted to Electing
                or Defeating a Single Candidate. ...............................................................53

C.   Candidates Are Usually Aware of the Identity of Individuals Making
     Large Contributions to Fund Independent Expenditures .......................................54

D.   Candidates Feel Indebted, Grateful, or Are Inappropriately Disposed to
     Favor Individuals Who Paid for Such Ads or Independent Expenditures .............60

     1.         Unlimited Contributions to Independent Expenditure Groups Are
                More Likely to Lead to Corruption than Direct Candidate
                Contributions Under the Legal Limits. ......................................................64

     2.         Ad Campaigns Run By Interest Groups Allow Candidates to
                Conserve Resources and Keep Their Hands Clean....................................66

     3.         The Likelihood of Candidate Indebtedness Increases When the
                Amounts of Independent Expenditures Are High Relative to
                Candidate Spending ...................................................................................71

E.   Large Donations Are a Tool Used By Donors Seeking Access and
     Influence Over Candidates.....................................................................................72

F.   If Contributions to Groups Making Independent Expenditures Were No
     Longer Limited, Influence-Seeking Donors Would Quickly Give Massive
     Amounts.................................................................................................................77

G.   Financers of Independent Expenditures Are Given Preferential Access to,
     and Have Undue Influence Over, Officeholders....................................................80

H.   Large Contributions for Independent Expenditures Can Influence
     Legislative Votes or Other Official Action, and Thereby Pose a Danger of
     Actual Quid Pro Quo Arrangements......................................................................85

     1.         A Group with an Interest in Gaming Issues Attempted to Bribe
                Former Congressman Snowbarger by Signaling That They Would
                Conduct an Independent Spending Campaign on His Behalf....................86


                                                   ii
      Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 4 of 142



              2.         Former Wisconsin Senate Majority Leader Chvala Extorted Funds
                         In Return For Legislative Action, Including Funds For Purportedly
                         Independent Campaign Spending ..............................................................90

              3.         Additional Incidents Further Illustrate the Danger of Large
                         Contributions for Independent Spending Influencing Official
                         Action or Leading to Quid Pro Quos. ........................................................97

     I.       Large Contributions for Independent Expenditures Create an Appearance
              of Corruption..........................................................................................................99

              1.         A Coal Company Executive’s Contributions for Independent
                         Expenditures In a 2004 West Virginia Supreme Court Race
                         Illustrate the Appearance of Corruption ..................................................100

              2.         The Public Views Large Election-Related Contributions As
                         Corrupting, Regardless of the Recipient..................................................105

              3.         Coordination Is Inherently Very Difficult to Police and Candidate
                         Campaigns Are Often Involved With “Independent” Spending
                         Below the Level of Involvement That Constitutes “Coordination”
                         Within the Meaning of the Law. ..............................................................108

     J.       Money Raised through Associations with Many Protections of the
              Corporate Form Pose a Danger of “Corrosive and Distorting Effects of
              Immense Aggregations of Wealth”......................................................................109

     K.       Independent Expenditures Through Groups are Less Transparent to the
              Public than Independent Expenditures Made by Individuals ..............................110

     L.       The Disclosure of All Receipts and Expenditures Ensures that Vital
              Information About Who is Supporting Candidates is Made Publicly
              Available. .............................................................................................................113

V.   Robust Fundraising Has Occurred Within Federal Contribution Limits and Large
     Sums Can Be Raised For Independent Expenditures Through the Aggregation of
     Money From a Number of Donors...................................................................................119

     A.       Both the Number of Nonconnected Committees and Their Total Receipts
              Have Consistently Risen Since 1990 and Increased Dramatically This
              Decade..................................................................................................................119

     B.       The National Political Parties Successfully Recruited New Donors When
              They Were No Longer Permitted to Receive Unlimited Contributions ..............121

     C.       SpeechNow is Capable of Raising Significant Sums Within the
              Contribution Limits..............................................................................................122



                                                           iii
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 5 of 142



VI.   Political Committee Reporting Requirements Do Not Threaten the Survival of
      SpeechNow or Other Campaign Groups..........................................................................134




                                                     iv
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 6 of 142



                  DEFENDANT FEDERAL ELECTION COMMISSION’S
                         PROPOSED FINDINGS OF FACT

I.     The Parties.

       A.      Defendant Federal Election Commission.

       1.      The defendant Federal Election Commission (“Commission” or “FEC”) is the

independent agency of the United States with exclusive jurisdiction over the administration,

interpretation, and civil enforcement of the Federal Election Campaign Act of 1971, as amended

(“Act” or “FECA”), 2 U.S.C. §§ 431-55, and other statutes. The Commission is empowered to

“formulate policy” with respect to the Act (2 U.S.C. § 437c(b)(1)); “to make, amend, and repeal

such rules . . . as are necessary to carry out the provisions of [the] Act” (2 U.S.C. §§ 437d(a)(8),

438(a)(8),(d)); and to issue written advisory opinions concerning the application of the Act and

Commission regulations to any specific proposed transaction or activity (2 U.S.C. §§ 437d(a)(7),

437f). The Commission has “exclusive jurisdiction” with respect to “civil enforcement” of

the Act. (2 U.S.C. § 437g(d).)

       B.      Plaintiffs.

       2.      Plaintiff SpeechNow.org (“SpeechNow”) is an unincorporated nonprofit

association organized under the District of Columbia Uniform Unincorporated Nonprofit

Associations Act, D.C. Code § 29-971.01 et seq., and registered as a “political organization”

under section 527 of the Internal Revenue Code. (Am. Compl. (Doc. 28-2) ¶ 7; SNK0003-0004,

SNK0011, SNK0019-0041, SNK0061-0066, FEC Exh. 20.)

       3.      SpeechNow’s purpose is “expressly advocating the election of candidates who

support rights to free speech and association and the defeat of candidates who oppose those

rights, particularly by supporting campaign finance laws.” (Am. Compl. (Doc. 28-2) ¶ 8.)

Plaintiffs have drafted solicitations for contributions. (SNK0259-0273, FEC Exh. 20.)



                                                  1
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 7 of 142



SpeechNow seeks to accept contributions from individuals in unlimited amounts to pay for

candidate advocacy and administrative costs. (Am. Compl. (Doc. 28-2) ¶¶ 17, 84-90.) It alleges

that it will not coordinate any of its expenditures, within the meaning of 2 U.S.C. § 441a(a)(7)(B)

and 11 C.F.R. Part 109, with candidates, political parties, or other committees. (Am. Compl.

(Doc. 28-2) ¶ 16.) It also alleges that it will not accept any funds from candidates, political

committees, corporations, labor organizations, national banks, Federal government contractors,

or foreign nationals. (Am. Compl. (Doc. 28-2) ¶ 15.)

       4.      SpeechNow will not make contributions to candidates and other political

committees. (Am. Compl. (Doc. 28-2) ¶ 16.) It will expressly advocate the election or defeat of

candidates through advertisements on television and other media in the current election cycle and

in future election cycles. (Am. Compl. (Doc. 28-2) ¶ 20.) Plaintiffs have prepared scripts for

four video and audio political advertisement scripts and wish to spend over $120,000 initially to

produce and air the advertisements. (Am. Compl. (Doc. 28-2) ¶¶ 20-25; SNK0242-0254,

FEC Exh. 20.) Plaintiffs state SpeechNow plans to comply with FECA’s disclaimer and

reporting requirements for independent expenditures made by groups other than political

committees, but do not wish to comply with the full disclosure requirements applicable to

political committees. (Am. Compl. (Doc. 28-2) ¶¶ 28-30.)

       5.      SpeechNow intends both to raise more than $1,000 in contributions (Am. Compl.

(Doc. 28-2) ¶¶ 32, 38) and make more than $1,000 in expenditures (Am. Compl. (Doc. 28-2)

¶¶ 20-27, 41), the threshold amounts specified in the Act, and its major purpose is electing and

defeating federal candidates. (Am. Compl. (Doc. 28-2) ¶ 47.)




                                                  2
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 8 of 142



       6.      Plaintiffs concede that SpeechNow would meet all the requirements under federal

law to qualify as a political committee within the meaning of the FECA. (Am. Compl. (Doc. 28-

2) ¶¶ 2, 31, 39-40, 42, 117, 125.)

       7.      All five individual plaintiffs David Keating, Edward Crane, Fred M. Young, Jr.,

Brad Russo, and Scott Burkhardt are prospective donors to SpeechNow. (Am. Compl. (Doc. 28-

2) ¶¶ 8-12.) The individual plaintiffs seek to influence federal elections by contributing money

to SpeechNow so that it can make “independent expenditures” as defined in 2 U.S.C. § 431(17).

(Am. Compl. (Doc. 28-2) ¶ 27.)

       8.      The Act limits contributions by individuals to nonconnected political committees

to $5,000 per calendar year. (2 U.S.C. §§ 431(11), 441a(a)(1)(C).)

       9.      Plaintiffs Keating and Crane wish to contribute $5,500 and $6,000, respectively,

to SpeechNow to fund its independent expenditures. (Am. Compl. (Doc. 28-2) ¶¶ 8-9.) These

contributions would exceed the Act’s limit on contributions to nonconnected political

committees by $500 and $1000, respectively. (2 U.S.C. §§ 431(11), 441a(a)(1)(C).)

       10.     Plaintiff Young wishes to contribute $110,000 to SpeechNow. (Am. Compl.

(Doc. 28-2) ¶ 10.) In addition to exceeding the Act’s limit on contributions to a political

committee, Mr. Young’s desired contribution would exceed the Act’s biennial aggregate limit of

$108,200 on contributions by an individual to all candidates and committees by $1,800.

(2 U.S.C. §§ 431(11), 441a(a)(1)(C), 441a(a)(3); see 72 Fed. Reg. 5294, 5295 (Feb. 5, 2007).)

       11.     Plaintiffs Russo and Burkhardt wish to contribute $100 each to SpeechNow.

(Am. Compl. (Doc. 28-2) ¶ 11-12.) Russo and Burkhardt currently have no plans to contribute

more than $100. (Russo Dep. at 27, FEC Exh. 13; Burkhardt Dep. at 22-23, FEC Exh. 7.)




                                                 3
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 9 of 142



       12.     Russo, who is an attorney, cannot identify anything in the Act that might prevent

his proposed contribution to SpeechNow. (Russo Dep. at 29-30, FEC Exh. 13.)

       13.     In the past, Russo and Burkhardt have only made small contributions to federal

candidates and political committees, and have not reached their aggregate contribution limits.

(Burkhardt Dep. at 25-26, 31-32, FEC Exh. 7; Russo Dep. at 30-32, FEC Exh. 13.)

       14.     The contributions by Russo and Burkhardt are below the Act’s limit on

contributions by individuals to nonconnected committees, and there is nothing in the Act that

precludes such contributions. (2 U.S.C. §§ 431(11), 441a(a)(1)(C), 441a(a)(3);

see 72 Fed. Reg. 5294, 5295 (Feb. 5, 2007).)

       15.     The Act requires political committees to identify the source of receipts from a

source that, in the aggregate, exceeds $200 in a calendar year. (2 U.S.C. § 434(b)(3)(G).) Since

plaintiff Brad Russo and Scott Burkhardt’s proposed $100 contributions to SpeechNow are less

than $200, the dollar amount above which political committees must itemize contributions and

disclose the identify to the contributor, their contributions would not need to be disclosed by

SpeechNow. (2 U.S.C. § 434(b)(3)(G).)

       16.     Brad Russo and Scott Burkhardt have already been identified as potential

contributors to SpeechNow in this litigation. (Am. Compl. (Doc. 28-2) ¶¶ 11-12.)

       17.     Neither Brad Russo nor Scott Burkhardt, the individual plaintiffs who wish to

contribute $100 to SpeechNow, would be deterred from contributing by the prospect that

SpeechNow might disclose their names on SpeechNow’s disclosure reports filed with the

Commission. (See infra Facts 18-19.)

       18.     Even if SpeechNow disclosed his identity on reports SpeechNow filed with the

Commission, plaintiff Brad Russo would not suffer any ill effects, such as harassment, threats,




                                                 4
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 10 of 142



reprisals, or losing his job, from such disclosure. (Russo Dep. at 30, FEC Exh. 13.) Similarly,

plaintiff Scott Burkhardt does not believe he is more likely to face harassment from such

disclosure than anyone else in the country. Mr. Burkhardt is not deterred from contributing to

SpeechNow. As he stated, “It doesn’t bother me either way. I don’t mind having my name out

there.” (Burkhardt Dep. at 23-24, 30-31, FEC Exh. 7.)

       19.     Brad Russo has not made any contributions to entities that, in turn, make

independent expenditures. (Russo Dep. at 34, FEC Exh. 13.)

II.    SpeechNow Was Formed to Serve as a “Test Case.”

       20.     David Keating created SpeechNow to serve as a “test case” for a constitutional

challenge to longstanding contribution limits and public disclosure requirements as part of a

“joint project” with two legal advocacy groups. (See infra Facts 21-40.)

       21.     The statutory provisions challenged by plaintiffs have been on the books for more

than thirty years. The requirements for registration and reporting by political committees in

2 U.S.C. §§ 432, 433 and 434, and the definition of political committee in 2 U.S.C. § 431(4)

were enacted by Congress in 1971. (Federal Election Campaign Act of 1971, Pub. L. No. 92-

225, §§ 301-306, 86 Stat. 3, 11-16 (Feb. 7, 1972).)   The individual contribution limits in

2 U.S.C. §§ 441a(a)(1)(C) and 441a(a)(3)(B) were enacted in 1974 and 1976. (Federal Election

Campaign Act Amendments of 1974, Pub. L. No. 93-443, § 101, 88 Stat. 1263 (Oct. 15, 1974);

Federal Election Campaign Act Amendments of 1976, Pub. L. No. 94-283, Title I, § 112(2),

90 Stat. 475 (May 11, 1976).) In 2002, the aggregate biennial contribution limits were increased

and indexed for inflation by the Bipartisan Campaign Reform Act of 2002, Pub.L. No. 107-155,

116 Stat. 81 (2002) (“BCRA”), popularly known as “McCain-Feingold.” (See 2 U.S.C.




                                                5
          Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 11 of 142



§ 441a(a)(3),(c)) The Federal Election Commission adjusts the amounts for inflation in odd-

numbered years. (72 Fed. Reg. 5294, 5295 (Feb. 5, 2007).)

          22.   The Act’s contribution limits and registration and reporting provisions were

generally upheld by the Supreme Court, Buckley v. Valeo, 424 U.S. 1 (1976), and subsequent

decisions. (Buckley v. Valeo, 424 U.S. 1 (1976); California Medical Association v. FEC,

453 U.S. 182 (1981); McConnell v. FEC, 540 U.S. 93, 142-189 (2003).)

          23.   The limits on contributions made by individuals to political committees

exclusively for independent expenditures, and the aggregate limits for such contributions, were

challenged in 1979, but were upheld by the United States District Court for the District of

Columbia and summarily affirmed by the United States Court of Appeals for the District of

Columbia Circuit. (Mott v. FEC, 494 F. Supp. 131, 133-134 (D.D.C. 1980), aff’d mem.,

sub nom, National Conservative Political Action Committee v. FEC, 672 F.2d 896 (D.C. Cir.

1981).)

          24.   The Center for Competitive Politics and the Institute for Justice are two public

interest law firms, both of whom are representing plaintiffs in these matters. (Am. Compl.

(Doc. 28-2) ¶¶ 27-28.)

          25.   The Center for Competitive Politics is a non-profit section 501(c)(3) organization

founded in August, 2005, by Bradley Smith, former Chairman of the Federal Election

Commission, and Stephen Hoersting, a campaign finance attorney and former General Counsel

to the National Republican Senatorial Committee, that is dedicated to reducing campaign finance

restrictions on speech. (SNK0520-0521, FEC Exh. 20; see

http://www.campaignfreedom.org//about_ccp/.)




                                                 6
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 12 of 142



        26.     The Institute for Justice (“IJ”) was founded in 1991 and describes itself as “our

nation’s only libertarian public interest law firm.” (See

http://www.ij.org/index.php?option=com content&task=view&id=566&Itemid=192.)

        27.     Plaintiff Fred Young is a financial supporter of the Center for Competitive

Politics. He has provided financial support to the Center for Competitive Politics since its

inception. (Young Dep. at 39-40, 90, FEC Exh. 19.) Plaintiff Fred Young also has provided

financial support to the Institute for Justice. (Young Dep. at 91, FEC Exh. 19.) Mr. Young

believes that the Center for Competitive Politics and the Institute for Justice both share

SpeechNow’s views. (Young Dep. at 89, FEC Exh. 19.)

        28.     SpeechNow was created in 2007 by plaintiff David Keating. (Am. Compl.

(Doc. 28-2) ¶ 8; SpeechNow Response to FEC Interrogatory 1, FEC Exh. 105 at 16.)

        29.     David Keating began the work necessary to organize SpeechNow in the summer

of 2007. (Keating Dep. at 116, FEC Exh. 11.)

        30.     In 2007, David Keating recruited the board members of SpeechNow, including

three of the five plaintiffs in this case. Mr. Keating contacted Edward Crane, Jon Coupal and

Richard Marder, and at least one other person (who declined to become involved), and solicited

them to join SpeechNow as board members. (Keating Dep. at 118-121, 128-129, FEC Exh. 11;

Coupal Dep. at 34, FEC Exh. 8.) Other than becoming board members and later plaintiffs in this

litigation, Coupal and the others had no role in the formation or operation of SpeechNow.

(Keating Dep. at 118-121, FEC Exh. 11; Coupal Dep. at 27-28, FEC Exh. 8.)

        31.     When David Keating created SpeechNow in 2007, it was already contemplated

that SpeechNow would pursue legal action to challenge the application of the Act to SpeechNow

and its activities. (See infra Facts 32-40.)




                                                 7
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 13 of 142



       32.     The idea to bring a new challenge to the statutory limits and other requirements at

issue in this suit originated with plaintiff David Keating and/or counsel at the Center for

Competitive Politics or the Institute for Justice. When SpeechNow was formed, David Keating

and others believed that nothing like it existed and nothing like it had been attempted before.

They believed that it would be necessary to “test” the application of FECA to SpeechNow by

requesting an advisory opinion from the FEC and likely filing a constitutional challenge to the

application of certain provisions of FECA to SpeechNow. SpeechNow was formed with the

knowledge that these actions would be necessary. (SpeechNow Responses to FEC Request for

Admission 1 and FEC Interrogatory 1, FEC Exh. 105 at 7-8, 16-18; Keating Dep. at 118-121,

FEC Exh. 11; Young Dep. at 34, 45, 58, FEC Exh. 19; YOU0007-008 at YOU0008,

FEC Exh. 24; Young Privilege Log 1, FEC Exhibit 123.) SpeechNow claims that these actions

were a means to the end of allowing SpeechNow to function free of contribution limits and PAC

requirements, not ends in themselves. (SpeechNow Response to FEC Request for Admission 1,

FEC Exh. 105 at 8.)

       33.     Mr. Keating knew Fred Young because Mr. Young is a Club for Growth member

and financial supporter. (Keating Dep. at 134, FEC Exh. 11.) In August 2007, David Keating

asked Fred Young to assist in bringing a test case to challenge federal campaign finance

provisions. Mr. Young mistakenly believed that the statutory provisions had been enacted as

part of the McCain-Feingold bill. As Mr. Young described it in a July 25, 2007 email message

to Sean Parnell, president of the Center for Competitive Politics,

       David Keating of Club for Growth called me recently with a proposition to work
       with Brad Smith and Institute for Justice to bring a test case before the FEC, then
       DC Court of Appeals to try to push back some of McCain-Feingold.
       (Young Exh. 4 at YOU0007, FEC Exh. 24.)




                                                 8
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 14 of 142



Mr. Young encouraged Mr. Parnell to “[p]lease discuss with Brad [Smith] before our visit.”

(Young Exh. 4 at YOU0007, FEC Exh. 24.) Parnell agreed, saying “[w]ill do,” adding “[t]he

Keating thing is a joint project between the Center for Competitive Politics and the Institute for

Justice.” (Young Exh. 4 at YOU0007, FEC Exh. 24.)

        34.    David Keating also asked Jon Coupal to become a member of SpeechNow,

informing him that an advisory opinion request to the FEC was contemplated and that litigation

was likely to follow. Mr. Coupal was not surprised because he is aware that “litigation is

frequently used to advance public policy ends,” as in this litigation. (Coupal Dep. at 35-37,

FEC Exh. 8.)

        35.    In November 2007, SpeechNow, through its counsel, filed a request for an

advisory opinion from the Federal Election Commission, pursuant to 2 U.S.C. § 437f.

SpeechNow’s request sought an opinion concerning the application of the Act and Commission

regulations to SpeechNow’s status as a political committee and funds received by SpeechNow.

(AOR 2007-32, Simpson Decl. (Doc. 2-9) Exh. 1 at 4-24; FEC Exh. 39, 136 (AOR 2007-32 and

supplements); SNK0264-0273, FEC Exh. 20.)

       36.     SpeechNow considered creating a radio ad for the purpose of lending “credence”

to the group’s “initiative.” After receiving an email about the filing of SpeechNow’s advisory

opinion request, board member Ed Crane wondered in an email to Fred Young, “Should we

prepare an actual radio ad to lend credence to this initiative?” (YOU0023-0024, FEC Exh. 24.)

       37.     The Commission, which had only two voting members at the time of the advisory

opinion request, was unable to issue an advisory opinion to SpeechNow because issuance of an

advisory opinion requires the affirmative vote of four members. (See 2 U.S.C. §§ 437c(c),




                                                 9
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 15 of 142



437d(a)(7); Simpson Decl. (Doc. 2-9) Exh. 3 at 26-48); see generally FEC Exhs. 31, 40-42, 44,

122, 124, 133-134.)

       38.      Plaintiff Brad Russo, who wishes to contribute $100 to SpeechNow, learned about

SpeechNow from an attorney with the Institute for Justice, Valerie Bayham. (Russo Dep. at 20,

FEC Exh. 13.) Ms. Bayham described SpeechNow to Mr. Russo and “it was obvious from the

context, there was some connection with the Institute for Justice.” (Russo Dep. at 39,

FEC Exh. 13.) After the initial conversation with Valarie Bayham, Russo visited SpeechNow’s

web site, was contacted by Ms. Bayham, and then was contacted by Steve Simpson, lead counsel

for plaintiff. (Russo Dep. at 20-23, FEC Exh. 13.)

       39.      Plaintiff Scott Burkhardt, who also wishes to contribute $100, learned of

SpeechNow after finding the organization’s web site while conducting an Internet search. After

corresponding with Mr. Keating about a possible contribution to SpeechNow, Mr. Burkhardt was

contacted by Steve Simpson, lead counsel for plaintiffs, regarding serving as a plaintiff in this

litigation. (Burkhardt Dep. at 9-14, 16-17, 20-21, FEC Exh. 7; Burkhardt Exh. 4,

FEC Exh. 143.)

       40.      Plaintiffs are not paying legal fees for representation. (Keating Dep. at 121-122,

FEC Exh. 11; Young Dep. at 94, FEC Exh. 19.) The Center for Competitive Politics and the

Institute for Justice are representing plaintiffs with their own funds. (Young Dep. at 94,

FEC Exh. 19.)

III.   SpeechNow’s Advertisements Constitute the Speech of David Keating – Who Is
       Solely Responsible for Its Activities, and Not the Speech of Its Contributors.

       41.      SpeechNow’s contributors had no role in the creation of SpeechNow’s advertising

campaign and will not have a role in the future. David Keating chose the candidates on whom




                                                 10
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 16 of 142



SpeechNow’s advertising would focus and created the advertisements; indeed, he is solely

responsible for all of SpeechNow’s activities. (See infra Facts 42-77.)

       42.      Plaintiff David Keating is President and Treasurer of SpeechNow. (Keating Decl.

(Doc. 2-4) ¶ 2; Articles of Organization, Keating Decl. (Doc. 2-4) at 16-18; Member Action By

Written Consent In Lieu Of Organizational Meeting, Keating Decl. (Doc. 2-4) at 20-22;

SpeechNow Response to FEC Interrogatory 1, FEC Exh. 105 at 16.)

       43.      Jon Coupal is Vice-President and Secretary of SpeechNow. (Articles of

Organization, Keating Decl. (Doc. 2-4) at 16-18; Member Action By Written Consent In Lieu Of

Organizational Meeting, Keating Decl. (Doc. 2-4) at 20-22.) Mr. Coupal’s role as vice-president

and secretary of SpeechNow has been “minimal to nonexistent,” solely reviewing the articles of

organization and the by-laws. (Coupal Dep. at 30, FEC Exh. 8.)

       44.      Plaintiffs Fred Young, Brad Russo and Scott Burkhardt do not hold any office or

other position with SpeechNow. (Articles of Organization, Keating Decl. (Doc. 2-4) at 16-18;

Member Action By Written Consent In Lieu Of Organizational Meeting, Keating

Decl. (Doc. 2-4) at 20-22.) They are merely potential contributors to SpeechNow. (Am. Compl.

(Doc. 28-2) ¶¶ 9-12.)

       45.      SpeechNow’s contributors or potential contributors, described as “supporters,”

have no role in the operation of the organization. (Keating Dep. at 135-137, FEC Exh. 11.)

       46.      David Keating is solely responsible for SpeechNow’s day-to-day activities.

(SpeechNow Response to FEC Interrogatory 1, FEC Exh. 105 at 16; Keating Dep. at 149,

FEC Exh. 11.)

       47.      Mr. Keating created SpeechNow’s web site, participates in the creation of all

advertisements SpeechNow wishes to publish or broadcast, and administers all of SpeechNow’s




                                                11
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 17 of 142



affairs. (Am. Compl. (Doc. 28-2) ¶ 8.) At present, there is no plan for that to change. (Keating

Dep. at 150, FEC Exh. 11.)

       48.    David Keating decides in what elections SpeechNow will run advertisements

supporting or opposing particular candidates. Keating keeps the other officer (vice-president

Jon Coupal) and four board members of SpeechNow apprised of his decisions and expects to

consult them from time to time. (SpeechNow Response to FEC Interrogatory 7, FEC Exh. 105

at 22-23.)

       49.    While SpeechNow has five board members, none of the board members (other

than David Keating), was involved in the selection of candidates to support or development of

the advertisements SpeechNow wished to finance. (Keating Dep. at 162, FEC Exh. 11.)

       50.    David Keating has expended his personal funds for SpeechNow’s operating

expenses, such as postage, post office box rental, and internet domain name registration. Those

expenses through July 2008 total only $282. (Keating Dep. at 181-182, FEC Exh. 11;

Spreadsheet, Keating Exh. 15, SNK0220-0221, FEC Exh. 20.)

       51.    SpeechNow has received no donations other than small amounts that David

Keating has expended on behalf of SpeechNow. (SpeechNow Response to FEC Interrogatory 3,

FEC Exh. 105 at 20.)

       52.    None of the individual plaintiffs has made direct financial contributions to

SpeechNow, because SpeechNow has chosen not to accept donations, not even contributions of

$5,000 or less. (Keating Dep. at 165-166, FEC Exhibit 11; SpeechNow Response to

FEC Interrogatory 9, FEC Exh. 105 at 23.)




                                               12
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 18 of 142



       53.     Other than David Keating, who is president and treasurer of SpeechNow, none of

the plaintiffs has a role in creating SpeechNow’s independent expenditure communications, and

none will have a role in the future. (See infra Facts 54-77.)

       54.     David Keating personally selected the candidates for SpeechNow to support or

oppose in 2008. (Keating Dep. at 162, FEC Exh. 11.) Mr. Keating also expects to pick the

future candidates that SpeechNow will support or oppose through independent expenditures.

(Keating Dep. at 162, FEC Exh. 11.)

       55.     Among the candidates David Keating initially considered selecting as targeted

candidates for SpeechNow’s advertisements was 2008 presidential candidate and former Senator

Fred Thompson, and then, at a later time, candidates Senator Hillary Clinton and former Senator

John Edwards. Keating dropped the plan for Clinton and Edwards advertisements when

SpeechNow’s consultant took too long and SpeechNow’s advisory opinion request was

submitted too late to receive a response in time. (SNK0083-0084, SNK0231, SNK0236-0237,

SNK0242-0251, FEC Exh. 20.)

       56.     Mr. Keating ultimately selected Representative Dan Burton and Senator Mary

Landrieu as the targeted candidates for SpeechNow’s first two advertisements. (Keating Dep.

at 157-159.)

       57.     Mr. Keating spoke with Congressman Burton’s primary election opponent, John

McGoff, to learn of his position on free speech issues but never ascertained what Landrieu’s

opponent’s position was on speech issues. (Keating Dep. at 157-58, 160-161, FEC Exh. 11;

SpeechNow Response to FEC Interrogatory 7, FEC Exh. 105 at 22.)

       58.     David Keating personally wrote the scripts for SpeechNow’s advertisements

opposing Representative Burton and Senator Landrieu, and then the scripts were reviewed by




                                                13
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 19 of 142



SpeechNow’s consultant, Ed Traz. David Keating expects that future advertisements by

SpeechNow will be created in the same manner. (Keating Dep. at 162-163; FEC Exh. 11.) In

the future, Mr. Keating hopes that Ed Traz, or any other media consultants with whom

SpeechNow might work, “would take on more of the creative process.” (Keating Dep. at 165.

FEC Exh. 11.) Mr. Keating also hopes that in the future SpeechNow will test its advertisements

with focus groups. (Keating Dep. at 163-164, FEC Exh. 11.)

       59.    David Keating sent informational email messages, often including press clippings

or links to articles regarding SpeechNow’s advisory opinion request, to SpeechNow’s board

members. (SNK0114-0117, SNK0175-0180, FEC Exh. 20; CRA0004-005, FEC Exh. 22.)

In addition, Mr. Keating forwarded at least some of these messages to Fred Young and other

supporters. (YOU0033-0034, FEC Exh. 24; SNK0175-0180, FEC Exh. 20.)

       60.    On December 6, 2007, Fred Young asked David Keating to include him on the

“insiders” email list. (Young Exh. 6, FEC Exh. 29.) Mr. Keating complied with this request,

adding Mr. Young on emails sent to the five board members of SpeechNow. (Young Dep.

at 51-54, FEC Exh. 11; Young Exh. 6, FEC Exh. 29; YOU0002-0006, YOU0009-0019,

YOU0025-0030, FEC Exh. 24; SNK0110-0112, SNK0173-0174, SNK0181-0187 (Dec. 6, 2007),

SNK0198-0205, SNK0211-0219, SNKN0463-0465, FEC Exh. 20; CRA0001-003,

FEC Exh. 22.) According to Mr. Keating, Fred Young has “probably gotten every significant

e-mail I’ve sent out.” (Young Dep. at 51-54, FEC Exh. 11.)

       61.    While David Keating granted Mr. Young’s request to receive email

messages sent by Mr. Keating to the board members of SpeechNow, this was a courtesy

accorded because Mr. Young was a prospective large contributor to SpeechNow.

(Keating Dep. at 138-139.)




                                              14
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 20 of 142



       62.     Fred Young does not wish to be involved in SpeechNow’s advertisements. (See

infra Facts 63-66, 74, 76-77.)

       63.     Fred Young’s involvement with SpeechNow has been limited. He communicated

with David Keating, Sean Parnell and counsel for plaintiffs, agreed to serve as a plaintiff in this

litigation, signed statements for submission with SpeechNow’s advisory opinion request and

plaintiffs’ motion for a preliminary injunction (Young Exh. 5, FEC Exh. 28; Young Exh. 7,

FEC Exh. 30), and responded to the Commission’s discovery requests (Young Exh. 2 and 3,

FEC Exh. 25-26), and sat for his deposition. (Young Dep., FEC Exh. 19.) In all other respects,

Fred Young’s role is “passive.” (Young Dep. at 34-51, FEC Exh. 19.)

         I’m the recipient of numerous e-mails from CCP and supporters sharing press
       coverage and press releases, et cetera. But as far as affirmatively advancing the
       cause of SpeechNow or our involvement – its involvement with the FEC, my role
       is completely passive, except as instructed to sign an affidavit, et cetera. (Young
       Dep. at 50-51, FEC Exh. 19.)

       64.     The dollar amount of the ostensibly desired contribution from Fred Young to

SpeechNow was not Mr. Young’s selection. (Young Dep. at 58, FEC Exh. 19.) The dollar

amount was suggested by counsel for plaintiffs. (Young Dep. at 58, FEC Exh. 19.) When asked

at deposition who selected the $110,000 amount, Mr. Young testified that “it involved counsel in

terms of explaining the laws that stood between us and the mission of SpeechNow. I don’t know

which counsel explained the detail to me.” (Young Dep. at 58, FEC Exh. 19.)

       65.     Other than donating to SpeechNow, Fred Young does not anticipate any

involvement with SpeechNow in the future. “I really don’t expect to be involved other than as a

donor.” (Young Dep. at 88, FEC Exh. 19.)

       66.     Fred Young has never contemplated financing independent expenditures himself.

(Young Dep. at 93, FEC Exh. 19.) “My role is to be a donor. That’s my selected role,” Fred

Young testified. (Young Dep. at 93, FEC Exh. 19.)


                                                 15
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 21 of 142



       67.      Two individual plaintiffs, Brad Russo and Scott Burkhardt, both of whom

reportedly wish to contribute $100 to SpeechNow, had virtually no involvement with

SpeechNow, other than agreeing to serve as plaintiffs, executing declarations in support of

plaintiffs’ motion for a preliminary injunction, receiving and responding to the Commission’s

discovery requests, and appearing to be deposed by the Commission. (See infra Facts 68-70.)

       68.      Prior to getting involved with SpeechNow, Mr. Russo did not know anyone

involved with SpeechNow, other than Ms. Bayham, who told him about SpeechNow.

(Russo Dep. at 24, FEC Exh. 13.) Brad Russo’s only communications (other than visits to the

SpeechNow web site and signing up for organization’s mailing list, and receiving email

messages from SpeechNow) have been with counsel for plaintiffs. Mr. Russo has never emailed,

spoken or met with David Keating, Fred Young or any of the other plaintiffs in this case, or any

of the other organizers of SpeechNow (other than its counsel). (Keating Dep. at 147,

FEC Exh. 11; Russo Dep. at 24-25, 37-38, FEC Exh. 13; see generally Russo Dep. at 20-25, 26-

27, FEC Exh.13.)

       69.      Russo’s only specific plan for future involvement is to make a donation. (Russo

Dep. at 27, FEC Exh. 13.) In addition, he will see how he can be helpful. (Russo Dep. at 27,

FEC Exh. 13.)

       70.      Scott Burkhardt’s involvement also has been extremely limited. Other than the

email exchange between David Keating and Scott Burkardt, Mr. Keating does not recall any

communication with Mr. Burkhardt. (Keating Dep. at 146-147, FEC Exh. 11.)

       71.      Mr. Coupal only knows two of the other members of SpeechNow: David Keating

and Edward Crane. (Coupal Dep. at 32, FEC Exh. 8.) Jon Coupal has known Mr. Keating for

many years, primarily through Mr. Keating’s involvement and employment by the National




                                               16
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 22 of 142



Taxpayers Union (“NTU”). (Coupal Dep. at 32-33, FEC Exh. 8.) NTU sponsors taxpayer

conferences, and Jon Coupal has run into David Keating at those meetings, participated in the

conferences with him and frequently gone to dinner with him. (Coupal Dep. at 32-33,

FEC Exh. 8.) Jon Coupal has only met Edward Crane two or three times, when Mr. Coupal has

spoken at Cato Institute events, and Mr. Coupal has had the opportunity to talk with Mr. Crane.

(Coupal Dep. at 33, FEC Exh. 8.)

       72.     Mr. Coupal is aware that other individuals are willing to contribute to

SpeechNow, but does not know who those individuals are, other than himself. (Coupal Dep.

at 49, FEC Exh. 8.)

       73.     SpeechNow has five board members: plaintiffs David Keating and Edward H.

Crane III, and non-plaintiffs Daniel Shapiro, Richard Marder and Jon Coupal. Under

SpeechNow’s by-laws, these five people have certain responsibilities and certain authorities.

Under SpeechNow’s by-laws, there are five “members” of the association who essentially

function like a board of directors and control SpeechNow. (Keating Dep. at 132-137; By-Laws,

AOR 2007-32 at 23-33, FEC Exh. 39.) As David Keating wrote to one person concerned about

potential liability, “keep in mind that ‘members’ are really to be thought of as directors of regular

incorporated groups.” (SNK0158-0159, FEC Exh. 20.)

       74.     SpeechNow is not a membership organization. (Keating Dep. at 137,

FEC Exh. 11.) Under SpeechNow’s by-laws, the only “members” are the five people who act as

the board of directors. Board members are replaced through election by the existing members.

(By-Laws, Article 3, Section 3, Keating Decl. (Doc. 2-4) Exh. E at 29-39, SNK0025-0035

at SNK0026. See also Articles of Organization, Keating Decl. (Doc. 2-4) Exh. A at 16-18,




                                                 17
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 23 of 142



SNK0022-0024, FEC Exh. 20; Member Action By Written Consent In Lieu Of Organizational

Meeting, Keating Decl. (Doc. 2-4) Exh. B at 20-22, SNK0019-0021, FEC Exh. 20.)

       75.     Mr. Keating refers to people who are not board members, but who sign up for

SpeechNow’s mailing list or want to donate money to SpeechNow, as “supporters.”

(Keating Dep. at 135-136, FEC Exh. 11.)

       76.     While plaintiffs Fred Young, Brad Russo and Scott Burkhardt are potential

contributors to SpeechNow, they are not members and have no other role in the organization or

its activities. Young, Russo and Burkhardt are merely “supporters” of SpeechNow. Supporters

do not have any role in the governance of SpeechNow. (Keating Dep. at 137, FEC Exh. 11.)

       77.     SpeechNow’s solicitations make clear that SpeechNow — i.e., the five board

members — will exclusively direct SpeechNow’s spending, not SpeechNow’s donors, stating:

“All donations will be spent according to the sole discretion of SpeechNow.org.” (Draft

Solicitations for SpeechNow, SNK0259-0273 at 0260, 0263, 0268, 0273, FEC Exh. 20.)

IV.    Unlimited Contributions To an Association Devoted to Independent Candidate
       Expenditures Pose a Danger of Corruption or its Appearance.

       78.     Independent expenditures — expenditures not made in coordination with a

candidate — are effective in helping candidates win elections or defeating candidates. Given the

ability of interest groups to closely monitor a candidate’s campaign themes and strategy, often

made easier by technological developments and the revolving door of individuals working for

both candidates and independent groups, unlawful coordination is not necessary for independent

expenditures to have a substantial impact on an election. See infra Section A. Because they are

so effective, candidates appreciate independent expenditures made on their behalf, and therefore

individuals attempt to influence or gain access to candidates through contributions to groups that

make independent expenditures; independent expenditure groups are used to circumvent direct



                                                18
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 24 of 142



contribution limits; and independent expenditures then lead to indebtedness or access, pose a

danger of quid pro quo arrangements, and create the appearance of corruption. See infra

Sections B-H. Furthermore, there are several important reasons why independent expenditures

made by groups raise more concerns than independent expenditures made by individuals. First,

many groups that make independent expenditures share many characteristics of the corporate

form and pose a danger of “corrosive and distorting effects of immense aggregations of wealth.”

See infra Section J. Also, independent expenditures made through groups are less transparent to

the public. See infra Section K. Finally, with groups especially, it is important for the public to

have total disclosure of receipts and expenditures, not just direct expenses and contributions for

the purpose of furthering electioneering communications. See infra Section L.

       A.      Independent Expenditures Are Effective in Determining the Outcome of
               Elections and Have Gotten More Effective Over Time, Even Though They
               Are Not Coordinated with a Campaign.

               1.      Independent Expenditures Can Have a Significant Impact on
                       Elections Generally.

       79.     There is broad consensus that independent expenditures are generally designed to

help candidates win elections and they are effective in this goal. (Wilcox Rept. at 13, FEC Exh.

1). Independent expenditures influence votes and hurt or help the candidates targeted. (Wilcox

Rept. at 13, FEC Exh. 1.)

       80.     Empirical analyses confirm the effectiveness of independent expenditures.

Political Scientists Richard Engstrom and Christopher Kenny conducted a statistical analysis of

the spending reported for independent expenditures by PACs, and concluded that “independent

expenditures can significantly affect vote choice. . . . In general, our results seem to conform to

the conventionally accepted account of the 20-year history of independent expenditures in U.S.

elections.” (Wilcox Rept. at 13, FEC Exh.1 (quoting Richard N. Engstrom and Christopher



                                                 19
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 25 of 142



Kenny, The Effects of Independent Expenditures in Senate Elections, Pol. Research Quarterly 55

(4):885-905 at 885, (2002).)

       81.     Similarly, in a “careful statistical analysis of the impact of the AFL-CIO’s

candidate-focused issue advocacy campaigns in 1996,” “[p]olitical scientist Gary Jacobson, one

of the leading experts on Congressional elections,” concluded that “‘labor can plausibly claim

responsibility for defeating a majority of first term [Republican] losers. Thus, money spent

outside the regular campaigns on ‘voter education’ can have a major effect on election results.’”

(Wilcox Rept. at 13-14, FEC Exh.1 (quoting Gary C. Jacobson, The Effect of the AFL-CIO’s

“Voter Education” Campaigns on the 1996 House Elections, 61 J. Pol. (1): 185-94).)

       82.     “Consultants, candidates, and party officials almost universally say that

independent advertising and candidate-focused issue advocacy influence outcomes.” (Wilcox

Rept. at 14, FEC Exh.1; see also infra Facts 83-91.)

       83.     According to Elaine Bloom, a Congressional candidate in 2000, independent ads

run by a group called Citizens for Better Medicare, along with ads independently run by the

Republican party, were the “deciding factors” in her election race. (Bloom Decl. ¶ 6,

McConnell, FEC Exh. 36; see also Wilcox Rept. at 18, FEC Exh.1.)

       84.     As former Majority Leader Tom Daschle explains, “[i]ndependent advertising

campaigns can provide huge benefits to candidates.” (Wilcox Rept. at 8, FEC Exh.1.)

       85.     National Republican Senatorial Campaign Committee staffer Allen Raymond

claimed that Democratic Senator Russ Feingold benefited substantially in the 1998 election by

independent spending from NARAL, the Sierra Club, and the League of Conservation Voters.

(Wilcox Rept. at 14, FEC Exh. 1.)




                                                20
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 26 of 142



       86.     As former California state Senate Majority Leader and now Chairman of the

California Fair Political Practices Commission (“FPPC”) Ross Johnson explained, “[g]enerally,

independent expenditures are effective because the groups that make them produce ads and

mailers just as professional and persuasive as those that come from the candidates themselves; in

its effect, independent advertising is essentially indistinguishable from candidate advertising.”

(Johnson Decl. ¶ 9, FEC Exh. 2.)

       87.     “There is [also] a consensus among interest group activists and campaign

consultants that independent expenditures and candidate-focused issue advocacy help candidates.

Campaign managers for both winning and losing candidates almost always agree.” (Wilcox

Rept. at 14, FEC Exh. 1.)

       88.     Republican consultant Rocky Pennington concluded that “[i]nterest group

broadcast ads had a very significant effect on the outcome of the 2000 Congressional race,

especially the ads run by the Club for Growth.” He reports that one of these ads, run just before

the primary, led directly to the failure of a Republican primary candidate to win the primary. He

argues that radio ads by interest groups also mattered, concluding that “one ad against Mr.

Sublette [his candidate in the race]… cost us a couple of points.” (Pennington Decl. ¶ 16,

McConnell, FEC Exh. 33; see also Wilcox Rept. at 14, FEC Exh. 1.)

       89.     In fact, as conceded by SpeechNow president David Keating, the majority of Club

for Growth PAC’s independent expenditures were effective in advancing the candidacies they

supported and the majority of Club for Growth PAC’s independent expenditures were not

counterproductive to the candidacies of the individuals they supported. (David Keating’s

Response to FEC Request for Admission 1 and 2, FEC Exh. 106 at 9.)




                                                21
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 27 of 142



        90.      Joe Lamson, a consultant who managed Democratic candidate Bill Yellowtail’s

1996 congressional campaign in Montana, reported that ads run by a group called Citizens for

Reform were important in the election. Polling data before these ads aired showed Yellowtail

ahead by eight points, and that polling just after the ads ended showed that he trailed by five

points. Mr. Lamson concludes that ‘I believe the Citizens for Reform Ads were a big factor in

this change, and in Mr. Hill’s victory in the election.’” (Lamson Decl. ¶ 11, McConnell, FEC

Exh. 34; see also Wilcox Rept. at 14, FEC Exh. 1.)

       91.       Terry Beckett, a Democratic consultant, concluded that “based on my

observations, these ads affected the outcome of the Republican primary ad run-off and the

general elections” in the 2000 congressional race in the 8th District of Florida. She argues that

ads by groups such as the Club for Growth were primarily responsible for the outcome in that

race between Linda Chapin (D) and Ric Keller (R) (Beckett Decl. ¶ 12, McConnell, FEC Exh.

35; see also Wilcox Rept. at 14, FEC Exh. 1.)

       92.       Finally, perhaps the most obvious indicator of how effective independent ads is

the extent that they’re used. See infra section 4.3. “An indication of the confidence that groups

and individuals place in the effectiveness of electoral issue advocacy is the large investment they

make in it.” (Wilcox Rept. at 13, FEC Exh. 1 (quoting David B. Magleby and Jonathan W.

Tanner, Interest Group Electioneering in the 2002 Congressional Elections, in The Last Hurrah?

Soft Money and Issue Advocacy in the 2002 Congressional Elections (David B. Magleby et al.

eds., 2004)).)

       93.       “Not all independent ads help candidates”; similarly, “advertising run by

candidates themselves sometimes backfires.” (Wilcox Rept. at 15, FEC Exh. 1.) Thus, “[i]n a

few rare cases, candidates have even asked groups to stop airing broadcast ads, because they




                                                 22
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 28 of 142



believed that they were hurting their campaigns.” (Id.) The ads in those rare cases “have almost

always been aired by ideological groups with unsophisticated advertising campaigns,” and

“[a]ccess-oriented donors are likely to avoid contributions to those organizations in favor or

more effective groups.” (Wilcox Rept. at 15, FEC Exh. 1; see infra Section 3.24 (discussing

access-oriented donors).) “More frequently,” the “ads run by interest groups are more valuable

than a direct contribution to the candidate.” (Wilcox Rept. at 15, FEC Exh. 1.) As discussed

below, independent ads can be even more effective than ads from a candidate because, among

other reasons, independent ads can say things that would damage a candidate if they came

directly from him or her. (See infra Section D, 2.)

       94.     Candidate-focused issue advocacy campaigns, which have been funded through

unlimited contributions, have also been successful at helping candidates, even without the

advantage of direct candidate advocacy, which is likely to be somewhat more effective than issue

advocacy. (Wilcox Rept. at 13, FEC Exh. 1).

       95.     “Prior to BCRA, interest groups aired issue advocacy campaigns that mentioned

candidates by name but avoided the ‘magic words’ that indicated express advocacy. Political

scientists have distinguished between genuine issue advocacy campaigns aimed at persuading the

public on an issue or pressuring government to adopt a particular policy, and candidate-focused

issue advocacy campaigns that are aimed at helping or hurting candidates. After BCRA,

candidate-focused issue advocacy could still be aired before the official campaign period, and

through mail, phone calls, and door-to-door campaigning during the election campaign. Because

large contributions to fund express advocacy is banned, donors have given large sums to the

committees that air these [candidate-focused] issue advocacy spots.” (Wilcox Rept. at 8, FEC

Exh. 1.)




                                                23
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 29 of 142



               2.      There Are Many Specific Examples of Independent Expenditures
                       Having a Significant Impact on an Election.

       96.     In addition to observations from candidates, experts, and political insiders about

independent expenditures generally, there are many specific elections where such ads appeared

to have a dramatic affect on the final result. (See infra 97-115; supra Facts 88-91.)

       97.     For example, “[t]he “Willie Horton” ad developed and run by the National

Security Political Action Committee on behalf of George Bush in 1988 is widely believed to

have had great impact on that race.” (Wilcox Rept. at 15, Exh. 1.) The ad used “harsh language

and imagery” in linking Michael Dukakis to a Massachusetts furlough plan which allowed

William Horton, who was serving a sentence of life without parole, temporarily out of prison,

whereupon he committed rape and assault. (Wilcox Rept. at 15, Exh. 1.)

       98.     Another one of the most famous examples of an independent expenditure

campaign that was effective at influencing an election was the ads run by the Swift Boat

Veterans and P.O.W.s for Truth (“Swift Boat Vets”) in the 2004 presidential election, which

attacked Senator John Kerry’s war record. (See infra Facts 99- 106.)

       99.     After the election, there was a broad consensus among political analysts and

reporters that the independent expenditures made by the Swift Boat Vets played a substantial role

in President Bush’s victory. The final three months of the campaign were described, for

example, as “a period in which groups like Swift Vets and P.O.W.s for Truth proved effective in

attacking Mr. Kerry and helping Mr. Bush win by more than three million votes.” (Michael

Janofsky, Advocacy Groups Spent Record Amount of 2004 Election, N.Y. Times, Dec. 17, 2004,

FEC Exh. 48.) As one observer put it, “[i]n terms of political impact, the Swift Boat Veterans

for Truth ads were easily the most successful amid the overwhelming din of paid propaganda

throughout the year.” (Id. (quoting Charles Lewis, executive director of the Center for Public



                                                24
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 30 of 142



Integrity). “The group’s TV ads, which claimed that Sen. John Kerry exaggerated his military

record in Vietnam, were viewed as a major factor in the Massachusetts Democrat losing the

election.” (AP, Bush Uses Recess Appointment Power to Install GOP Fundraiser Sam Fox as

Ambassador, FoxNews.com, Apr. 4, 2007, available at

http://www.foxnews.com/story/0,2933,264090,00.html, FEC Exh. 84.) According to Republican

pollster Frank Luntz, Bush won the election due to his superior credibility when compared with

Kerry, and the Swift Boat Vets’ independent expenditures were one of two key campaign events

that accomplished this task. Frank Luntz, Why Bush Won the Credibility Factor, Wash. Times,

Nov. 5, 2004, at A21, FEC Exh. 103.)

        100. Both Democratic and Republican consultants believe “that the Swift Boat ad hurt

Kerry badly.” (Wilcox Rept. at 15, FEC Exh. 1 (quoting David B. Magleby et al., The Morning

After: The Lingering Effects of a Night Spent Dancing, in Dancing Without Partners: How

Candidates, Parties, and Interest Groups Interact in the Presidential Campaign, 25 (David B.

Magleby et al., eds. 2007)).).

       101.    One of the founders of the Swift Boat Vets described the organization’s goal as

preventing Kerry from being commander in chief and stated that “I don’t think there is any doubt

that we succeeded.” Tyler Whitley, Group Glories in Kerry’s Defeat; Swift Boat Veterans

Pleased Ad Campaign Paid Off, Says Local Organizer of Effort, Richmond Times Dispatch,

Nov. 8, 2004, at B1, FEC Exh. 52).

       102.    Political scientists confirm that the Swift Boat Veterans ads in 2004 helped undo

John Kerry’s momentum and increase voter distrust of Kerry. (Wilcox Rept. at 15, FEC Exh. 1.)

Survey data of voters showed that the Swift Boat ads were widely seen and on net hurt the Kerry

campaign. (Wilcox Rept. at 15, FEC (citing David B. Magleby et al., The Morning After: The




                                               25
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 31 of 142



Lingering Effects of a Night Spent Dancing, in Dancing Without Partners: How Candidates,

Parties, and Interest Groups Interact in the Presidential Campaign, 25 (David B. Magleby et al.,

eds. 2007)).)

       103.     One survey confirmed that the Swift Boat Vets’ message had an impact on

viewers. In an open-ended survey about Kerry and Bush’s military service, 79% of respondents

referred to issues or concerns that had been advanced by the Swift Boat Vets. (Center for the

Study of Elections and Democracy, 527s Had a Substantial Impact on the Ground and Air Wars

in 2004, Will Return /Swift Boat Veterans 527 Played Historic Role (Dec. 16, 2004), FEC Exh.

51.)

       104.     As Chris LaCivita, the chief strategist for Swift Boat Vets, explained, “[i]n post

election surveys the ads run by Swift Boat Veterans for Truth were either the first or second most

memorable ads run during the entire issue debate. A survey conducted by [Public Opinion

Strategies] showed that the Swift Boat ads in Florida were the most remembered by all

demographics. So obviously we had an impact, we had an effect.” (Annenberg Public Policy

Center, Electing the President, 2004: The Insiders’ View, (Kathleen Hall Jamieson ed., 2005), at

194, FEC Exh. 50.)

       105.     As additional evidence of the penetration that the Swift Boat Vets were able to

achieve with key voters, “[a] poll of 1,000 voters in a dozen swing states conducted on Election

Day showed that almost three out of four voters recognized the Swift Vets group, according to

the Republican polling company Fabrizio, McLaughlin & Associates.” (Michael Janofsky,

Advocacy Groups Spent Record Amount of 2004 Election, N.Y. Times, Dec. 17, 2004, FEC Exh.

48.) Similarly, a survey conducted by the Annenberg Public Policy Center from August 9

through 16 in 2004 found that 60% of those surveyed knew or heard about the ad. (Annenberg




                                                 26
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 32 of 142



Public Policy Center, Electing the President, 2004: The Insiders’ View, (Kathleen Hall Jamieson

ed., 2005), at 185 FEC Exh. 50.)

       106.    Furthermore, when the independent expenditures are compared to a similar ad

funded by direct contributions, “[t]he Swift Boat ads were more effective than a similarly-sized

gift to the Bush-Cheney campaign, because they would have invoked more suspicion if they

were paid for by the campaign.” (Wilcox Rept. at 15.)

       107.    A different ad campaign by Progress for America Voter Fund (“Progress for

America”) in 2004 was similarly effective. The $17.5 million campaign centered around an

advertisement called “Ashley’s Story” which featured a young girl whose mother was killed in

the 9/11 attacks and President Bush’s compassion for her situation. (Annenberg Public Policy

Center, Electing the President, 2004: The Insiders’ View, (Kathleen Hall Jamieson ed., 2005), at

179-183, FEC Exh. 50.) The campaign included advertising in nine “battleground states plus

national cable” and was supplemented with “direct mail, e-mail, personal appearances, and a

general ‘surround’ campaign that will emphasize her impact.” It was “the largest financial effort

behind one message in political history.” (Memorandum from McCabe to Spanos, (undated),

FEC Exh. 53.) The ad reached millions of people in the closing weeks of the 2004 presidential

campaign. (Email from McKenna to Orfanos and attachments, Oct. 21, 2004, FEC Exh. 53.)

       108.    Independent ads run by the group Club for Growth, of which SpeechNow founder

David Keating is executive director, have also effectively influenced the outcome of candidate

races. As Stephen Moore, then-President of the Club for Growth, explained, “The Club for

Growth actually intervenes quite heavily in primary races. We think that’s where our money can

be best spent. . . Our most important impact in 2004 was that in virtually every primary that we

intervened in, and these were Republican primaries and our idea is to try and elect the most free




                                                27
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 33 of 142



market, conservative person in every Republican primary around the country, we were able to

have great success, partly because if you pour half a million dollars into a primary race, you

could have a very dramatic impact in the outcome of that election.” (Annenberg Public Policy

Center, Electing the President, 2004: The Insiders’ View, (Kathleen Hall Jamieson ed., 2005), at

196-97, FEC Exh. 50.)

       109.    An ad regarding Howard Dean that the Club for Growth ran was likely the single

most effective ad during the Iowa caucuses in 2004. As Mr. Moore explained, “After the Iowa

primary was over, there was a political roundtable of reporters who were in Iowa. One of the

questions they asked was what do you think was the most effective and memorable ad of the

political season there. Th[e Club for Growth’s] was the ad that almost everyone remembered,

which was remarkable because it ran probably one-tenth as many times as many of the ads that

Kerry and Dean ran. When we ran this ad, Dean was up by 15 points in the primary. We made a

bit of a miscalculation, we actually at this point thought that Howard Dean was going to be the

Democratic candidate. We wanted to take the first punch at him. Inadvertently, I think that this

ad did wound him . . . .” (Annenberg Public Policy Center, Electing the President, 2004: The

Insiders’ View, (Kathleen Hall Jamieson ed., 2005), at 199 FEC Exh. 50.)

       110.    Similarly, an ad regarding former Majority Leader Tom Daschle during his 2004

Senate race was, as Mr. Moore put it, “a highly effective ad in the Thune-Daschle race. Daschle

did everything he could to get the ad taken off the air. And in fact, this issue was very, very

damaging to Daschle.” (Annenberg Public Policy Center, Electing the President, 2004: The

Insiders’ View, (Kathleen Hall Jamieson ed., 2005), at 199 FEC Exh. 50 .)

       111.    Just as the Club for Growth ads have been “highly effective,” David Keating’s

SpeechNow ads are similarly likely to influence the outcomes of candidate elections; Mr.




                                                 28
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 34 of 142



Keating is involved in advertising by both. (Keating Dep. at 28, 86, FEC Exh. 11; Compl. (Doc.

28-2) ¶ 8.)

       112.    Although the Democratic candidate did not prevail in 2004, independent spending

to support Senator Kerry’s campaign was effective and helpful. With respect to America

Coming Together, one of the primary Democratic-leaning groups. President Clinton stated at one

fundraising event that “‘ACT met a critical need and that if ACT had existed in 2000 the

Democrats would have won.’” (The Election After Reform, Money Politics and the Bipartisan

Campaign Reform Act, (Michael J. Malbin ed. 2006) (excerpts, Chapter 5, Weissman & Hassan

and Ch. 6, Boatright, Malbin, Rozell, and Wilcox), at 87, FEC Exh. 55)

       113.    Communications from independent 527 groups often highlight the organizations’

electoral effectiveness. One letter from the Gay & Lesbian Victory Fund to major donor Peter

Lewis explained: “Your recent support of $100,000.00 to the Gay and Lesbian Victory Fund is

critical to helping elect openly gay and lesbian officials in every state in the country . . .

Support from committed donors like you has enabled the Victory Fund to invest over $12 million

dollars in LGBT candidates over the last decade and secure thousands of wins.” (Letter from

Wolf to Lewis, Sept. 17, 2004, FEC Exh. 54, Peter B. Lewis 00002). Another letter explained

how Peter Lewis’s “generous $100,000 gift” had “already shown a return” through candidate

victories. (Letter from Wolf to Lewis, Nov. 21, 2005 FEC Exh. 54, Peter B. Lewis 00010.)

       114.    In California, a state where contributions to groups that make independent

expenditures are not limited, the FPPC recently identified several close State Assembly races in

the 2006 election cycle where “‘independent expenditures’ may have assured victory” and many

other 2004 and 2006 statewide and legislative races where they had a significant impact. (FPPC,




                                                  29
          Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 35 of 142



Independent Expenditures: The Giant Gorilla in Campaign Finance, June 2008, at 37-40 and 23-

36, FEC Exh. 47).

          115.   Independent expenditures can also affect who runs for office, as illustrated by an

example from California. There is an independent expenditure committee already set up for the

2010 California gubernatorial race, as explained by FPPC Chairman Ross Johnson: “Reed

Hastings, the founder of Netflix, has already, more than two years before the election, very

publicly contributed a million dollars to [the] group, [which was] created to support State

Superintendent of Public Instruction, Jack O’Connell. This one individual’s contribution to a

committee, at a level approximately 41 times higher than what he could give directly to a

campaign, has, by itself, made O’Connell a credible candidate.” (Johnson Decl. ¶ 9, FEC

Exh.2.)

                 3.     Independent Expenditures Have Become More Effective over Time.

          116.   “Over the past several election cycles, the quality and impact of independent

expenditures and candidate-focused issue advocacy ha[ve] increased, as a network of

professional activists ha[s] developed mechanisms to study what works and to adapt their

campaigns to these lessons. Thus, increasingly the value of a contribution to an independent

expenditure committee has increased, and the likelihood that it is at least as valuable as a direct

contribution to the candidate has increased as well.” (Wilcox Rept. at 16, FEC Exh. 1.)

          117.   “Most independent expenditures and issue advocacy campaigns are designed by

professionals, pretested by professionals, and their impact is studied by professionals in order to

create more effective campaigns for the next election.” (Wilcox Rept. at 16, Exh. 1.) As a large

study of specific elections in 2000 concluded, “‘interest groups in 2000 . . . mounted the

equivalent of full-fledged campaigns for and against specific candidates. The campaigns were




                                                  30
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 36 of 142



fully professional, and included pollsters, media consultants, general strategists, mail consultants,

and so forth.’” (Wilcox Rept. at 16, FEC Exh. 1 (quoting David B. Magleby, Conclusions and

Implications for Future Research, in The Other Campaign: Soft Money and Issue Advocacy in

the 2000 Congressional Elections, (David Magleby, ed. 2003). Groups are also now using

tracking polls to make sure that their campaigns are working. Id.

       118.    Another development that has led to the recent increase in quality of independent

expenditures is the fact that now “[m]any organizations design their strategy over several

election cycles. The AFL[-]CIO did substantial polling and focus groups after the 1996 election,

and again after the 2002 election campaigns, and used this information to design a different type

of effort in 2004. Similarly the NRA has studied the best ways to do independent expenditures.

They have developed lists not only of their members but also of groups that might be especially

important in a campaign, such as union members who also have hunting licenses. Their

sophisticated campaign in the 2000 presidential election in West Virginia is frequently attributed

with boosting Bush to victory.” (Wilcox Rept. at 16, FEC Exh. 1.) “In 2001 the National

Federation of Independent Businesses conducted extensive experimental studies in the best ways

to contact and mobilize voters, contacting more than 850 members and 11,000 additional small

business voters, and conducting a post-election survey to determine which techniques worked

best.” (Id. (citing David B. Magelby and J. Quin Monson, Interest Groups in American

Campaigns: the New Face of Electioneering, in The Last Hurrah? Soft Money and Issue

Advocacy in the 2002 Congressional Elections (David B. Magleby et al. eds., 2004)).

       119.    “The extensiveness of the professionalism of many of these campaigns is

evidenced by Steve Rosenthal, former AFL-CIO political director who headed Americans

Coming Together in 2004. Rosenthal noted at a Press Conference in 2007 that his effort was




                                                 31
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 37 of 142



based on previous election testing at the AFL-CIO in 2003, and that his organization contacted

newly registered voters about 12 times after they registered by a combination of mail, phone, and

personal contact. He also commissioned a post-election poll in Ohio, in exurban and rural areas,

testing contacting and vote choice.” (Wilcox Rept. at 16, FEC Exh. 1 (citing Center for the

Study of Elections and Democracy at Brigham Young University, transcript, release of Dancing

Without Partners, Feb. 7, 2005).

       120.    Similarly, in 2004, “the Sierra Club 527 … reach[ed] out to over 400,000 targeted

voters in nine key states. The Sierra Club 527 targeted these voters with from 8 to 12 contacts

(phone, mail, and door-to-door) between August 1 and the close of polls on Election Day.”

(Center for the Study of Elections and Democracy, 527s Had a Substantial Impact on the

Ground and Air Wars in 2004, Will Return /Swift Boat Veterans 527 Played Historic Role (Dec.

16, 2004) FEC Exh. 51.)

       121.    “All of this research by groups and networks of activists has increased the value

of independent spending campaigns, and thus makes them more valuable to candidates.”

(Wilcox Rept. at 16; see supra Facts 116-120.)

               4.     Technical Coordination with a Candidate Is Unnecessary for an
                      Independent Expenditure to Effectively Supplement a Campaign.

       122.    “Although independent expenditure campaigns are not directly coordinated with

candidates, there are many ways for committees to determine the maximum way to help

candidates.” (Wilcox Rept. at 17, FEC Exh. 1.) As discussed below, this includes accessing

campaign information, which is readily available via the internet, taking advantage of the

numerous political operatives moving back and forth between campaigns and independent

groups, and creating broad networks of independent groups that coordinate with each other. (For

additional discussion of the role of party insiders in groups that make independent expenditures



                                                 32
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 38 of 142



see infra Facts 251- 265). Ultimately, the result is groups being able to closely integrate their

independent expenditures with campaigns much more effectively than they could have thirty

years ago.

       123.    “In an era of tight networks, there is no need to coordinate in order to help

candidates win. Over the past two decades, activists have moved throughout their careers

between jobs in the campaigns, in the party, as consultants, and in interest groups, thus making it

easier to know what is valuable to campaigns. Increasingly, interest group leaders are people

who have worked full time on campaigns and for parties in the past, and thus understand how to

echo and supplement candidate messages, which they can easily discern by following coverage

of the campaign by media, and monitoring media buys. Even without these connections, the

internet makes it easy to find information to maximize the value of expenditures. Campaign

strategies are broadly known, tracking polls are widely available, and strategies can be designed

to help candidates even without consulting with them.” (Wilcox Rept. at 17, FEC Exh. 1.)

       124.    “Interest groups share information with each other about what they will do and

when to others who are interested in the same races, and meet regularly throughout the campaign

to discuss their strategies. Although the candidates are not part of these discussions, the

collaboration of interest group networks helps assure that groups use their money in an optimal

way to help elect candidates.” (Wilcox Rept. at 17, FEC Exh. 1.)

       125.    As Michael J. Malbin, Executive Director of the Campaign Finance Institute,

testified before the Senate Committee on Rules and Administration: “Many of the organizations

sponsoring 527 groups concurrently sponsor separate Political Action Committees (PACs) that

provide or channel hard money contributions to candidates and parties. ... In these cases, it is

unrealistic to assume that candidates and officeholders will regard the sponsor's 527 and its




                                                 33
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 39 of 142



donors as 'independent' of and disassociated from the same sponsor's PAC contributions.”

(Senate Committee on Rules and Administration, Hearing to Examine and Discuss S.271, a Bill

Which Reforms the Regulatory and Reporting Structure of Organizations Registered Under

Section 527 of the Internal Revenue Code, 109th Cong. (March 8, 2005) (written testimony of

Michael J. Malbin, Executive Director of the Campaign Finance Institute) (available at

http://rules.senate.gov/hearings/2005/MalbinTestimony.pdf), FEC Exh. 116.)

       126.    “For example, Let Freedom Ring was formed in 2004 as a 501(c)[(4)]

organization that produced a video for distribution in evangelical churches touting Bush’s

personal faith, funded initially by a $1,000,000 contribution from John Templeton.” (Wilcox

Rept. at 17, FEC Exh. 1 (citing Clyde Wilcox and Carin Larson, Onward Christian Soldiers: The

Christian Right in American Politics, 3rd ed., 2006). The group did not need to consult with

Bush-Cheney campaign officials to learn that evangelical voters were a key part of the

campaign’s strategy; campaign strategist Karl Rove publicly proclaimed the central importance

of mobilizing evangelicals as early as 2001, and there was widespread coverage of the efforts by

the Bush campaign to secure membership of conservative churches. (Wilcox Rept. at 17, FEC

Exh. 1 (citing Richard Berke, Aide Says Bush Will Do More to Marshal Religious Base, N.Y.

Times, Dec. 12, 2001, and David D. Kirkpatrick, Bush Appeal to Churches Seeking Help Raises

Doubts, N.Y. Times, July 2, 2004, at A15).) And they did not need to talk directly with

campaign officials to know which states were in play – this information is available and updated

continually on the internet. They therefore concentrated their distribution in the swing states of

Ohio and Pennsylvania, coordinating with other groups such as the Ohio Christian Coalition and

the Pennsylvania Family Institute. The value of this group’s efforts was not diminished by the

lack of coordination; indeed it ran a very cost-effective campaign. (Wilcox Rept. at 17, FEC Exh.




                                                34
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 40 of 142



1.)

       127.    As Republican strategist Paul Manafort has explained, “national-campaign

operatives understand the limitations of collusion. At the same time, because they are

experienced, they are able to understand the strategies of who[m]ever they are trying to help or

damage. And as a consequence, smart people can figure out pretty easily how to run a campaign

that’s consistent with or in concert with candidates they oppose or support.” (Wilcox Rept. at

18, FEC Exh. 1 (quoting Interview with Paul Manafort by Jules Witcover, The Buying of the

President, Center for Public Integrity, March 20, 2007, available at

http://www.buyingofthepresident.org/index.php/interviews/paul_manafort.)

       128.    Given the easy available information and tight networks of political operatives

and groups described above, “interest group spending is frequently well integrated into campaign

themes.” (Wilcox Rept. at 17, FEC Exh. 1). “‘Going into 2002, for example, Republicans and

their interest-group allies were concerned about prescription drug benefits for seniors. Both the

Republican Party and the United Seniors Association took the offensive, praising those who

voted for the plan passed by the House and criticizing the Senate for its failure to act. A

conservative group, the Seniors Coalition, mailed a flyer to New Mexico’s First Congressional

District, which read ‘While the Liberals were talking, Congresswoman Heather Wilson was

helping to pass the first comprehensive Medicare prescription drug benefit.’’” (Wilcox Rept. at

17, FEC Exh. 1 (quoting David B. Magleby and Jonathan W. Tanner, Interest Group

Electioneering in the 2002 Congressional Elections, in The Last Hurrah? Soft Money and Issue

Advocacy in the 2002 Congressional Elections (David B. Magleby et al. eds., 2004)).) “This

kind of helpful campaign did not require explicit coordination.” (Wilcox Rept. at 17, FEC Exh.

1.)




                                                 35
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 41 of 142



       129.    “[I]t is not difficult to devise advertising strategies that correlate closely with

campaigns, without explicit coordination.” (Wilcox Rept. at 17, FEC Exh. 1.) Indeed, officials

with both MoveOn.org and The Media Fund explained their ability to achieve “striking

synchronicity” with the advertising of the Kerry Campaign by “noting that it is relatively easy to

monitor the media purchases by candidates.” (Id.; Jim Rutenberg, Democrat’s Ads in Tandem

Provoke G.O.P., N.Y. Times, Mar. 27, 2004, FEC Exh. 56.) Monitoring Senator Kerry’s and

President Bush’s advertising purchases through services that tracked such advertising was all that

was necessary to determine where and when to run the most effective pro-Kerry ads. (Jim

Rutenberg, Democrat’s Ads in Tandem Provoke G.O.P., N.Y. Times, Mar. 27, 2004, FEC Exh.

56.)

       130.    Chairman Ross Johnson of the California FPPC has described another example of

this synchronicity: “during the 2006 election cycle, there was a clear pattern of a candidate’s

committee inundating voters’ mailboxes with campaign materials for three or four days, and then

stop, while for the next three or four days, independent expenditure committees would inundate

mailboxes with campaign material, and then back and forth. So the mailings alternated almost

exactly between the candidate’s committee and independent expenditure committees.” (Johnson

Decl. ¶ 10, FEC Exh. 2.)

       131.    Thanks to modern campaign techniques, groups can assist candidates without

coordinating with them to a much greater extent than they could thirty years ago. “The kind of

groups that are around today which were not around when the [Buckley] court made their

decision are much more professional. They have much better networks. They focus group test

their materials. They do exit polls. They do tracking polls. I think the world is fundamentally

different.” According to Professor Wilcox, “the court was not considering . . . really huge




                                                  36
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 42 of 142



contributions.” Although independent expenditures “occasionally . . . can be

counterproductive[,] . . . for the most part, they do help candidates” and “the scope of their

activity is much, much, much bigger than it ever was when the court ruled.” (Wilcox Dep. at

199-200, FEC Exh. 1.)

       B.      Independent Expenditures Lead to Gratitude, Indebtedness, and Access,
               Pose a Danger of Quid Pro Quo Arrangements, and Create the Appearance
               of Corruption.

       It is well established that large contributions to candidates can lead to access and quid pro

quo arrangements. See infra Section B(1). However, because of limitations on direct

contributions, individuals who seek to influence policy or gain access to officeholders are willing

to make large contributions in an indirect manner. See infra Section B(2). The history of

massive “soft money” contributions to political parties illustrates this point. See infra Section

B(3). However, access-oriented donors have also been more than willing to give large

contributions to non-party groups. See infra Section B(4). If individuals are allowed to give

unlimited contributions to groups that make independent expenditures, they will seek access and

influence through this vehicle as well. See infra Section B(5). The current state of affairs in

California, where there are currently no limits on contributions to groups that make independent

expenditures, clearly illustrates this point. See infra Section B(6). Finally, even on the national

level, groups have been formed with the sole purpose of electing or defeating a single federal

candidate. See infra Section B(7).

               1.      Large Direct Contributions Raise the Danger of Quid Pro Quo
                       Arrangements, Undue Influence, and the Appearance of Corruption.

       132.    “The danger of large direct contributions to candidates is well established in

political science. In U.S. history and across the world, large contributions to candidates and

parties have been frequently associated with special access and particularistic policy favors for



                                                 37
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 43 of 142



donors. Large direct contributions have been associated with explicit and implicit quid-pro-quo

relationships, and with special access for and influence by large donors.” (Wilcox Rept. at 5,

FEC Exh. 1.) A “very strong majority” of political scientists believe that “at some point really

large contributions create the possibility for corruption.” (Wilcox Dep. at 170, FEC Exh. 1.)

        133.   Such large contributions to candidates and parties have pervasively undermined

democratic processes. (Wilcox Rept. at 5, FEC Exh. 1, citing Mark E. Warren, What Does

Corruption Mean in a Democracy?, 48 Am. J. Pol. Sci. 328-43 (2004) and Dennis F. Thompson,

Ethics in Congress: From Individual to Institutional Corruption (1995).) “Large contributions

can also lead to increased public perceptions of corruption, which can itself have harmful effects

on democracy.” (Wilcox Rept. at 5, FEC Exh. 1 (citing Mark E. Warren, Democracy and

Deceit: Regulating Appearances of Corruption, 50 Am. J. Pol. Sci. 160-74 (2006) and Robert Y.

Shapiro, Public Attitudes Toward Campaign Finance Practice and Reform in Inside the

Campaign Finance Battle (Anthony Corrado et al., eds., 2003)).)

       134.    When large contributions are permitted, policymakers have pressured potential

donors to give large sums before their issues are addressed by government. These efforts might

be thought of as harassment or “rent seeking” by politicians, but “‘whatever the language, the

record is replete with fully documented examples from 1972 onward. This is not about

appearances. The problem is real, it cannot possibly be rooted out with disclosure, and it is

stimulated by unlimited contributions.’” (Wilcox Rept. at 17, FEC Exh. 1 (quoting Michael J.

Malbin, Rethinking the Campaign Finance Agenda, 6 The Forum, Iss. 1 Art. 3, at 3 (2008)).)

       135.    “Contribution limits aim to limit the danger of corruption by limiting the amount

that donors can offer to candidates, and that candidates can ask from donors.” (Wilcox Rept. at

5, FEC Exh. 1)




                                                38
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 44 of 142



       136.    The notion that unlimited contributions to organizations that make independent

expenditures pose a danger of corruption or its appearance is uncontroversial in the political

science field. “[M]ost people” in the field, were they to review Professor Wilcox’s report that

reached this conclusion, would say “[S]o what? We know that.” (Wilcox Dep. at 319, FEC Exh.

1.)

               2.      Donors Are Also Willing to Make Large Indirect Contributions to
                       Secure Access and Influence Policymaking.

       137.    In general, “[i]ndividuals make contributions to candidates for a variety and

mixture of motives. Many are ‘investors’ who give in part or primarily to protect or promote

their business interests. A survey of congressional donors of $1000 or less in 1996 showed that

nearly three in four admit that they give for business reasons at least some of the time, and that

nearly 25% say that they give for business reasons most of the time.” (Wilcox Rept. at 6, FEC

Exh. 1 (citing Peter L. Francia et al., The Financiers of Congressional Elections: Investors,

Ideologues, and Intimates (2003)).

       138.    “These donors are willing to give to any type of entity that will incur the gratitude

of incumbent politicians. Large donors have in the past given to multiple entities simultaneously

as a way to increase the magnitude of their contributions and the gratitude of politicians.”

(Wilcox Rept. at 6, FEC Exh. 1.) In fact, “[s]ome donors . . . are willing to invest far more

money [than the hard money contribution limit] in order to gain access to politicians or to affect

public policy.” Id. The entities they have given to include candidate committees; leadership

PACs sponsored by the same candidate; national, state, and local political parties; and “a variety

of PACs and 527 organizations that help candidates.” Id.

       139.    “Donors who seek to gain access and influence care primarily that their

contribution is noticed and appreciated, not that it is handled directly by the candidate’s



                                                 39
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 45 of 142



campaign treasurer.” (Wilcox Rept. at 6, FEC Exh. 1.)

               3.      The History of Contributions to Party Soft Money Committees
                       Illustrates that Donors Are Willing to Invest Their Contributions
                       Indirectly and Officeholders Seek Such Contributions.

       140.    “Between the mid 1980s and 2002, when soft money contributions were banned

through BCRA, individuals gave increasingly large sums to the soft money accounts of political

parties. Wealthy donors were repeatedly asked to give, and asked for increasingly large

contributions in settings which guaranteed donors access to make policy arguments. These

contributions were not made to specific candidates, but . . . these contributions clearly gave

donors special access to policymakers, and . . . created the appearance and reality of undue

influence over policymakers as well.” (Wilcox Rept. at 6-7, FEC Exh. 1.)

       141.    “Because there was no legal limit on the size of soft-money contributions, it was

far easier for party leaders to raise soft money than hard money. . . . It took a few years for party

leaders to understand and fully use the soft money system; in the early years the amount raised

increased gradually, but by the late 1990s the growth was explosive.” (Wilcox Rept. at 7, FEC

Exh. 1).

       142.    “Parties quickly became increasingly dependent on this easy money. Between

1992 and 2002, total Democratic soft money increased from $46 million to more than $246

million, while total Republican soft money increased from $64 million to $250 million.”

(Wilcox Rept. at 7, FEC Exh. 1).

       143.    “The rapid growth of soft money was the result of active and persistent

solicitation by policymakers and their agents, and by party officials.” (Wilcox Rept. at 7, FEC

Exh. 1.) As explained by Gerald Greenwald, the chairman emeritus of United Airlines,

corporations and unions gave soft money because “‘experience has taught that the consequences




                                                 40
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 46 of 142



of failing to contribute (or to contribute enough) may be very negative.’” (Wilcox Rept. at 7,

FEC Exh. 1 (quoting Gerald Greenwald, Corporate America Contributes Soft Money Under

Pressure, in Inside the Campaign Finance Battle (Anthony Corrado ed., 2003)).) “Corporate

executives complained in the late 1990s at the repeated and escalating requests for contributions .

. . .” (Wilcox Rept. at 7, FEC Exh. 1.)

       144.    Much of the party soft money came from very large contributions by individuals.

“In 2002 more than 365 individuals gave at least $120,000 apiece in soft money.” (Wilcox Rept.

at 7, FEC Exh. 1.) “In many cases they did so because they were explicitly promised greater

access to policymakers if they gave. In 1996 for example the Democratic National Committee

offered a membership category of ‘Executive Committee’ to soft money donors of $100,000 or

more, and promised opportunities to meet with party officials and exchange views with

policymakers. The Republican National Committee made a similar promise to those who gave

$100,000 – and called them ‘Team 100.’” (Wilcox Rept. at 7, FEC Exh. 1 (citing Mark J. Rozell

and Clyde Wilcox, Interest groups in American Campaigns: the New Face of Electioneering

(1999)).)

       145.    “Soft money was raised in circumstances where its connection with access was

explicit. The Clinton campaign raised soft money in intimate White House coffees and

congressional Republicans held soft money fundraisers before they marked up legislation of

interest to various industries. The money was often spent to benefit particular candidates, but

even candidates who did not benefit directly from soft money spending in their particular races

were grateful for the impact of these funds on their party’s overall fortunes. Policymakers have

greater influence when their party is in the majority, and thus appreciate contributions that help

those few party candidates who are involved in close elections to win. Party leaders reminded all




                                                41
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 47 of 142



members of the caucus which individuals and groups had made large soft money contributions.”

(Wilcox Rept. at 7 , FEC Exh. 1.)

       146.    As former Senator Alan Simpson explained, “‘Often, donors would give large

sums of soft money to attend events with elected officials. . . . Party leaders would inform

Members at caucus meetings who the big donors were. . . . At these events, it was not

uncommon for the donors to mention certain legislation that affected them.’” (Wilcox Rept. at 7,

FEC Exh. 1.)

        147.   “Businessman Roger Tamraz contributed repeatedly to national and state

Democratic Party soft money committees [including $300,000 in 1996], and noted ‘It's the only

reason -- to get access.’ Tamraz did not ultimately prevail in his efforts to win U.S. approval of

his oil pipeline project, but proclaimed that ‘I think next time I'll give $600,000.’ What Tamraz

did get, however, was both repeated solicitations for additional gifts, and unusual access to

policymakers. There are countless other examples of large soft money donors who received

special access to policymakers.” (Wilcox Rept. at 8, , FEC Exh. 1; see also David Rosenbaum,

Campaign Finance: The Hearings; Oilman Says He Paid For Access by Giving Democrats

$300,000, N.Y. Times, Sept. 19, 1997, FEC Exh. 57.)

       148.    “Thus unlimited soft money contributions allowed some ‘investors’ to make very

large contributions, and to gain access to policymakers – even though the contribution was not

made directly to the candidate.” (Wilcox Rept. at 8, FEC Exh. 1.)

       149.    “[T]he history of soft money contributions shows that donors who seek access

give money not only directly to candidates, but also to other organizations that will help the

candidates.” (Wilcox Rept. at 8; see supra Facts 140-148).




                                                42
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 48 of 142




               4.     Donors Seeking Access and Influence Give to Non-Party
                      Organizations As Well.

       150.    “Large donors seeking to establish relationships with policymakers have also

historically given large contributions to non-party committees which are working to help

candidates win election[s].” (Wilcox Rept. at 8, FEC Exh. 1.) Because donors were not in the

past allowed to make large contributions to express advocacy political committees, “they have in

the past made contributions to 501(c) and 527 organizations which aid candidates. . . . [T]hese

precedents . . . suggest the likely development of large contributions to [groups making

independent expenditures] if unlimited contributions were permitted for these groups.” (Id.)

       151.    A past example of the danger from large electoral contributions to 501(c)

nonprofit organizations is the past activity of Charles Keating, a banker whose support for

several U.S. Senators — through direct contributions, bundled contributions from friends and

colleagues, and through a contribution to a voter mobilization organization — led to a broad

investigation and in some cases Senate sanctions. (Wilcox Rept. at 8, FEC Exh. 1). “Keating

hoped that these Senators would help him defeat new rules prohibiting direct investments by

savings and loans.” (Wilcox Rept. at 8, FEC Exh. 1.) “He made the motives for his financial

contributions clear when he proclaimed that ‘One recent question, among others raised in recent

weeks, had to do with whether my financial support in any way influenced several political

figures to take up my cause. I want to say in the most forceful way I can: I certainly hope so.’”

(Wilcox Rept. at 8, FEC Exh. 1.)

       152.    “Keating’s largest contribution was to a nonprofit organization headed by Alan

Cranston’s son, which was created to mobilize Democratic voters to help Cranston win his next

Senate election. Cranston acknowledged the connection between this indirect contribution and



                                                43
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 49 of 142



Keating’s request for policy intervention, when he patted Mr. Keating on the back at a dinner at

the Belair Hotel and said ‘Ah, the mutual aid society.’” (Wilcox Rept. at 8, FEC Exh. 1.)

       153.    “Clearly this contribution to a 501(c) organization was intended as an indirect

contribution to Senator Cranston, who valued this contribution as a way to improve his chances

of reelection. Cranston’s chief fundraiser discussed with Keating both his contributions and

possible regulatory relief in the same conversations. The Senate ethics committee treated

Cranston’s behavior as the most serious offense of the Keating Five.” (Wilcox Rept. at 8, FEC

Exh. 1.)

       154.    Even more striking was the recent massive increase in contributions has been the

amazing rise in contributions to 527 that formed to affect federal election but did not register as

political committees with the FEC. As former Senate Majority Leader Tom Daschle has

explained, “[t]here is no question that people use them as a way around contribution limits — it

is a loophole the size of the Washington monument. . . . Some of the contributors to these

independent expenditure campaigns are clearly avoiding contribution limits in order to gain

access or to influence policy making.” (Wilcox Rept. at 8, FEC Exh. 1.)

       155.    As observed by news reports after the 2004 election concluded, “ [t]he so-called

527 committees, with the ability to raise unlimited soft money contributions, played a huge role

in the elections for both Republicans and Democrats. … The organizations raised hundreds of

millions of dollars, tapping a long list of wealthy partisan contributors for money and, in the

process, prompting major battles over their legality. They focused tightly on about a dozen swing

states, running a blizzard of television commercials and employing legions of campaign

workers.” (Glen Justice, Advocacy Groups Reflect on Their Role in the Election, N.Y. Times,

Nov. 5, 2005, FEC Exh. 111).




                                                 44
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 50 of 142



       156.    In some cases, the “organizations” that undertake supportive candidate spending

are “mere vehicles for large contributions to aid candidates.” (Wilcox Rept. at 9, FEC Exh. 1.)

“For example, in 2000 ‘Republicans for Clean Air’ ran television advertisements designed to

help George Bush defeat John McCain in the New York primary. The group had no mailing

address or phone number, merely a post office box. It was primarily a vehicle for two Texas

donors who had already contributed the maximum allowed under the law to further aid the Bush

campaign.” (Id.)

       157.    Similar to soft money donations to political party committees, contributions for

“candidate-focused issue advocacy campaigns have given individual donors a mechanism to

avoid contribution limits.” (Wilcox Rept. at 11, FEC Exh. 1.) With the passage of BCRA, the

money flowing through federal 527s rose significantly — up from $151 million in 2002 to $424

million in 2004. (The Election After Reform, Money Politics and the Bipartisan Campaign

Reform Act, (Michael J. Malbin ed. 2006) (excerpts, Chapter 5, Weissman & Hassan and Ch. 6,

Boatright, Malbin, Rozell, and Wilcox) (hereinafter, “Weissman & Hassan”) at 81, FEC Exh.

55). Contributions of $5000 or more to those 527s accounted for all but approximately $16

million of the $151 million raised in 2002 and all but approximately $15 million of the $405

million received in 2004. (Weissman and Hassan at 90, FEC Exh. 55.) Despite the addition of

approximately 50% more donors (1,232 to 1,887), the average donation increased from

approximately $30,000 to $136,000, more than four times as high. (Id. at 92.)

       158.    Data on contributions to 527 organizations from the two full election cycles since

the soft money ban went into effect “show that some donors give far more than they are

permitted through hard money limits, and it is clear that they did so to influence election

outcomes.” (Wilcox Rept. at 11, FEC Exh. 55.)




                                                45
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 51 of 142



       159.    “In the 2004 election cycle, 113 individuals contributed at least $250,000 to 527

groups; 2/3 of these had previously given substantial sums of party soft money.” (Wilcox Rept.

at 11.) Those 113 individuals provided more than $207 million to 527 groups.” (Weissman &

Hassan at 93, FEC Exh. 55). Twenty-four individuals gave over $2 million apiece to 527 groups,

totaling more than $142 million.” Id. This was 56 % of the funds 527s received from

individuals. (SpeechNow.org Response to FEC Request for Admission 10, FEC Exh. 106 at 14.)

Overall, individuals associated with the business community gave more to 527s in 2004 than

they had given in party soft money in 2000, although the giving was more concentrated and

centered outside of the large publicly traded corporations.” (Wilcox Rept. at 11, FEC Exh. 1

(citing Robert Boatright et al., Interest Groups and Advocacy Organizations After BCRA, in The

Election After Reform (2006), 119).)

       160.    Two individuals – George Soros and Peter Lewis – by themselves each

contributed over $20 million to 527 organizations during the 2004 election cycle.

(SpeechNow.org Response to FEC Request for Admission 11, FEC Exh. 106 at 15.)

       161.    In the 2006 midterm election, total individual contributions to 527 organizations

were predictably lower than in a presidential election, but 51 individuals gave more than

$200,000 or more to 527s. (Stephen R. Weissman and Kara D. Ryan, Soft Money in the 2006

Election and the Outlook for 2008/The Changing Nonprofits Landscape, at 22-23 (Campaign

Finance Institute Report 2007), (hereinafter “Weissman and Ryan”) FEC Exh. 58.) “Nearly half

of total contributions — $53 million — came from 104 individual $100,000+ donors, mainly

from 15 individuals who gave between $600,000 and $9.75 million.” (Weissman and Ryan at 2,

FEC Exh. 58.) Donors of more than $100,000 also “gave a median $75,000 to federal

committees in 2006, so their contributions to these 527 organizations served to supplement hard




                                               46
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 52 of 142



money contributions and allowed them to contribute beyond the legal hard money limit.”

(Wilcox Rept. at 11, FEC Exh. 1; Weissman and Ryan at 2, FEC Exh. 58.)

       162.    Ultimately, at least ten 527 groups have been found to have violated FECA during

the 2004 election by operating, in whole or in part, outside of the rules applicable to political

committees. (See, e.g., FEC Conciliation Agreements with Swift Boat Veterans and POWs for

Truth (MURs 5511, 5525) (Dec. 2006); Progress for America Voter Fund (MUR 5487 (Feb.

2007); The Media Fund (MUR 5440) (Nov. 2007); America Coming Together (MURs 5403,

5466) (Aug. 2007), available at http://eqs.nictusa.com/eqs/searcheqs, see also S. Simpson Decl.,

Exhs. 4-9)

               5.      Contributions to Groups that Make Independent Expenditures Can
                       Lead to Corruption in the Same Way as Direct and Other Kinds of
                       Indirect Contributions.

       163.    Large contributions to groups whose principal purpose is to make independent

expenditures have a similar potential for corruption as large direct contributions to candidates.

(Wilcox Rept. at 5, FEC Exh. 1; see infra Sections B(1)-B(4).)

       164.    Large contributions to groups making independent expenditures “can be

conceived as indirect contributions – instead of giving the money directly to the candidate’s

campaign committee, they are given to an independent committee that also helps the candidate

win.” (Wilcox Rept. at 5, FEC Exh. 1.)

       165.    “The danger of large campaign contributions comes not from the fact that the

candidate’s campaign treasurer uses the money directly to pay for campaign expenses – it comes

from the ability of the contribution to help the candidate win election.” (Wilcox Rept. at 5, FEC

Exh. 1.) Large contributions raise concerns about corruption, whether the recipient is a

candidate, a party, or an independent group. “[A] large amount of money that helps the




                                                 47
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 53 of 142



candidate win the election . . . creates the possibility of corruption [] whether it’s given directly

to the candidate, whether you give it to the party first. It doesn’t matter who cashes the check. It

matters whether the money is spent to help elect the candidate.” (Wilcox Dep. at 176-77, FEC

Exh. 1).

        166.   Because “[i]ndependent expenditure spending can help a candidate as surely as a

direct contribution,” it has a similar “potential for evoking gratitude and special favors.”

(Wilcox Rept. at 5, FEC Exh. 1.)

        167.   As Michael J. Malbin, Executive Director of the Campaign Finance Institute,

testified before the Senate Committee on Rules and Administration: “With almost all of the 527s

associating themselves with the two major parties and their candidates, and with the great

majority of contributions coming from donors giving in the millions, rather than thousands or

even tens of thousands of dollars, big 527 donors today are positioned to garner more attention

and consideration from parties and candidates than those who give the maximum direct

contribution of $2,000-$25,000.” (Senate Committee on Rules and Administration, Hearing to

Examine and Discuss S.271, a Bill Which Reforms the Regulatory and Reporting Structure of

Organizations Registered Under Section 527 of the Internal Revenue Code, 109th Cong. (March

8, 2005) (written testimony of Michael J. Malbin, Executive Director of the Campaign Finance

Institute) (available at http://rules.senate.gov/hearings/2005/MalbinTestimony.pdf), FEC Exh.

116.)

               6.      Unregulated Contributions to Groups that Make Independent
                       Expenditures in California Illustrates the Potential for Corruption
                       and Circumvention.

        168.   Contributions to groups that make independent expenditures can be used to

circumvent limits on direct contributions to candidates and candidate campaign committees.




                                                  48
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 54 of 142



Campaign spending in state races in California provides a clear example of this phenomenon.

(See infra Facts 169-180 .)

       169.    The people of California have repeatedly voted to limit the size of contributions

and create campaign finance regulations, including the passage of propositions in 1988 and 1996

that sought to limit the size of contributions to candidates. While the contribution limits enacted

in 1996 were tied up in court battles, there were several election cycles without any limits on

direct contributions to state candidates in California. (Johnson Decl. ¶ 4, Exh. 2; FPPC,

Independent Expenditures: The Giant Gorilla in Campaign Finance, June 2008, at 3, FEC Exh.

47).

       170.    In 2000, California voters once again voted to limit the amount of money that

individuals can contribute to candidates for state office and candidates’ associated parties and

political committees. The new contribution limits applied to legislative candidates during the

2002 election cycle and began to apply to statewide candidates during the 2004 election cycle.

The proposition did not, however, create any limitations on contributions to groups that

supposedly do not coordinate their spending with candidates, nor did it contain any aggregate

annual limit on gifts to this type of group. (Johnson Decl. ¶ 4, Exh.2; FPPC, Independent

Expenditures: The Giant Gorilla in Campaign Finance, June 2008, at 3, FEC Exh. 47.)

       171.    Since candidate contribution limits were imposed in California, independent

expenditures have “skyrocketed.” (Johnson Decl. ¶ 5, Exh. 2; FPPC, Independent Expenditures:

The Giant Gorilla in Campaign Finance, June 2008, at 3, FEC Exh. 47).

       172.    In the 2000 legislative races, when there were no limits on contribution to

candidates, the total amount of independent expenditures was $376,000. By 2006, with the

candidate limits in place, total independent expenditures on behalf of legislative candidates rose




                                                49
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 55 of 142



to $23.48 million. That is a 6,144% increase in just 6 years. In the 2002 statewide races, when

there were no candidate contribution limits, independent expenditures totaled $526,000. In

2006, independent expenditures soared to $29.47 million – that is a 5,502% increase in only four

years. In total, there was almost $100 million spent on independent expenditures benefiting

candidates for state offices in California. (Johnson Decl. ¶ 5, FEC Exh. 2; FPPC, Independent

Expenditures: The Giant Gorilla in Campaign Finance, June 2008, at 8-10, FEC Exh. 47).

       173.    The sharp increase in independent expenditure spending, which has followed

imposition of candidate contribution limits, represents the spending of persons and groups who

previously could seek to influence campaigns by large, direct contributions to candidates.

(Johnson Decl. ¶ 5, FEC Exh. 2; FPPC, Independent Expenditures: The Giant Gorilla in

Campaign Finance, June 2008, at 8-10, FEC Exh. 47).

       174.    The amount of contributions to independent expenditure committees that are

above what individuals would be able to give directly to the candidates is instructive. By

avoiding contribution limits, the 25 groups making the most independent expenditures in

California funneled $61,705,919 into campaigns for state elective office between January 2001

and December 2006 beyond what they could have given directly to the benefited candidates.

This includes contributions from individuals to independent expenditure committees,

contributions that benefit a specific candidate, that are hundreds of times more than donors

would be able to give to the candidate directly. (Johnson Decl. ¶ 6, FEC Exh. 2; FPPC,

Independent Expenditures: The Giant Gorilla in Campaign Finance, June 2008, at 41-48, FEC

Exh. 47).

       175.    Some of the biggest contributions to groups that make independent expenditures

in California have come from individuals. Angelo K. Tsakopoulos and his daughter, Eleni




                                                50
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 56 of 142



Tsakopoulos-Kounalakis gave $6,130,000 and $2,570,000, respectively, to “Californians for a

Better Government, A Coalition of Firefighters, Deputy Sheriffs, Teachers, Home Builders and

Developers.” In total, the Tsakopoulos’ contributions amounted to more than 80 % of those

received by Californians for Better Government. Californians for a Better Government only

participated in the 2006 Democratic Primary Election and all $9,855,582 spent by the committee

was for independent expenditures benefiting one candidate, State Treasurer Phil Angelides. Mr.

Tsakopoulos’ contributions to this independent expenditure committee amounted to more than

274 times what he could, and did, contribute to Mr. Angelides directly. (Johnson Decl. ¶ 7, FEC

Exh. 2; FPPC, Independent Expenditures: The Giant Gorilla in Campaign Finance, June 2008,

at 11-14; FEC Exh. 47.)

       176.    Similarly, Reed Hastings, CEO of Netflix, contributed $1 million to an entity for

independent expenditures in support of Jack O’Connell should he decide to run for governor.

(Johnson Decl. ¶ 9, FEC Exh. 10; Wilcox Rept. at 12, FEC Exh. 1.)

       177.    The “explosive growth” in contributions to California entities making

independent expenditures shows that such groups became “conduits for large donor contributions

designed to create gratitude from candidates, once direct contributions [we]re banned.” (Wilcox

Rept. at 12, FEC Exh. 1.)

       178.    As Chairman Ross Johnson of the FPPC explains, “faced with [the new]

contribution limits, so-called independent expenditures have provided sophisticated, wealthy

individuals . . . the means to circumvent these limits and create the appearance of, or gain undue

influence on, candidates and officeholders. A handful of very powerful special interests are

putting their money into independent expenditures because they can no longer make unlimited

direct contributions. This is simply thwarting the will of the people. The people have voted




                                                51
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 57 of 142



repeatedly to limit contributions and therefore limit the appearance of corruption or undue

influence over state elected officials. But, because of the dramatic rise in independent

expenditures, this has not occurred.” (Johnson Decl. ¶ 6, FEC Exh. 2). Simply put, “large

independent expenditures by very powerful special interest contributors, who prior to the passage

of [the new law] would have been contributing directly to candidates[,] have used the device of

independent expenditures to avoid those limits on what they could give directly to candidates.”

(Johnson Dep. at 45:19-25, FEC Exh. 10)

       179.    Jon Coupal, SpeechNow Vice President, Secretary and organizer, has himself

contended that a form of quid pro quo corruption has occurred as a result of individuals being

able to circumvent contribution limits via independent expenditures in California. He alleged

that there was a corrupt relationship between Los Angeles city officeholders and municipal

employee unions, writing:

         Local politicians and the public sector have formed an alliance that benefits both.
         The city is such an excellent provider that it is regarded as “the land of milk and
         honey” to those seeking public employment. In turn, public employee unions and
         city workers provide millions of dollars worth of campaign support to their
         favored candidates in each election cycle — often through independent
         expenditures to get around the city’s campaign contribution limits.

(SpeechNow Response to FEC Request for Admission 9, FEC Exh.106 at 13; Jon Coupal, Los

Angeles the Trendsetter, Howard Jarvis Taxpayer Ass’n Cal. Commentary, Vol. I, Issue 14, at

1-2 (May 5, 2003), available at http://hjta.webcommanders.com/HJTACommentary014.pdf,

FEC Exh. 119).


       180.    In other writings, Coupal further elaborated on independent expenditures as a path

for circumvention of contribution limits and how this can lead to undue influence:


       Since the [Los Angeles] has imposed strict contribution limits on direct campaign
       contributions to candidates, the power and influence of those who can afford to


                                                52
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 58 of 142



       run independent expenditure campaigns is compounded. For public employee
       unions, like the United Firefighters of Los Angeles, this is a great opportunity to
       elect their supporters to positions of power. A relatively small investment of a
       few hundred thousand dollars can return million in raises when union
       representatives are seated on both sides of the bargaining table.

(Jon Coupal, Burning Through Taxpayer Dollars, Howard Jarvis Taxpayers Association:

California Commentary, Vol. 2 Iss. XIII, March 29, 2004, FEC Exh. 118). Coupal has also

recognized that independent expenditures would allow individuals to circumvent other campaign

finance regulations, publicly financed campaigns for example, stating that “it will just drive the

money elsewhere, like independent expenditures.” (Lisa Vorderbrueggen, Run a ‘clean’

campaign, get public funds, The Contra Cost Times, January 6, 2006 at F4, FEC Exh. 117).


           7.          People Have Established Independent Groups Devoted to Electing or
                       Defeating a Single Candidate.

       181.     Increasing the likelihood that they can be used to circumvent direct contribution

limits, lead to undue influence and access, and create the appearance of corruption, “[s]ome

‘groups’ have formed for specific races, usually designed to hide the identity of the individuals

spending the money.” (Wilcox Rept. at 29 n.12, FEC Exh. 1.)

       182.     In California, for example, there are more and more candidate-specific

independent groups being set up, such as “California Citizens for John Doe.” They are also

being created earlier and earlier. According to FPPC Chairman Ross Johnson, “[t]hey may

spend more than the candidates themselves, and they send a very clear and early signal to the

candidates who will be benefiting. That message could make the candidate more inclined to

support the people behind the independent expenditure committee. Candidates are grateful for

independent expenditures.” (Johnson Decl. ¶ 11, FEC Exh. 2; FPPC, Independent Expenditures:

The Giant Gorilla in Campaign Finance, June 2008, FEC Exh. 47).




                                                53
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 59 of 142



       183.      As another state example, in 2004, an organization called “And for the Sake of the

Kids” was established solely to defeat West Virginia Supreme Court Justice Warren McGraw.

The CEO of a coal company which had on appeal to the court a $50 million verdict against it

provided almost 70% of the $3.6 million raised by the group in its independent efforts to defeat

Justice McGraw. (See infra Section I(1).)

       184.      On the federal level, a number of the 527s that were active in 2004 essentially

existed solely to advocate for the election or defeat of either George Bush or John Kerry. (See,

e.g., FEC Conciliation Agreements with Swift Boat Veterans and POWs for Truth (MURs 5511,

5525) (Dec. 2006); Progress for America Voter Fund (MUR 5487 (Feb. 2007), available at

http://eqs.nictusa.com/eqs/searcheqs; see also, e.g., S. Simpson Decl., Exhs. 4-9)

       C.        Candidates Are Usually Aware of the Identity of Individuals Making Large
                 Contributions to Fund Independent Expenditures

       185.      According to Professor Wilcox, who has spent more than two decades speaking

regularly with candidates, campaign managers and consultants, candidates care a great deal about

who is spending money for or against them. “I never heard anyone, a pollster, a campaign

manager, campaign consultant or candidate ever say, ‘You know what? There was a big

independent expenditure in my district and we don’t know who it was and we don’t care.’”

(Wilcox Dep. at 118-19, FEC Exh. 18.)

       186.      “Candidates usually know, or are able to discover who is funding independent

spending campaigns.” (Wilcox Rept. at 18, FEC Exh. 1.). See also SpeechNow.org Response to

FEC Request for Admission 4, FEC Exh. 24 at 10-11 (Candidates are able to learn the identities

of publicly disclosed individuals who made contributions to entities that make independent

expenditures.)




                                                 54
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 60 of 142



       187.    As explained by veteran lobbyist Robert Rozen, Members and candidates would

not only find independent spending financed with unlimited contributions useful to their

campaigns, but they “would be very aware of who the large contributors to independent

candidate groups are, regardless of whether the spending was coordinated within the legal

definition of that term.” (Rozen Decl. ¶ 16, FEC Exh. 3.)

       188.    According to Ross Johnson, Chairman of the California Fair Political Practices

Commission and longtime California legislator, “[t]o presume that the only way to unduly

influence a candidate is to actually hand him or her a check is absurd. Candidates are not

oblivious. They know who got them elected. Candidates are well aware of independent

expenditures on their behalf, and everyone else on the inside of the political process is aware of

it, too. There are frequently conversations among political insiders about who is contributing,

who is making independent expenditures – that a particular association will be making an

independent expenditure for a particular candidate, for example.” (Johnson Decl. ¶ 11, FEC

Exh. 2.). “Candidates don’t live in caves.” (Johnson Dep. at 46:9-10, FEC Exh.10.).

       189.    SpeechNow’s by-laws do not prohibit SpeechNow’s members and donors from

making candidates and officeholders aware of independent expenditures SpeechNow has run.

(SpeechNow Response to FEC Req. for Admission 5, FEC Exh. 24 at 11-12.)

       190.    Candidates and party activists have for a long time carefully learned who gives to

their campaigns and those of their opponents. They have gotten more organized over time, even

tracking who solicited contributions so that they could be properly credited. (Wilcox Rept. at 18,

FEC Exh. 1.)

       191.    Both parties have also tracked the records of political contributions of lobbyists.

“The Republican K Street Project involved in part collecting records of the contributions of




                                                55
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 61 of 142



lobbyists and sharing them with the chairs of congressional committees where that lobbyist

might have business.” (Wilcox Rept. at 18, FEC Exh. 1 (citation omitted).) Congressman

Thomas Davis, then-chair of the National Republican Congressional Committee, “predicted that

committee chairs would be anxious to examine a copy, noting that contributions to the wrong

party can ‘buy you enemies.’” (Wilcox Rept. at 18, FEC Exh. 1 (citation omitted).) Democrats

“are similarly keeping track of contributions of lobbyists now that they have regained majority

control.” (Wilcox Rept. at 18, FEC Exh. 1 (citation omitted).)

       192.    “In the tightly networked political environment of Washington, the identity of

those who contribute to independent expenditures and issue advocacy is broadly known. The

people who solicit large contributions for these efforts are former or current party officials,

former officeholders, and others who can easily keep score.” (Wilcox Rept. at 18, FEC Exh. 1.)

As noted below, (see Fact 260), “Ellen Malcolm and Harold Ickes reassured donors that ‘they

know and appreciate us and contributions are part of the public record and they are aware.’”

(Wilcox Rept. at 18, FEC Exh. 1.)

       193.    “Donors have the capacity to signal to candidates and party leaders that they have

given to independent campaigns – they do not want this to be a secret. Individual donors who

hope that their contribution will increase their influence on the policy process will gladly tell

candidates and party leaders of their contributions to groups that have helped the candidate, or of

their role in establishing these groups. Thus donors who wish to contribute to create influence

will be anxious to claim credit, and members will be grateful for the help.” (Wilcox Rept. at 19,

FEC Exh. 1.)

       194.    For example, two individuals provided more than 80% of the nearly $10,000,000

spent by Californians for Better Government on behalf of California State Treasurer Phil




                                                 56
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 62 of 142



Angelides. In some cases these expenditures are officially made by candidate-specific

independent expenditure committees. Candidates are aware of, and grateful, these large indirect

contributions to aid their campaigns. (Wilcox Rept. at 12, FEC Exh. 1.)

       195.    Before BCRA, donors were specifically asked to contribute to independent groups

by federal candidates and their campaigns. As Robert W. Hickmott, senior vice president at a

lobbying firm and former employee of the DNC and DSCC, explained at the time, “Once you

have helped a federal candidate by contributing hard money … you are sometimes asked to do

more for the candidate…[by giving to] an outside group planning on doing independent

expenditure or issue advertisements to help the candidate’s campaign.” (Wilcox Rept. at 13,

FEC Exh. 1 (citing Robert W. Hickmott, Large Contributions Given to Influence Legislation, in

Inside the Campaign Finance Battle (2003)) (Mr. Hickmott’s declaration from McConnell is

attached as FEC Exh. .). Although candidates themselves are no longer permitted to solicit

donations of unlimited amounts for candidate-focused issue advocacy campaigns, “access-

seeking donors” have continued to be solicited “by a network of partisan activists, consultants,

and lobbyists” who have “directed them to the most effective committees.” (Wilcox Rept. at 13,

FEC Exh. 1.)

       196.    “It is certain that if large contributions are allowed to fund groups whose principal

purpose is independent expenditures, access-seeking donors will be directed to make large

contributions to the most effective of these committees.” (Wilcox Rept. at 13, FEC Exh. 1.)

       197.    The typically dense web of relations between independent expenditure groups and

candidates and parties ensures that the candidate knows of the help provided by the groups and

that their efforts are helpful. Although in many cases their activities do not meet the standard for

“coordination” under the law, groups that make independent expenditures are often financed,




                                                57
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 63 of 142



organized, and operated by individuals with strong connections to candidate campaigns and

political parties. (See supra Section A(3)-(4), infra Facts 198-203.)

        198.   As one example, the Swift Boat Vets received the bulk of its initial financing

from two men with close ties to President George W. Bush and his family: one, Bob J. Perry,

was a longtime political associate of Karl Rove, Bush’s chief political aide; the other, Harlan

Crow, was a trustee of the foundation for Mr. Bush’s father’s presidential library. Mr. Rove

made a statement that he and Mr. Perry were longtime friends but had not spoken for a year

before the 2004 election. Mr. Perry contributed $200,000 in initial funding to the Swift Boat

Veterans for Truth and ultimately gave $4,350,000 to the group. Mr. Crow was one of the

largest donors to Republicans in Texas and had given money to President Bush and his father

throughout their careers. Mr. Crow was also law partners with Margaret Wilson, who became

Bush’s general counsel when he was governor and then served as deputy counsel for the

Department of Commerce when George W. Bush became president. (Kate Zernike and Jim

Rutenberg, Friendly Fire: the Birth of an Attack on Kerry, N.Y. Times, Aug. 20, 2004, FEC Exh.

60.).

        199.   As the Swift Boat Vets grew, many other longtime supporters and contributors to

President George W. Bush came together to fund the group. As summarized in press reports:

“The largest contributor was T. Boone Pickens, a famous Texas oilman and longtime Republican

supporter who was a major political backer of Mr. Bush’s father, who gave $500,000 to the Swift

boat group. Audrey McClendon, chief executive of Chesapeake Energy in Oklahoma, gave

$250,000; … and Albert Huddleston, a Texas energy executive who raised money for Mr. Bush,

gave $100,000, records show. Sam Wyly, the wealthy Texas entrepreneur who financed

commercials attacking Senator John McCain in the 2000 Republican primary against Mr. Bush,




                                                58
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 64 of 142



also made the list at $10,000, as did his brother Charles, records show. At least two Swift boat

donors are also listed as Bush Pioneers, meaning they raised at least $100,000 for Bush.” (Glen

Justice and Eric Lichtblau, Bush Backers Donate Heavily to Veteran Ads, N.Y. Times, Sept. 11,

2004, FEC Exh. 61 ).

       200.    In addition to the aid it received from its contributors, Swift Boat Vets was helped

in its operations by individuals with connections to President Bush. For example, Merrie Spaeth,

a public relations executive, helped coordinate the efforts of the group. Previously, Ms. Spaeth

was spokeswoman for Republicans for Clean Air, the group that ran negative ads against Senator

John McCain when he challenged President Bush in the 2000 Republican primary. (Kate

Zernike and Jim Rutenberg, Friendly Fire: the Birth of an Attack on Kerry, N.Y. Times, Aug.

20, 2004, FEC Exh. 60.). Additionally, President Bush’s “top outside lawyer” during the 2004

election had to resign after acknowledging that he had been working with the Swift Boat Vets.

(Glen Justice and Jim Rutenberg, Advocacy Groups and Campaigns: An Uneasy Shuttle, N.Y.

Times, Sept. 8, 2004, FEC Exh. 62). Republican Representative Christopher Shays described the

overlap of people working for campaigns and groups that make independent expenditures as

follows: “This smells – it smells real bad. It shouldn’t be happening. There shouldn’t be all this

back-and-forth going on. It smacks of coordination and there’s no good reason for it.” (Id.)

       201.    Three of the groups found to have violated FECA during the 2004 election cycle

— The Media Fund, America Coming Together, and the Progress for America Voter Fund —

were known for their close ties to either the Democratic or Republican Party and spent

approximately $166 million, which was more than 40% of all 527 expenditures that year.

(Weissman & Hassan at 104-05, FEC Exh. 55.)




                                                59
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 65 of 142



       202.    Another example of the revolving door of individuals working directly for

candidates’ campaigns and groups that make independent expenditures is for former White

House Chief of Staff, Karl Rove. As reported in the National Journal, Rove advises Freedom

Watch, an independent conservative group set up to counter MoveOn.org, as well as other

groups and major Republican donor Sheldon Adelson: “No longer constrained by his role as

President Bush’s top political adviser, Rove has been talking to Republican donors, including

Adelson, and strategists about options for setting up independent groups this election cycle that

could spend millions of dollars on issue ads in the presidential contest and congressional races.

[One] GOP consultant adds that Rove is now involved ‘up to his eyeballs’ in discussions about

‘who is going to do the presidential, who is going to do the Senate, and who is going to do the

House.’” (Peter H. Stone, Betting Man, Nat’l J., May 10, 2008, FEC Exh. 63.).

       D.      Candidates Feel Indebted, Grateful, or Are Inappropriately Disposed to
               Favor Individuals Who Paid for Such Ads or Independent Expenditures.

       203.    “Because independent expenditures help candidates win elections, it stands to

reason that candidates are grateful for the help.” (Wilcox Rept. at 18, FEC Exh. 1.)

       204.    Giving to independent groups is similar to giving to political party committees

during the soft money era, with similar detrimental effect. (Rozen Decl. ¶ 15, FEC Exh. 3.)

       205.    Robert Rozen, long-time Washington lobbyist and former staffer to Senators

Wendell Ford and George Mitchell, witnessed first-hand the noxious effects of the soft money

system on the legislative process. “The soft money system allowed big money from private

interests to get into the federal election system. The system worked in a very pernicious way that

undermined public trust. The general public did not even begin to understand the degree to

which moneyed private interests were able to influence public policy through their campaign




                                                60
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 66 of 142



contributions. The sense of obligation created by large contributions naturally led legislators to

be more responsive to those donors.” (Rozen Decl. ¶ 14, FEC Exh. 3.)

        206.   Permitting unlimited contributions to non-party independent groups would have a

similar effect. “While some contributors give for ideological reasons, other contributors to

independent groups give for economic reasons. Giving to groups that help get candidates elected

puts the contributor in a position to exert influence because of the sense of obligation that a

candidate naturally feels to their political benefactor.” (Rozen Decl. ¶ 14, FEC Exh. 3.)

       207.    “Loosening the federal campaign finance rules so that groups devoted to

independent candidate advocacy could raise money in unlimited amounts would foster most of

the pernicious effects of the soft money system. There are a lot of ways to get things done when

business and politics mix. Giving to such groups would become just another way for some

individuals to further their economic interests and permit them to influence public policy. As

with soft money to political parties, you would likely see some economic interests giving both to

groups supporting Democratic Party candidates and to groups supporting Republican Party

candidates. . . . There would be a difference in that the contributor would be one step removed in

the sense that Members would not be raising the money themselves. It would be naïve, however,

to think that allowing such contributions would not undermine public trust and allow moneyed

private interests to shape public policy.” (Rozen Decl. ¶ 16, FEC Exh. 3.)

       208.    “‘[C]andidates know who gives to independent expenditure groups, and those

who benefit from those expenditures are grateful. In the current ‘team sport’ approach to

campaigns, there is an implicit division of labor so that independent groups can do the most

hard-hitting, negative attacks, allowing the candidate to stand apart, and above them. This only




                                                 61
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 67 of 142



furthers the candidate’s appreciation for the independent expenditures.’” (Wilcox Rept. at 18,

FEC Exh. 1 (quoting political science professor David Magleby).)

       209.    As Democratic consultant Terry Beckett explains, “[o]f course candidates often

appreciate the help that these interest groups can provide, such as running attack ads for which

the candidate has no responsibility.” (Beckett Decl., McConnell, ¶ 16, FEC Exh. 35; see also

Wilcox Rept. at 19, FEC Exh. 1.)

       210.    According to Democratic consultant Joe Lamson, “if you are in a close race and

there are interest groups out there helping you with things like broadcast ‘issue ads,’ you usually

appreciate the support.” (Lamson Decl., McConnell, ¶ 19, FEC Exh. 34; see also Wilcox Rept.

at 19, FEC Exh. 1.)

       211.    As former Senator Dale Bumpers put it, “[c]andidates whose campaigns benefit

from these ads greatly appreciate the help of these groups. In fact, Members will also be more

favorably disposed to those who finance these groups when they later seek access to discuss

pending legislation.” (Bumpers Decl., McConnell, ¶ 27, FEC Exh. 64; see also Wilcox Rept. at

19, FEC Exh. 1.)

       212.    As explained by former Senator Alan Simpson, “[t]hese ads are very effective in

influencing the outcome of elections, and the people who admit to running these ads will later

remind Members of how the ads helped get them elected. Members realize how effective these

ads are, and they may well express their gratitude to the individuals and groups who run them.”

(A. Simpson Decl. ¶ 13, McConnell, FEC Exh. 65; see also Wilcox Rept. at 19, FEC Exh. 1.)

        213.   Republican consultant Rocky Pennington testified, “[U]sually the ads are helpful

and candidates appreciate them.” (Pennington Decl. ¶ 11, McConnell, FEC Exh. 33; see also

Wilcox Rept. at 19, FEC Exh. 1.)




                                                62
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 68 of 142



       214.    Elaine Bloom, a congressional candidate in 2000, “appreciated” the ads that were

run by interest groups in her race. (Bloom Decl. ¶17, McConnell, FEC Exh. 36; see also Wilcox

Rept. at 19, FEC Exh. 1.)

       215.    “Candidates see these independent ads as equivalent of contributions – very large

contributions.” (Wilcox Rept. at 20, FEC Exh. 1.) As former Montana Representative Pat

Williams explains, party and outside interest advertisements “can be the functional equivalent of

a campaign contribution.” (Williams Decl. ¶ 8, McConnell, FEC Exh. 67; see also Wilcox Rept.

at 20, FEC Exh. 1.)

       216.    “Candidates are grateful for independent expenditures. The notion that campaign

funds must be given directly to candidates before they feel obligated to a major financial backer

is, simply, not true. … It would be unreasonable to conclude that direct contributions are the only

way to gain influence or that only direct contributions pose a danger of corruption.” (Johnson

Decl. ¶ 11, FEC Exh. 2.).

       217.    “Federal candidates appreciate interest group electioneering ads like those

described above that benefit their campaigns, just as they appreciate large donations that help

their campaigns.” (Chapin Decl. ¶ 16, McConnell, FEC Exh. 68; see also Wilcox Rept. at 20,

FEC Exh. 1). Former Congressional candidate Linda Chapin testified that she “appreciated the

ads run by EMILY’s List on my behalf. In general, candidates in the midst of a hard-fought

election like mine appreciate any help that comes their way.” (Chapin Decl. ¶ 16 , McConnell,

FEC Exh. 68; see also Wilcox Rept. at 20, FEC Exh. 1). EMILY’s List had run ads for her

based on gun safety issues, which was not an issue of concern to the organization, in order to

help her campaign. (Chapin Decl. ¶ 13, McConnell, FEC Exh. ); see also Wilcox Rept. at 20,

FEC Exh. 1).




                                                63
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 69 of 142



       218.    The National Federation of Independent Business spent $100,000 to help

Congressman Randy Forbes win a special election for Congress in Virginia in 2001, primarily

through radio ads. Forbes called NFIB President Jack Farris “to thank him, saying ‘If it hadn’t

been for your people, I wouldn’t have won.’” (Wilcox Rept. at 19, FEC Exh. 1 (citation

omitted).)

       219.    “Of course, a few scattered independent expenditure campaigns may be less

helpful, but donors seeking access and influence can easily find advice on where to invest their

money. This is why the networks of party activists were important to the 527 efforts in 2004,

why Bill Clinton helped reassure donors that their money would go to good effect. More

recently, Democratic activists have formed the Democracy Alliance to screen and certify groups

that are engaged in official or unofficial electioneering, thereby vetting these groups for donors.”

(Wilcox Rept. at 18, FEC Exh. 1 (citing David B. Magleby and Kelly D. Patterson, War Games:

Issues and Resources in the Battle for Control of Congress, in Center for the Study of Elections

and Democracy Report (2007)).)

       220.    “Donors seeking to maximize the gratitude or obligation of an incumbent can

easily find activists in the web of consultants and party activists to help direct their contributions

to the types of independent spending most likely to be effective. Thus a careful donor could

make their contributions almost always valuable to the candidate.” (Wilcox Rept. at 20, FEC

Exh. 1.)

               1.      Unlimited Contributions to Independent Expenditure Groups Are
                       More Likely to Lead to Corruption than Direct Candidate
                       Contributions Under the Legal Limits.

       221.    The potential for contributions to groups that make independent expenditures to

lead to undue influence over elected officials, quid pro quo arrangements, corruption, and the




                                                  64
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 70 of 142



appearance thereof, is often greater than with direct contributions because of the extreme size of

the potential contributions. (See infra (the next few facts).)

       222.    “A large contribution to an independent-expenditure campaign is always worth

more to the candidate than a smaller, regulated contribution to the candidate.” (Wilcox Rept. at

14, FEC Exh. 1.) As political scientist Michael Bailey explains, “[i]ndependent expenditures

almost always benefit a candidate. They are used to mobilize voters or to poison opinion against

an opponent. While a candidate would typically prefer to have direct control [of campaign

spending], he would almost always prefer [a] $100,000 independent expenditure over a direct

contribution of $5,000.” (Id.).

       223.    “With no limits on contributions to . . . groups [making independent

expenditures], individuals could give them far more than $100,000, allowing groups to spend

very large sums.” (Wilcox Rept. at 14-15, FEC Exh. 1.)

        224.   As Chairman Johnson of the FPPC explained with regard to independent

expenditures in California, “[t]he law in California presumes that a contribution directly to a

candidate for governor in the 2010 election, it would probably be in the neighborhood of

$26,0000, something on that order. … The law presumes that that has the potential for undue

influence or corruption – the appearance of corruption over the candidate[.] [T]o say that you

can give, you know, 30 or 40 times that amount and it doesn’t because you don’t write the check

directly to him, you do it independently is, I think an absurd notion.” (Johnson Dep. at 29:23 –

20:6, FEC Exh. 10.)

       225.    A good example is the contribution of Reed Hastings, founder of Netflix, in

support of State Superintendent of Public Instruction, Jack O’Connell’s potential gubernatorial

race in 2010 (see supra Fact 115). Mr. Hastings contributed a million dollars to an independent




                                                 65
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 71 of 142



expenditure group created exclusively to support Mr. O’Connell. As explained by Chairman

Johnson of the FPPC, “[i]t should be obvious that a huge contribution like this has a much

greater likelihood of creating the appearance of corruption or gaining undue influence over a

candidate than a direct contribution made within the statutory limits.” (Johnson Decl. ¶ 9, FEC

Exh. 2.). Chairman Johnson elaborated as follows: “I would think any reasonable person looking

at this would say, you know, the potential for undue influence over Mr. O’Connell is obvious.

He doesn’t live in a cave. He reads the same newspapers I do. He knows about this. And the

notion that the only way you can exercise undue influence over a candidate or officeholder is by

handing them a check directly, I think, is absurd on its face. Now, let me ask you, do you think

that if Reed Hastings calls Jack O’Connell this afternoon that Jack will take his call.” (Johnson

Dep. at 28:20 – 29:8, FEC Exh. 10.).

               2.      Ad Campaigns Run By Interest Groups Allow Candidates to
                       Conserve Resources and Keep Their Hands Clean.

        226.   Ads run by interest groups can be more valuable than a direct contribution to the

candidate’s campaign because “independent groups can make attacks on opposing candidates

that would backfire if directly associated with the candidate.” (Wilcox Rept. at 15, FEC Exh. 1.)

       227.    “Terry Dolan, director of the National Conservative Political Action committee

(NCPAC) – the first PAC to make substantial independent expenditures in the 1980 Senate

campaigns, summed up this advantage succinctly when he said that ‘A group like ours could lie

through its teeth, and the candidate it helps stays clean.’” (Wilcox Rept. at 15, FEC Exh. 1.)

       228.    “‘Because ads from the party and interest groups are not controlled by the

candidate, there is a certain amount of plausible deniability – if the ad backfires the candidate

can disavow the content and deny responsibility.’” (Wilcox Rept. at 15, FEC Exh. 1 (quoting

David B. Magleby and J. Quin Monson, The Consequences of Noncandidate Spending, and a



                                                 66
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 72 of 142



Look to the Future in The Last Hurrah? Soft Money and Issue Advocacy in the 2002

Congressional Elections (David B. Magleby et al. eds., 2004)).)

       229.    Although candidates often disavow independent expenditures publicly, party

insiders or individuals associated with a campaign will just as often call for support from

independent groups, or otherwise give their “blessing” to independent expenditure campaigns.

(See infra (the next few facts).)

       230.    As explained by Republican consultant Rocky Pennington, independent ads

“allow the candidate to conserve his limited resources and focus them on getting out a positive

message about himself. At the same time, the candidate can disavow the negative ads, saying –

with a wink – I didn’t know anything about it and I condemn these things. I think this now

happens in virtually every campaign.” (Pennington Decl. ¶ 11, McConnell, FEC Exh. 33; see

also Wilcox Rept. at 15, FEC Exh. 1.)

       231.    As Stephen Moore, then-President of Club for Growth, observed, candidates

tacitly approve negative ads while publicly condemning them. “527s by law, as I think everyone

in this room knows, have to be totally independent. There can be no quote unquote coordination

with the campaign. We’ve been involved in campaigns where the campaigns said, ‘we really

protest that ad that the Club for Growth is running.’ The truth is we think it’s sort of a wink and a

nod.” (Annenberg Public Policy Center, Electing the President, 2004: The Insiders’ View,

(Kathleen Hall Jamieson ed., 2005), at 207, FEC Exh. 50.).

       232.    The Swift Boat Veterans campaign, for example, was “masterful” because the

group “delivered a message that the Bush campaign and the RNC could not, and Bush got the

best of both worlds because he could decry 527s and benefit from their activities at the same

time.” Center for the Study of Elections and Democracy, 527s Had a Substantial Impact on the




                                                 67
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 73 of 142



Ground and Air Wars in 2004, Will Return /Swift Boat Veterans 527 Played Historic Role (Dec.

16, 2004), FEC Exh. 51 (quoting Professor David Magleby).)

       233.     In this year’s presidential campaign, for example, both candidates at the outset

publicly discouraged outside groups from running ads financed through unlimited contributions

but it has been reported that they eventually sent more discreet signals to encourage the activity.

(See infra the next few facts.)

       234.     It has been widely reported that Senator John McCain eventually stopped

discouraging outside 527s from forming and running ads. (See, e.g., Hillary Chabot, ‘I Can’t Be

a Referee’: Drops 2004 crusade against ‘527’ attack ads, Boston Herald, June 12, 2008, at 5,

FEC Exh. 69; Jim Rutenberg and Michael Luo, Interest Groups Step Up Efforts in a Tight Race,

N.Y. Times, Sept. 16, 2008, FEC Exh. 70.)

       235.     It has also been reported that, after an upturn in 527 organization activity on

behalf of Senator McCain and as the election race tightened, the Obama campaign stopped

discouraging independent 527s. Responding to what they believed to be encouraging signals

from the Obama campaign, Democratic-leaning independent groups, flush with new donations,

unrolled advertising plans to counter the pro-McCain activity. Aides to both candidates accused

the other campaign of illegally coordinating with the independent groups. (Jim Rutenberg and

Michael Luo, Interest Groups Step Up Efforts in a Tight Race, N.Y. Times, Sept. 16, 2008, FEC

Exh. 70; Marc Ambinder, Quietly, Obama Campaign Calls in the Cavalry, Sept. 8, 2008,

http://marcambinder.theatlantic.com/archives/2008/09/quietly obama campaign flashes.php,

FEC Exh. 71.)

       236.     After a year of publicly discouraging groups from making independent

expenditures, it was reported that “Obama’s strategists have changed their approach. An Obama




                                                 68
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 74 of 142



adviser privy to the campaign’s internal thinking on the matter says that, with less than two

months before the election and with the realization that Republicans have achieved financial

parity with Democrats, they hope that Democratic allies –what another campaign aide termed

‘the cavalry’ – will come to Obama’s aid. The Obama campaign can’t ask donors to form

outside groups; it can only communicate, through the public and the media, with body language,

tells and hints.” (Marc Ambinder, Quietly Obama Campaign Calls in the Calvary, Marc

Ambinder: The Atlantic Monthly, Sept. 9, 2008, available at

http://marcambinder.theatlantic.com/archives/2008/09/quietly obama campaign flashes.php,

FEC Exh. 71.) Similarly, several sources reported that “top Democratic Party operatives are

privately urging the party’s major donors to get serious about putting big money into outside

groups looking to attack John McCain in key battleground states. . . . The call is just yet another

sign that donors and outside operatives – who had earlier gotten that message from Obama the he

doesn’t want such activity – now recognize that Team Obama is privately hoping such efforts

gear up in earnest.” Greg Sargent, Top Democrats Privately Urging Major Donors to Fund

Outside Groups to Attack McCain, Talking Points Memo, available at

http://tpmelectioncentral.talkingpointsmemo.com/2008/09/top_democrats_privately_urging.php,

Sept. 15, 2008, FEC Exh. 73.). For example, a “source close to [the Obama] campaign” told a

Democratic-leaning blog that “Senator Barack Obama will start looking the other way when it

comes to the role 527s and other independent groups play in the election.” Sam Stein, Source:

Obama to Start Looking the Other Way on 527s, Huffington Post, Aug. 11, 2008, available at

http://www.huffingtonpost.com/2008/08/11/source-obama-to-start-loo_n_118240.html, FEC

Exh. 72.)

       237.    After an independent group aired the “Willie Horton” ad during the 1988 election,




                                                69
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 75 of 142



(see supra Fact 97), the Bush-Quayle campaign began to air an ad the day after the “Horton” ad

went off the air. “The harsh language and imagery of this independent advertisement allowed

the subsequent Bush-Quayle campaign ad . . . to both remind voters of the strong imagery of the

independent advertisement while appearing to be far more restrained.” (Wilcox Rept. at 15, FEC

Exh. 1.)

       238.    “The Swift Boat ads were more effective than a similarly-sized gift to the Bush-

Cheney campaign, because they would have invoked more suspicion if they were paid for by the

campaign.” (Wilcox Rept. at 15, FEC Exh. 1.)

       239.    Stephen Moore, Club for Growth’s former president, explained the phenomenon.

When asked if “independent groups have freedom to say things . . . that the candidate themselves

cannot say about their opponent,” Mr. Moore responded: “Is that a trick question? No that’s an

obvious yes. . . . First of all the answer to your question is clearly yes. It’s much better to allow

the candidates themselves to do positive ads about themselves and an outside group to do a

negative ad. The rule of thumb is if you’re a candidate and if it’s an effective negative ad, you’ll

drive your opponent’s numbers down, but you’ll also drive your own numbers down, too. That’s

just the way politics work. Negative ads can be risky. So one of the virtues of third party groups

is they can take the collateral hit. It can be Swift Boat Veterans or Club for Growth that takes

the negative [hit] from running the negative ad, even though it does significant damage to the

candidate.” (Annenberg Public Policy Center, Electing the President, 2004: The Insiders’ View,

(Kathleen Hall Jamieson ed., 2005), at 203-4, FEC Exh. 50.)

       240.    “Thus an indirect contribution to an independent expenditure committee or to an

organization that does candidate-focused issue advocacy can in some cases help a candidate even

more than a direct contribution to the candidate. In some cases the value may be slightly less




                                                 70
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 76 of 142



than that of a direct contribution [of an equivalent amount], but far more than the maximum legal

contribution[, a considerably smaller amount]. A careful donor will be able to direct his or her

money to groups that maximally help the candidate.” (Wilcox Rept. at 15-16, FEC Exh. 1.)

               3.      The Likelihood of Candidate Indebtedness Increases When the
                       Amounts of Independent Expenditures Are High Relative to
                       Candidate Spending.

       241.    The potential for contributions to groups that make independent expenditures to

lead to undue influence over elected officials is also greater than with direct contributions

because the amounts of independent spending have become so large relative to spending by the

candidates themselves. (See infra Facts 242-247).

       242.    The higher the amount spent by a group on a candidate’s behalf relative to the

amount spent by the candidate, the more likely it is the candidate would feel grateful to the

group. (Wilcox Dep. at 294, FEC Exh. 18.)

       243.    Several races in California provide striking examples of this reality. (Johnson

Decl. ¶ 8, FEC Exh. 2; FPPC, Independent Expenditures: The Giant Gorilla in Campaign

Finance, June 2008, at 23-36; FEC Exh. 47.)

       244.    For the first time in California history, seven candidates benefited from

independent expenditures exceeding $1,000,000 in the 2006 elections. (FPPC, Independent

Expenditures: The Giant Gorilla in Campaign Finance, June 2008, at 49-52, FEC Exh. 47.)

        245.   “In many California state legislative elections since the law was changed,

independent expenditures by groups exceed spending by candidates.” (Wilcox Rept. at 12, FEC

Exh. 1; see also Wilcox Dep. at 246-47, FEC Exh. 18.)

       246.    Independent expenditures have constituted more than 50% of the total amount of

money spent in a number of Californian legislative and state-wide election contents. The 2006




                                                 71
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 77 of 142



statewide race for Controller is one example. The total amount of spending in the race was

nearly $9 million. However, the two candidates only spent $3,176,811 combined. Independent

expenditures amounted to 64% of the total spending in the race. There have been at least 14

other California races since 2002 where independent expenditures have similarly dwarfed

regulated spending. (Johnson Decl. ¶ 8, FEC Exh.2; FPPC, Independent Expenditures: The

Giant Gorilla in Campaign Finance, June 2008, at 23-36, FEC Exh. 47.)

       247.    The $142 million given to 527s in 2004 by the top 24 individual donors ‘is

roughly equal to the aggregate of $149.2 million in public funds provided to the two presidential

nominees for the general election campaign.’” (Press Release, FEC, 2004 Presidential Campaign

Financial Activity Summary, Feb. 3, 2005, available at

http://www.fec.gov/press/press2005/20050203pressum/20050203pressum.html.)

       E.      Large Donations Are a Tool Used By Donors Seeking Access and Influence
               Over Candidates.

       248.    As with party soft money contributions, contributions to 527s was “solicited by

partisan activists who reassured donors that their contributions would be appreciated by party

officials and policymakers.” This was achieved through “a network of partisan activists and

consultants” who “created a significant number of 527 organizations in the 2000s.” (Wilcox

Rept. at 9, FEC Exh. 1; see infra Facts 249 - 266.)

       249.    “Although technically many of these groups claimed not to have sought to elect or

defeat particular candidates, this is a polite fiction. During a press event at the Center for the

Study of Elections and Democracy at Brigham Young University, Harold Ickes noted that ‘I

wasn’t in this to either elect or defeat anybody. I want to make that very clear – for those of you

out there with subpoenas.’ The transcript then notes that this claim was greeted with laughter.”

(Wilcox Rept. at 11, FEC Exh. 1 (citation omitted).) The Commission ultimately concluded that



                                                  72
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 78 of 142



the predominant 527s in 2004 had the major purpose of electing federal candidates. (S. Simpson

Decl. (Doc. 2-9 & 2-10), Simpson Exhs. 4-9).

       250.      “[B]oth before and after November 6, 2002, the parties, the Bush campaign, and

their close associates were at times complicit in, and actively facilitated, the rise of 527s. They

acted through:

       •   Permissiveness toward the activism of paid consultants with high standing and
           identification in both parties
       •   The fundraising clout of a former president (Bill Clinton) who was closely linked
           with his party’s national committee and presidential candidate, and
       •   Various official winks and nods.”

(Wilcox Rept. at 9, FEC Exh. 1 (quoting Weissman & Hassan, at 84-85, FEC Exh. 55).)

       251.      “Democratic activists [had] worried that the ban on soft money would prevent

them from harnessing large contributions and therefore make it harder for John Kerry to win the

White House. Democratic Party chairman Terry McAuliffe gathered a group of DNC leaders to

seek a way to continue to deploy large contributions after the BCRA soft money ban went into

effect.” (Wilcox Rept. at 9, FEC Exh. 1 (citation omitted).)

       252.      “These party activists later met with leaders of Democratic-leaning interest groups

including the AFL-CIO, SEIU, EMILY’s List, and the Sierra Club to plan the creation of a series

of 527 organizations that would solicit large contributions to fund broadcast advertising, voter

registration and mobilization, and a variety of other efforts. Out of these discussions came a

variety of new organizations, including Partnership for America’s Families, America Votes,

Americans Coming Together (ACT), and the Media Fund.” (Wilcox Rept. at 9, FEC Exh. 1.)

       253.      “The goal of these organizations was undeniably to help elect a Democratic

presidential candidate in 2004. … These efforts included Harold Ickes, former Clinton [Deputy]

Chief of Staff, and then paid consultant to the DNC. Ickes later ran the Media Fund, and helped



                                                 73
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 79 of 142



to coordinate fundraising for the large Democratic 527s through the Joint Victory Campaign.”

(Wilcox Rept. at 9, FEC Exh. 1 (citation omitted); (S. Simpson Decl. (Doc. 2-9), Simpson Exh.

5, at 69-84.)

       254.     Republican-leaning organizations such as Swift Boat Veterans and Progress for

America (PFA) were similarly formed and facilitated by party activists and consultants with ties

to campaigns and the party. (Wilcox Rept. at 10, FEC Exh. 1; S. Simpson Decl. Exhs. 4 (Doc. 2-

9) & 6 (Doc. 2-10); see infra Facts 198-200.)

       255.     “PFA was founded by Tony Feather, Political Director of the Bush-Cheney

campaign, who then worked as a consultant in a firm that worked for the RNC. To avoid the

appearance of coordination, Feather resigned as head of the organization and chose Chris

LaCivita as the new head. LaCivita was former Political Director of the National Republican

Senatorial Committee. LaCivita later left PFA and consulted on two GOP Senate campaigns,

and eventually became senior strategist[] for Swift Boat Veterans. . . .” (Wilcox Rept. at 10,

FEC Exh. 1 (citation omitted).)

       256.     The network of party activists and consultants who orchestrated the formation,

fundraising, and activities of 527s and other groups that spend to help candidates was so dense

that it led journalists and some scholars to refer to the 527s as “shadow parties” and other

scholars to refer to them as “party allies.” “These activists cycle through jobs in the party, in

campaigns, in interest groups, and as consultants, sometimes holding more than one

simultaneously. They are therefore ideally situated to direct individuals who are willing to make

large donations to an organization that is likely to spend their money effectively.” (Wilcox Rept.

at 10, FEC Exh. 1 (citations omitted).)

       257.     “Party officials clearly sent signals to donors which groups were officially




                                                 74
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 80 of 142



sanctioned, and that contributions to these organizations were encouraged and would be

appreciated. Large donors who sought to win favor with policymakers in either political party

did not have to work hard to find 527 organizations willing to take their money and which were

in some way part of this loose party network.” (Wilcox Rept. at 10, FEC Exh. 1.)

       258.    “[L]eaders of Democratic-leaning 527 organizations needed to persuade both

ideological and access donors that these efforts were serious and recognized by the party.”

(Wilcox Rept. at 10, FEC Exh. 1.)

       259.    “‘To engage potential donors, (Ellen) Malcolm and Ickes explained their well

thought out campaign plans and their long-term goal of investing not just in an election but also

in building a campaign infrastructure for the party. . . They also assured many donors of their

relationship to the party and the campaigns. Their message was ‘We don’t talk to the campaigns,

are not connected to them, but they know and appreciate us and contributions are part of the

public record and they are aware.’’” (Wilcox Rept. at 10, FEC Exh. 1 (quoting Weissman &

Hassan at 86, FEC Exh. 55).)

       260.    “To further signal donors of the close connection between the party and these

groups, they recruited former President Bill Clinton, whose close ties to DNC chair Terry

McAuliffe were well known. He reassured donors – one 527 leader said that ‘He koshered us. He

gave the donors confidence, both ideological ones and access ones.’” (Wilcox Rept. at 10, FEC

Exh. 1 (citation omitted).)

       261.    “Clinton solicited contributions during the campaign for the DNC, for John

Kerry’s campaign, and for the Media Fund. The leaders of these 527s were visible at the

Democratic National Convention, with an office down the hall from the DNC Finance division.”

(Wilcox Rept. at 10, FEC Exh. 1.)




                                                75
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 81 of 142



        262.   George Soros’s contributions to 527 groups in 2004, for example, were

admittedly intended to provide access and influence over Senator Kerry. In a 2004 interview,

Soros explained that he had sought to influence American policy since the late 80’s. “On my

own, I was trying to do things, but if I could influence American policy I could be much more

effective.” “I would be very happy,” he continued, “to advise Kerry, if he’s willing to listen to

me, and to criticize him if he isn’t. I’ve been trying to exert some influence over our policies,

and I hope I’ll get a better hearing under Kerry.” (Jane Mayer, The Money Man: Can George

Soros’s Millions Insure the Defeat of President Bush, New Yorker, Oct. 18, 2004, FEC Exh.

107.)

        263.   “On the Republican side, groups benefitted from visible signals from party

leaders.” (Wilcox Rept. at 10, FEC Exh. 1.) The speakers at PFA’s October 2003 conference

included RNC Chairman Ed Gillespie, Bush-Cheney 2004 Director Ken Mehlman, and

Benjamin Ginsberg, counsel to both PFA and the Bush campaign. (Weissman & Hassan at 88,

FEC Exh. 55..) “RNC Chair Ed Gillespie and Bush-Cheney Campaign chair Marc Racicot listed

Progress for America as a group that could legally engage Democratic groups. Progress for

America Leaders believed that this signal from party leaders helped them raise money.” (Wilcox

Rept. at 10-11, FEC Exh. 1 (citation omitted).) One of Progress for America’s leading

fundraisers was Tom Synhorst, a partner in a campaign consulting firm that was paid over $19

million from the Bush-Cheney campaign and the Republican National Committee in 2004.

(Weissman & Hassan at 88, FEC Exh. 55.)

        264.   The efforts of party activists, consultants, the parties, and the presidential

campaigns to facilitate the rise of particular 527s “enabled donors who sought to influence

elections to determine where they could most reliably invest their money.” (Wilcox Rept. at 11,




                                                 76
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 82 of 142



FEC Exh. 1.)

        265.   “If the ban on large individual contributions to express advocacy political

committees were lifted, a similar network would stand ready to help donors spend money in

express advocacy” and ensure that their contributions would used effectively and appreciated by

officeholders. (Wilcox Rept. at 11, FEC Exh. 1.)

       266.    One way that donors have heightened the influence of their donation is to

personally hand large contribution checks to officeholders or party insiders. (See FEC Exh. 110 ,

P 0005, P 0002-4.) For example, records maintained by donor Bob Perry indicate that a

$1,000,000 dollar check for the Republican Governors Association was “[g]iven to Governor

Mitt Romney in Houston at the Four Seasons Hotel” on October 3, 2006. (FEC Exh. 110,

P 0005). Although he wasn’t technically a federal “candidate” at that time for purposes of

federal campaign law, Governor Romney’s presidential campaign was well under way at that

time. (See, e.g., Scott Helman, Romney Seeks to be Alternative to McCain, Boston Globe,

September 23, 2006, at A1, FEC Exh. 74.). Earlier $100,000 checks had been “[g]iven direct to

Gov. Matt Blunt + Gov. Mitt Romney.” (See FEC Exh. 110, P 0002-4.)

       F.      If Contributions to Groups Making Independent Expenditures Were No
               Longer Limited, Influence-Seeking Donors Would Quickly Give Massive
               Amounts.

       267.    Influence-seeking donors would rapidly take advantage if contribution limits were

lifted for entities making independent expenditures. See infra Facts 268-275.

       268.    As experienced lobbyist and former Senate staffer Robert Rozen explains, “if the

court rules that the law permits independent groups funded solely by individuals to advocate for

the election of federal candidates, this will eventually [be] used by those whose primary motive

is to exert influence over elected officials.” (Rozen Decl. ¶ 17, FEC Exh. 3.)




                                                77
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 83 of 142



       269.    “The number of Political Action Committees and the amount that they gave to

candidates increased dramatically for several election cycles after the passage of FECA. . . .”

(Wilcox Rept. at 11, FEC Exh. 1).

       270.    “At the national level, direct large contributions to candidates have been banned

since 1974, and investors then gave large sums directly to party soft money accounts.” (Wilcox

Rept. at 12, FEC Exh. 1.) “[T]he number of soft money donors and the total amount they gave

grew gradually for a time and then explosively afterward.” (Wilcox Rept. at 11.)

       271.    “After BCRA banned soft money, party activists created 527 organizations to

receive large contributions from donors, assuring them that these contributions would be

recognized and that candidates would be grateful.” (Wilcox Rept. at 12, FEC Exh. 1.)

Enormous sums were then given for candidate-focused issue advocacy, see supra Section B(4)-

(5), even though such giving “is in its early days of development” and has been “hampered by

legal uncertainty.” (Wilcox Rept. at 11, FEC Exh. 1.)

       272.    Interest groups frequently now consist of several entities that make up “a

commonly managed organization network.” (Steve Weissman and Margaret Sammon, Fast Start

for Soft Money Groups in 2008 Election[:] 527s Adapt to New Rules, 501(c)(4)s on the Upswing,

(Report from the Campaign Finance Institute, Apr. 3, 2008,

http://www.cfinst.org/pr/prRelease.aspx?ReleaseID=188, FEC Exh. 75.) David. Keating, for

example, now puts on various hats and assists with the operation of Club for Growth’s 501(c)(4),

527, PAC, and unincorporated association. (Keating Dep. at 8-81, FEC Exh. 11.) So although

one entity in a group of affiliated organizations may be devoted solely to making independent

expenditures, a PAC that is another part of the group may at the same time be making

contributions and doing direct fundraising for candidates. Indeed, “the bulk of 527s are part of a




                                                78
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 84 of 142



commonly managed organization network.” (Steve Weissman and Margaret Sammon, Fast Start

for Soft Money Groups in 2008 Election[:] 527s Adapt to New Rules, 501(c)(4)s on the Upswing,

(Report from the Campaign Finance Institute, Apr. 3, 2008,

http://www.cfinst.org/pr/prRelease.aspx?ReleaseID=188, FEC Exh. 75.) “Whatever perspective

one takes on the rise of soft money groups in national election, one thing is clear: it cannot help

one’s understanding to look at each soft money group and its donors in isolation from others and

from ‘hard money’ groups and donors. They are, for better or worse, all part of a single

campaign finance system.” Id.

       273.    The Club for Growth provides another example of interest groups adapting to

changes in the regulatory environment. Following the passage of BCRA, which required

corporations to fund certain pre-election broadcast communications (termed “electioneering

communications”) through money raised by their separate segregated funds in limited amounts,

Club for Growth personnel formed a connected entity — Club for Growth.net — that was

unincorporated in order to continue to fund electioneering communications with unlimited

contributions. (Keating Dep. at 33-34, FEC Exh. 11.) Similarly, following the Commission’s

determination that many 527s, including Club for Growth, were entities that should have

registered as political committees and abided by contribution limits, Club for Growth formed a

501(c)(4) entity that became the principal entity through which Club for Growth activities were

run. As Mr. Keating explained, the “most important reason” for the creation of the new entity

was the Club’s perception that “Section 527 status is very restrictive in the types of activities an

organization can do.” (Keating Dep. at 23-24, FEC Exh. 11.)

       274.    “Should the ban on large contributions to independent expenditure political

committees be lifted, many donors would prefer to give to groups that expressly advocate the




                                                 79
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 85 of 142



election of candidates, and it is likely that this avenue of large giving would grow, and once the

system is institutionalized the amount of money contributed to these committees would grow

rapidly.” (Wilcox Rept. at 11, FEC Exh. 1.) The “explosion in large contributions by donors

seeking access and influence” would “certainly” be similar to the astronomic increases in

unlimited contributions to 527 organizations that occurred following BCRA. (Id. at 12).

       G.      Financers of Independent Expenditures Are Given Preferential Access to,
               and Have Undue Influence Over, Officeholders.

       275.    As former Senator Dale Bumpers put it, “[M]embers will . . . be more favorably

disposed to those who finance the[] groups [running independent ads] when they later seek

access to discuss pending legislation.” (Bumpers Decl. ¶ 27, McConnell, FEC Exh.64;Wilcox

Rept. at 19, FEC Exh. 1.)

       276.    Similarly, a Republican consultant Rocky Pennington explains, “[i]n addition to

trying to elect candidates, these groups are often trying to create appreciation or even obligation

on the part of successful candidates. And candidates usually do appreciate this kind of help, even

when they deny it publicly, which they usually do.” (Pennington Decl. ¶ 8, McConnell, FEC

Exh. 33; see also Wilcox Rept. at 19.)

       277.    The treatment of contributors to the Swift Boat Vets provides a recent, prominent

example, even though the Swift Boat Vets claimed at the time to be running “issue advocacy”

rather than candidate advocacy. As discussed above, the ads created by the Swift Boat Vets were

very effective in their attack against Senator Kerry; many believe that these ads had a significant

impact on the 2004 presidential election. See supra Facts 98-106. Several of the people who

had a large role in funding these ads, as discussed in the following paragraphs, later apparently

received favors from or access to the President.




                                                   80
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 86 of 142



       278.    T. Boone Pickens, for example, had already given maximum contributions

directly to the Bush campaign, the Republican National Committee, and the National Republican

Congressional Committee in 2003, and then gave one million dollars to the Swift Boat Vets in

2004. (Federal Election Commission disclosure reports of Bush-Cheney, ’04, Republican

National Committee, National Republican Congressional Committee, and the Swift Boat Vets

and POWs for Truth, FEC Exh. 76). Pickens, “the oilman from Oklahoma,” believes in “energy

independence” and “more drilling onshore or offshore in the U.S.” and he stated that “he has

‘had some influence’ on President Bush’s position” on those issues. (John Fund, Energy

Independent: Maverick Oilman Boone Pickens Talks About Fuel Prices And His Love For

Philanthropy, Wall Street J., June 2, 2007, at 2, FEC Exh. 78). During his second term,

President Bush invited Pickens to an exclusive state dinner at the White House with Queen

Elizabeth II, signed a resolution into law re-naming the post office in Pickens’ home town after

him, and delivered the commencement address at Boone Pickens Stadium at Oklahoma State

University with Boone in attendance. (White House News Release, Guest List for the State

Dinner in Honor of Her Majesty Queen Elizabeth II and His Royal Highness the Prince Philip,

Duke of Edinburgh, May 7, 2007, FEC Exh. 77; White House News Release, Statement on

House and Senate Resolutions, Aug. 2, 2005, FEC Exh. 77; White House News Release,

President Bush Delivers Commencement Address at Oklahoma State University, May 6, 2006,

FEC Exh. 77; John Fund, Energy Independent: Maverick Oilman Boone Pickens Talks About

Fuel Prices and His Love For Philanthropy, Wall Street J., June 2, 2007, at 2, FEC Exh. 78).

The connections between Pickens’ support of the Swift Boat Vets and favors from Republicans

was frequently noted. For example, a Washington Post article entitled Swift Rewards for

Pickens, pointed out: “T. Boone Pickens, the oilman who gave $1 million to Swift Boat Veterans




                                               81
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 87 of 142



for Truth’s assault on the presidential campaign of Sen. John F. Kerry (D-Mass), is feeling the

Republican love. Sen. James M. Inhofe (R-Okla.) has introduced a bill to name the post office in

Holdenville, Oka. – birthplace of the longtime Bush-family backer – the ‘Boone Pickens Post

Office.’ Inhofe said in a statement that Pickens ‘emulates the Oklahoma spirit of hard work,

entrepreneurship and,’ ahem, ‘philanthropy.’” (Mike Allen, Swift Rewards for Pickens, Wash.

Post, June 27, 2005, at A04, FEC Exh. 79).

       279.    Another contributor to the Swift Boat Vets who has gotten attention from the

Bush White House is Sam Fox. Mr. Fox, who had already given $2,000 directly to the Bush

campaign, $25,000 to the Republican National Committee both in 2003 and 2004, and raised at

least $200,000 as one of the Bush campaign’s “Rangers,” then contributed $50,000 to the Swift

Boat Vets in 2004. (Federal Election Commission disclosure reports, FEC Exh. 80; AP, Bush

Withdraws “Swift Boat” Nominee, CBS News, March 28, 2007, FEC Exh. 81). In 2006,

President Bush nominated him to be Ambassador of the United States to Belgium despite a lack

of foreign policy experience. (White House Press Release, Personnel Announcement, December

4, 2006, FEC Exh. 82). Bush withdrew the nomination, believing that it would have been voted

down by the Senate Foreign Relations Committee, after the Committee pointedly asked Mr. Fox

about his connection to the Swift Boat Vets. As noted by press reports referring to Mr. Fox as

the “‘Swift Boat’ Nominee,” “[b]ig-money contributors are often rewarded with ambassador

posts.” (AP, Bush Withdraws “Swift Boat” Nominee, CBS News, March 28, 2007, FEC Exh.

81).

       280.    Despite the opposition, when the Senate left on its spring break a week later,

President Bush immediately used his recess appointment power to install Mr. Fox as the

Ambassador. (AP, Bush Uses Recess Appointment Power to Install GOP Fundraiser Sam Fox




                                                82
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 88 of 142



as Ambassador, Fox News, Apr. 4, 2007, FEC Exh. 84). News publications pointed out the

connection between recess appointment and Mr. Fox’s contribution to the Swift Boat Vets for

the public. (Al Kamen, Recess Appointments Granted to ‘Swift Boat’ Donor, 2 Other Nominees,

Wash. Post, Apr. 5, 2007, at A06, FEC Exh. 84; Susan Page and David Jackson, Bush Bypasses

Senate to Appoint ‘Swift Boat’ Donor, USA Today, Apr. 5, 2007, FEC Exh. 84). Senator Kerry,

a member of the Senate Foreign Relations Committee, decried the apparent connection between

an ambassadorship and the contributions: “It’s sad but not surprising that this White House

would abuse the power of the presidency to reward a donor over the objections of the Senate. …

Unfortunately, when this White House can’t win the game, they just change the rules, and

America loses. Our country would be stronger if this Administration spent more time getting

body armor for our soldiers in Iraq than it did helping their powerful friends.” (AP, Bush Uses

Recess Appointment Power to Install GOP Fundraiser Sam Fox as Ambassador, Fox News, Apr.

4, 2007, FEC Exh. 84) (emphasis added). John Edwards similarly criticized President Bush

stating, “It was appalling when President Bush attempted to repay the financial patron of the

‘Swift Boat veterans’ with a diplomatic assignment.” (Mary Ann Akers, Biden Slams Sam Fox

Recess Appointment, The Washington Post, April 5, 2007, FEC Exh. 84).

       281.    Fox was not the only funder of independent expenditures that President Bush

rewarded with an appointment to an ambassadorship. Roland Arnall and his wife Dawn

contributed more than $5 million dollars to political organizations that backed President Bush in

his reelection campaign. One of these groups was Progress for America Voter Fund, which

made numerous independent expenditures. (Glenn R. Simpson, Lender Lobbying Blitz Abetted

Mortgage Mess, Wall Street J., Dec. 31, 2007, FEC Exh. 85). President Bush then nominated

Mr. Arnall to be the Ambassador to the Netherlands on July 28, 2005. (White House Press




                                               83
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 89 of 142



Release, Personnel Announcement, July 28, 2005, FEC Exh. 86). In reference to Arnall’s

contributions and the ambassador nomination, the Los Angeles Times quoted one observer as

saying that “[t]his isn’t campaign money – it’s government access money, and that’s what we

should call it.” (E. Scott Reckard, Ambassador Nominee’s Company is Scrutinized, L.A. Times,

Aug. 7, 2005, at A-1, FEC Exh. 87).

       282.    Regarding access to elected officials gained through independent expenditures,

some groups that run their own ads, offer forums for their contributors to meet the candidates

they support. For example, Citizens Club for Growth and Club for Growth have sponsored

conferences attended by both CFG’s members and Members of Congress. Club for Growth

members have an opportunity, if they wish, to speak with Members of Congress. (Keating

Dep. at 102-103, 110-112, FEC Exh. 11). CFG members paid an admission fee of $1,000 to

$2,000 to attend the conference, and some sat at tables with Members of Congress. Id. Sponsors

of the conference paid more and received better tables. (Keating Dep. at 103-105, FEC Exh. 11).

       283.    There was at least one forum where CFG members interviewed candidates; others

were held by telephone conference call. (Keating Dep. at 70, 105-106, FEC Exh. 11; Young

Dep. at 70, FEC Exh. 19). Federal candidates, including Katherine Harris and John Sununu,

addressed the audience, and appealed for support then answered questions from the audience.

(Young Dep. at 30-32, FEC Exh. 19). Fred Young attended one forum where approximately

three dozen people attended to interview candidates for federal office . (Young Dep. at 30, FEC

Exh. 19).

       284.    Club for Growth also sponsored at least one luncheon in Washington, D.C., where

members could meet federal candidates and officeholders. (Young Dep. at 77-79, FEC Exh. 19).




                                               84
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 90 of 142



Mr. Young sat at a table with the Congressman from his home district. (Young Dep. at 79, FEC

Exh. 19).

       285.    Club for Growth also sponsored conference call where contributors could

question federal candidates. Between 50 and 150 people participated in the telephone conference

calls. (Keating Dep. at 107, FEC Exh. 11). During the forums, candidates would be introduced

by Club for Growth’s president, and given an opportunity to state his or her position on issues.

(Young Dep. at 71-72, FEC Exh. 19). CFG members could ask the candidates questions.

(Keating Dep. at 107-109, FEC Exh. 11; Young Dep. 71-72, FEC Exh. 19). Fred Young

participated in approximately six telephone conference calls during which he interviewed federal

candidates. (Young Dep. at 71, FEC Exh. 19). Fred Young also posed questions to the

candidates at the forum he attended in person. (Young Dep. at 73-74, FEC Exh. 19).

       286.    The candidate fora were not available to the entire Club for Growth membership.

Members were invited based upon their past history of donating to Club for Growth. (Keating

Dep. at 105-106, FEC Exh. 11). The contribution threshold varied depending upon how

expensive the conference call was expected to cost. Id. David Keating believed that the persons

who donated the most to Club for Growth received an invitation. (Keating Dep. at 106-107, FEC

Exh. 11). Fred Young’s understanding was that he was invited to participate in the candidate

forums because “I was a potential donor.” (Young Dep. at 73, FEC Exh. 19).

       H.      Large Contributions for Independent Expenditures Can Influence
               Legislative Votes or Other Official Action, and Thereby Pose a Danger of
               Actual Quid Pro Quo Arrangements.

       287.    If contributions were not limited for groups devoted to federal independent

expenditures, large donors would have the ability to unduly influence officeholders, and their

contributions would pose a clear danger of actual quid pro quo arrangements. Currently,




                                                85
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 91 of 142



contributions to such groups are limited under federal law, but several past examples, involving

state elections and federal candidate-focused issue advocacy, discussed below, demonstrate the

danger of corruption. (See infra Section H(1)-(3).)

               1.     A Group with an Interest in Gaming Issues Attempted to Bribe
                      Former Congressman Snowbarger by Signaling That They Would
                      Conduct an Independent Spending Campaign on His Behalf.

       288.    One example of independent expenditures providing a vehicle for groups to try to

make quid pro quo arrangements with elected officials is the Wyandotte Tribe of Oklahoma’s

attempt to get Congressman Vincent Snowbarger from Kansas’s Third District to change his

position on certain legislation in exchange for the group making a substantial independent

expenditure in support of his re-election campaign. (Yowell Decl., FEC Exh. 4; Jack Cashill,

Moore of the Same Old Stuff, Ingrams Magazine, November 1999 at 19-20, FEC Exh. 112).

       289.    In the summer and fall of 1998, Congressman Snowbarger was running for re-

election to the House of Representatives against the Democratic challenger, Dennis Moore. The

race was one of the closest contests in the country. One of the issues in the campaign, and of

importance to Congressman Snowbarger’s home district, was whether or not the Wyandotte

Tribe of Oklahoma would be allowed to build and operate a casino on a piece of land next to the

Woodlands Racetrack in Kansas City. (Yowell Decl. ¶ 3, FEC Exh. 4; Jack Cashill, Moore of

the Same Old Stuff, Ingrams Magazine, November 1999 at 19-20, FEC Exh. 112)

       290.    Although the Wyandotte Tribe of Oklahoma wanted to build a casino next to the

struggling Woodlands Racetrack, they had no sovereign claim to any land in that area. Their

only colorable claim to any land in Kansas was to a portion of the Huron Indian Cemetery in

downtown Kansas City. Even as to this parcel, the Wyandotte Nation of Kansas and several

other tribes contested the Oklahoma Wyandottes’ claim and opposed the construction of any




                                               86
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 92 of 142



casino. The dispute over the rights to the cemetery land involved federal legislation and legal

battles in its own right, but the Oklahoma Wyandottes raised the possibility of building a casino

next to or over the burial grounds and then negotiated for the rights to build elsewhere, such as

next to the Woodlands Racetrack. (Yowell Decl. ¶ 4, FEC Exh. 4; Steven Nicely, Tribe Again

Pushes for KCK Bingo Hall, Kansas City Star, Oct. 3, 1998, FEC Exh. 88.)

       291.    Gambling in Kansas was illegal at the time, although some tribes were in the

process of seeking approval for gaming. Casinos run by tribes were required by law to get

approval from the Kansas governor. Congressman Don Young, Republican Representative from

Alaska, nevertheless introduced a bill in Congress that would have allowed the Oklahoma

Wyandottes to build their casino at the Woodlands Racetrack. (H.R. 3797, 105th Congress, 2d

Sess., 1998). Because that measure would have circumvented the governor’s right to approve

acquisitions of land for gambling purposes, Governor Bill Graves, also a Republican, opposed

the legislation and requested that Congressman Snowbarger oppose the bill. Congressman

Snowbarger agreed to oppose it both because he generally opposed gambling and because

Governor Graves had asked him to in order to protect the Governor’s prerogative under the law.

(Yowell Decl. ¶ 5, FEC Exh. 4; Jack Cashill, Moore of the Same Old Stuff, Ingrams Magazine,

November 1999 at 19-20, FEC Exh. 112)

       292.    Despite Congressman Snowbarger’s known opposition to the bill, on September

10, 1998, Kevin Yowell, his campaign manager and spokesman, received a fax which expressly

linked available campaign assistance – in the form of substantial independent spending – to the

Congressman’s support for the Wyandotte bill. The fax included a letter from C.J. Zane to Rep.

Young regarding the Wyandotte Indian Tribe. (Yowell Decl. ¶ 6, FEC Exh. 4). Zane had

formerly served as Chief of Staff to Young, but at that point was working with the lobbying firm




                                                87
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 93 of 142



Baker, Zane, Edmonds & O’Malley L.L.C., which represented the Oklahoma Wyandottes.

Zane’s letter noted that they would have a “good shot of moving the Wyandotte bill, H.R. 3797”

if they were able to work with the Kansas congressional delegation. Zane then outlined a “win-

win” solution where, if Congressman Snowbarger backed their bill, the Wyandottes would pay

for an independent direct mail and phone campaign in the closing days of the election contest

praising the Congressman for his support; the tribe would get its casino, and Congressman

Snowbarger would win re-election. This proposal was supported by other materials in the fax: a

poll and a memo put together by a respected Republican pollster with strong Kansas ties who did

polling for the governor. Wyandotte County was a key county in the election contest and a

majority of the people there supported the casino. The poll and memo sent to Snowbarger

purported to show that he would win re-election if in fact the Wyandottes did independent

spending in that county. Zane’s letter concluded by stating that he would get the poll to

Congressman Snowbarger, and by asking Rep. Young’s help in getting the materials to the

Speaker of the House. The campaign ultimately received the fax from a staffer at the National

Republican Congressional Committee who was told to make sure it went to Snowbarger.

(Yowell Decl. ¶ 6, FEC Exh. 4; Rick Alm and Jim Sullinger, Congressman Calls Lobbyist’s

Tactics Illegal – Lobbyist Argued Monday Over Whether Papers Faxed to the Congressman’s

Office Last Month Were A Veiled Attempt to Buy His Vote, Kan. City Star, Oct. 6, 1998, FEC

Exh. 89; Tim Carpenter, Kansas Lawmaker Alleges Bribery Try on Gaming Issue, Journal-World

(Lawrence, Kan.), Oct. 8, 1998, FEC Exh. 89.)

       293.    Congressman Snowbarger and his campaign manager interpreted the offer by the

Wyandottes to independently spend substantial sums to support the campaign as an attempted

quid pro quo. The documents faxed to the campaign stated “Should the Congressman end up




                                                88
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 94 of 142



supporting this proposal, I would strongly recommend that we not advertise his support district-

wide, but rather limit our efforts to a very aggressive mail and phone campaign over the last five

or six days of this campaign targeted solely to Wyandotte County.” (Emphasis added).

According to Mr. Yowell, “[t]hese were people who knew what they were doing, knew that it

would take a huge effort and a huge amount of money to win in the last few days, and were

ready to do it.” (Yowell Decl. ¶ 7, FEC Exh. 4) The memo concluded as follows: “There is no

question that we can move some Wyandotte County voters toward Snowbarger if he gives this

issue his support.” (Emphasis added). Yowell believed that the offer “was an attempt to get

[Congressman Snowbarger] to change his position by offering to do independent spending that

would help him win re-election. In the highly competitive race that we were in, the extra

spending they proposed would have been very helpful.” Id.

       294.    Shortly after receiving the materials, Congressman Snowbarger held a press

conference to publicly discuss the Wyandottes’ offer. (Yowell Decl. ¶ 8, FEC Exh. 4; Jack

Cashill, Moore of the Same Old Stuff, Ingrams Magazine, November 1999 at 19-20, FEC Exh.

112). Congressman Snowbarger stated that “when I read the fax, I was both angry and offended;

angry that anyone would make such a brazenly illegal offer, and offended at the suggestion that

my vote on any issue would be for sale. Bribery is always a serious offense. But attempting to

bribe an elected official is doubly serious, since it undermines the trust that people should expect

to have in their elected leaders.” (Yowell Decl. ¶ 8, FEC Exh. 4; Rick Alm and Jim Sullinger,

Congressman Calls Lobbyist’s Tactics Illegal – Lobbyist Argued Monday Over Whether Papers

Faxed to the Congressman’s Office Last Month Were A Veiled Attempt to Buy His Vote, Kan.

City Star, Oct. 6, 1998, FEC Exh. 89; Tim Carpenter, Kansas Lawmaker Alleges Bribery Try on

Gaming Issue, Journal-World (Lawrence, Kan.), Oct. 8, 1998, FEC Exh. 89.)




                                                 89
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 95 of 142



       295.    Soon after receiving the Zane materials, Congressman Snowbarger and Mr.

Yowell turned them over to the Kansas Attorney General, the Federal Election Commission, and

the U.S. Attorney for Kansas. Snowbarger and Yowell were concerned that “gambling interests

and other groups might be improperly interfering in the electoral process.” (Yowell Decl. ¶ 8,

FEC Exh. 4; Jack Cashill, Moore of the Same Old Stuff, Ingrams Magazine, November 1999 at

19-20, FEC Exh. 112)

       296.    As Mr. Yowell explained, “the people behind th[e] effort offered to do an

independent expenditure rather than make contributions because contributions are limited. If

only a small number of people are involved, they are unable to promise to give that much. Even

a corrupt Congressman would not risk accepting a bribe of only $5,000.00 or $6,000.00.

Independent expenditures, on the other hand, can involve sums of money of an entirely different

magnitude.” (Yowell Decl. ¶ 9, FEC Exh. 4)

       297.    Congressman Snowbarger did not win re-election in 1998. According to Yowell,

the Congressman’s decision to go public with the Wyandottes’ independent spending offer

“reminded voters who disagreed with Congressman Snowbarger that he opposed the casino

legislation. The mail and phone campaign that was offered might have made the difference in

the race had it gone forward.” (Yowell Decl. ¶ 10, FEC Exh. 4.)

               2.      Former Wisconsin Senate Majority Leader Chvala Extorted Funds In
                       Return For Legislative Action, Including Funds For Purportedly
                       Independent Campaign Spending.

       298.    The actions of former Wisconsin State Senator Charles Chvala demonstrate that

large contributions to groups doing purportedly independent campaign work pose a danger of

quid pro quo arrangements for legislative actions. (See infra Facts 299-308.)




                                               90
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 96 of 142



       299.    Senator Chvala, a Democrat, was first elected to the Wisconsin State Senate in

1984. In 1995, Senator Chvala was elected as the Minority Leader, and in 1996, he became the

Majority Leader of the Wisconsin State Senate. (Wisconsin v. Chvala, Crim. Compl. at 5, ¶ 2,

FEC Exh. 90). Sen. Chvala served in this position until 2004 when he did not seek re-election

amidst corruption charges relating to political fundraising. (Steven Walters and Patrick Marley,

Chvala Reaches Plea Deal, Milwaukee J. Sentinel, Oct. 24, 2005 at 2, FEC Exh. 91).

       300.    In connection with the criminal investigation of his fundraising techniques,

numerous witnesses testified about Sen. Chvala’s practice of conducting “cattle calls” with

lobbyists. According to these witnesses, at these meetings Chvala would encourage entities to

contribute to groups that made independent expenditures after they had maxed out their giving to

other sources. (Wisconsin v. Chvala, Crim. Compl. at 7, ¶ 8, FEC Exh. 90; Bright Decl. ¶ 5, FEC

Exh. 6; Steven Walters and Patrick Marley, Chvala Reaches Plea Deal, Milwaukee J. Sentinel,

Oct. 24, 2005 at 2,, FEC Exh. 91; Steve Schultze and Richard P. Jones, Chvala Charged With

Extortion, Milwaukee J. Sentinel, Oct. 18, 2002, at 2, FEC Exh. 92). Michael Bright, one

lobbyist who met frequently with the Senator, stated that Chvala would conduct these “cattle

calls” with lobbyists at the beginning of each legislative session. In these quick meetings, often

lasting only 15 minutes, he would go through a list of each lobbyist’s clients, ask what their

legislative interests were, discuss what each of the lobbyist’s clients were willing to contribute to

support Democratic senatorial candidates, and sometimes suggest specific dollar amounts for

each client to give. As Bright describes, “[t]here was essentially a ‘menu’ of different ways that

clients could contribute: they could give directly to candidates in contested races, to the parties,

or to groups that made independent expenditures or independent candidate-focused ‘issue’ ads.

Some of these independent groups were registered state political action committees (PACs), but




                                                 91
        Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 97 of 142



because of contribution limits, some clients would reach their maximums or ‘PAC-out.’ After

‘PACing-out’ a client could give to independent ‘issue’ groups.” (Bright Decl. ¶ 5, FEC Exh. 6)

(emphasis added).

       301.    According to witnesses, it did not matter to Senator Chvala how interested parties

gave money; contributions to candidates, political parties, and groups that made independent

expenditures were all greeted with similar appreciation. As lobbyist Michael Bright describes,

“[t]hese were all acceptable ways to meet Chvala’s contribution expectations, to get ‘credit’ in

Chvala’s world. Chvala made implications that really weren’t ambiguous. He would use

phrases like ‘we can do this or that,’ ‘I’ll make sure the money comes back,’ ‘we’ll make sure it

gets to the right place,’ or the candidate ‘will know,’ to indicate that whichever bucket you put

the money into, it would be used effectively to support Democratic senate candidates and would

be appreciated by those candidates. What he was saying was partly implied, but there was not

any ambiguity about it: he was suggesting that the candidates benefited would properly credit the

client for the contributions no matter which entity they were made to, and the candidate would be

just as appreciative as if the money had all been given directly to the candidate’s campaign.”

(Bright Decl. ¶ 6, FEC Exh. 6) (emphasis added).

       302.    According to witnesses and the criminal complaint, during Senator Chvala’s time

as Majority Leader, he was able to demand that various types of contributions be made,

including contributions to groups that made purportedly independent expenditures, because of

his enormous power over the legislative process in Wisconsin. According to Michael Bright, a

lobbyist who met frequently with Chvala, “[a]ll of this corruption was possible because Senator

Chvala wielded an incredible amount of power over the Wisconsin State Legislature. In

actuality, his power in the Senate could not be overstated; it was complete. Without Chvala’s




                                                92
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 98 of 142



approval, nothing got passed, bills wouldn’t get a vote, amendments wouldn’t be added, and your

clients wouldn’t get meetings. Because of his de facto and de jure powers over committee

appointments and scheduling, as well as influence over other senators in the democratic majority,

he controlled what happened in the Senate. Chvala leveraged this power to create a money

machine for Democratic causes.” (Bright Decl. ¶ 4, FEC Exh. 6). Nothing moved through the

Senate without Chvala’s approval, and accordingly, he was able to tell interested parties that

there would not be votes on their bills if they didn’t contribute to Democratic candidates or to

independent groups that supported the candidates. (Steven Walters and Patrick Marley, Chvala

Reaches Plea Deal, Milwaukee J. Sentinel, Oct. 24, 2005 at 2, FEC Exh. 91; Wisconsin v.

Chvala, Crim. Compl. at 6, ¶¶ 4-6; 14, ¶ 33; 66, ¶ 257; FEC Exh. 90).

       303.    According to witnesses, one of the independent groups that Chvala directed

contributions to was Independent Citizens for Democracy (PAC) (“ICD-PAC”). When speaking

with lobbyist Michael Bright, Chvala identified ICD-PAC as one of the groups to which Mr.

Bright’s clients should contribute. ICD-PAC was registered with the State of Wisconsin

Elections Board and as part of the registration process, it filed an Oath for Committees and

Individuals Making Independent Disbursements on behalf of Independent Citizens for

Democracy (PAC). The form stated that ICD-PAC supported Wisconsin senate candidate Mark

Meyer, one of Chvala’s political allies. The form also contained a notarized oath by the group’s

treasurer that the group would not to act in concert, cooperation, or consultation with the

candidate or any agent or authorized committee of the candidate. ICD-PAC subsequently made

independent expenditures in support of Mark Meyer totaling more than $100,00. (Wisconsin v.

Chvala, Crim. Compl., at 45-46, ¶¶ 141-48; 49, ¶ 169, FEC Exh. 90).




                                                93
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 99 of 142



       304.    Another one of the lobbyists with whom Chvala discussed ICD-PAC was William

Broydrick, according to his testimony. Mr. Broydrick is a registered lobbyist in Wisconsin and

operates the largest lobbying firm in the state. Mr. Broydrick attended numerous political fund

raising meetings with Chvala at which Chvala asked for contributions to be made to specific

political committees, including ICD-PAC. Referring to ICD-PAC, Chvala told Broydrick that

“these people do good things.” In response, Mr. Broydrick had one of his clients, Plumber Local

75, give $5,000 to ICD-PAC. (Wisconsin v. Chvala, Crim. Compl., at 50, ¶¶ 170-176; FEC Exh.

90).

       305.    According to Mr. Broydrick, Sen. Chvala also encouraged him to get his clients to

give to Democratic Legislative Campaign Committee (“DLCC”), an entity which funneled

money back to ICD-PAC for independent expenditures in support of Chvala’s legislative allies.

Sen. Chvala told Mr. Broydrick that his clients could keep their political contributions “under the

radar” by directing monies “across the Potomac” to the DLCC. Accordingly, many of Mr.

Broydrick’s clients contributed to DLCC, sometimes by delivering checks made out to the

DLCC directly to Senator Chvala. As a matter of routine, Sen. Chvala wanted DLCC

contribution checks to be physically routed through him so that he would get credit for them.

The DLCC funneled $292,000 to ICD-PAC in 2000 alone. (Wisconsin v. Chvala, Crim. Compl.,

at 50, ¶¶ 170-172; FEC Exh. 90).

       306.    According to witnesses and the criminal complaint, Chvala used the money raised

from lobbyists for purportedly independent expenditures to enter into what appear to be quid pro

quo arrangements. One example is the case of Ameritech, one of Mr. Broydrick’s clients. A

provision in the Senate version of the Wisconsin State Budget for 2001 was highly unfavorable

to Ameritech. Accordingly, Mr. Broydrick discussed with Sen. Chvala Ameritech’s desire to




                                                94
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 100 of 142



have the provision removed. In consultation with Mr. Broydrick, Ameritech then made a

contribution of $40,000 to the DLCC. Mr. Broydrick believes that he gave Ameritech’s check to

the DLCC directly to Sen. Chvala. After this contribution was made, the unfavorable tax

provision was removed from the budget bill by the legislative conference committee. Ameritech

made another donation of $40,000 to the DLCC in early 2002. (Wisconsin v. Chvala, Crim.

Compl., at 50, ¶¶ 171-175; FEC Exh. 90; Steve Schultze and Richard P. Jones, Chvala Charged

With Extortion, Milwaukee J. Sentinel, Oct. 18, 2002, at 3-4, FEC Exh. 92).

       307.    According to witnesses and documentation discussed in the criminal complaint,

another one of the purportedly independent groups that Chvala directed contributions to was

Independent Citizens for Democracy-Issues, Inc. (“ICD-Issues”), a group that was not a

Wisconsin state PAC and thus did not have contribution limits. ICD-Issues ran purportedly

independent advertisements in support of Chvala’s allies in the Wisconsin State Senate. The

connection between Chvala’s meetings with lobbyists, contributions to ICD-Issues, and the

legislative issues being simultaneously considered by the Wisconsin Senate creates, at a

minimum, the appearance of corruption and quid pro quo arrangements. For example, Chvala

was scheduled to meet with Lee Fanshaw on June 8, 2001. Mr. Fanshaw was a registered

lobbyist for American Family Mutual Insurance Company. On June 18, 2001, American Family

Mutual Insurance Company made a $20,000 contribution to ICD-Issues. At the same time,

American Family Insurance had an interest in a budget amendment to build a bridge in Burke,

Wisconsin. Another example is the case of Tom Hanson and Dairyland Greyhound Park.

Chvala was scheduled to meet with Tom Hanson on May 30, 2001. Tom Hanson was a

registered lobbyist for Dairyland Greyhound Park, Inc. On June 12, 2001, Rime Management

Group, the owner of Dairyland Greyhound Park, contributed $10,000 to ICD-Issues. At the




                                               95
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 101 of 142



time, Dairyland Greyhound Park was to benefit from a budget amendment allowing dog track

owners to retain unclaimed winnings. As another example, Chvala was also scheduled to meet

with Robert Bartlett on June 28, 2001. Mr. Bartlett was a registered lobbyist and president of the

Petroleum Marketers Association of Wisconsin. On July 12, 2001, three members of the

Petroleum Marketers Association of Wisconsin each gave $5,000 to ICD-Issues. At the time, the

Petroleum Marketers Association of Wisconsin strongly opposed a budget amendment repealing

the gasoline minimum mark-up law. Finally, Chvala was scheduled to meet jointly with Joe

Strohl and John Matthews on May 16, 2001. Mr. Strohl and Mr. Matthews were registered

lobbyists for Dominion Assets Services LLC, the owner of a private prison in Stanley, WI. On

June 1, 2001, Dominion Asset Services contributed $50,000 to ICD-Issues. At the time,

Dominion Assets Services LLC sought a budget amendment funding the State of Wisconsin’s

purchase of the prison they owned. (Wisconsin v. Chvala, Crim. Compl., at 54, ¶¶ 130-195; FEC

Exh. 90).

       308.    A number of lobbyists whose clients made contributions to ICD-Issues offered

testimony illustrating the potential for quid pro quo arrangements via an independent expenditure

group. For example, Patrick Essie, a lobbyist for Distilled Spirits Council of the United States

(DISCUS) had a fundraising meeting with Sen. Chvala in the spring of 2001 at which Chvala

advised him that ICD-Issues could accept corporate monies from Mr. Essie’s clients. Mr. Essie

was then referred by Chvala’s chief of staff to ICD-Issues. DISCUS subsequently contributed a

total of $85,000 to ICD-Issues. Mr. Essie assumed that Sen. Chvala would be aware of these

contributions. (Wisconsin v. Chvala, Crim. Compl., at 55, ¶ 197, FEC Exh. 90.) Similarly,

Walter Kunicki, a lobbyist for Wisconsin Energy Corporation testified that he had a fundraising

meeting with Chvala in May of 2001 where Chvala told him that he wanted Wisconsin Energy




                                                96
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 102 of 142



Corporation to contribute $100,000 to ICD-Issues. Mr. Kunicki arranged for Wisconsin Energy

Corporation to give $50,000 that year and another $50,000 the following year. Afterwards, he

received a call from Chvala who wanted to reiterate that he expected Wisconsin Energy

Corporation to contribute $100,000 to ICD-Issues. While these contributions to the ICD-Issues

were being made, Mr. Kunicki stated that legislation known as “Power to the Future” was

pending in the Wisconsin legislature, and that this legislation was very important to Wisconsin

Energy Corporation. (Wisconsin v. Chvala, Crim. Compl., at 55-56, ¶¶ 198-202, FEC Exh. 90.)

               3.      Additional Incidents Further Illustrate the Danger of Large
                       Contributions for Independent Spending Influencing Official Action
                       or Leading to Quid Pro Quos.

       309.    In 1998, Republican Majority Leader Mitch McConnell promised Republican

Senators that the tobacco industry would mount a television campaign to support senators who

voted to kill comprehensive tobacco legislation. According to Senator McCain, the promise was

used to influence votes. (Wilcox Rept. at 21, FEC Exh. 1, (citing McCain, John. 2003.

“Congress is Mired in Corrupt Soft Money,” Inside the Campaign Finance Battle, ed. A.

Corrado, T. E. Mann and T. Potter. Washington, DC: Brookings).) “After assessing the role of

tobacco contributions on voting by Senators on past legislation, the Wall Street Journal reported

that ‘(t)he lesson for the tobacco industry might be that hard hitting ads are more effective than

campaign contributions.’” (Wilcox Rept. at 21, FEC Exh. 1.)

       310.    One interest group “offered to provide campaign support” to congressional

candidate Linda Chapin if she “would agree to vote a certain way on their issues.” (Chapin Decl.

¶ 6, McConnell, FEC Exh. 68.) “I let them know what my position was,” Ms. Chapin testified,

“but they wanted me to change it somewhat and I did not agree to that.” (Id.)




                                                 97
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 103 of 142



       311.    In addition to incident with the Wyandottes (see infra Section H(1)),

Congressman Snowbarger had in an earlier campaign become aware of possible independent

spending in his campaigns that was contingent upon a change in his policy position. In 1996,

Mr. Yowell, who was also Congressman Snowbarger’s campaign manager in that election, “had

the opportunity to get a group to make a significant independent expenditure in support of

Congressman Snowbarger, if he was willing to slightly change his position on congressional

term limits.” (Yowell Decl. ¶ 11, FEC Exh. 4) Even though it would have been “very helpful,”

Congressman Snowbarger did not go along with the idea, “he did not even consider it, because

he thought it would be wrong to accept this kind of help in exchange for changing his position.”

Id.

       312.    FPPC Chairman also Ross Johnson gave the following example of a California

state legislator who was apparently unduly influenced by a independent expenditure: “How about

Bonnie Garcia, who was the recipient in 2006 of a very substantial … independent expenditure

by the California Peace Officers Association, and then in the closing days of the legislative

session last year, tried to get a bill enacted that would have gone around the contracting process

because the labor contract for the correctional peace officers association had at that point been at

loggerheads for a year, and tried to supersede that negotiating process and get a bill through the

legislature the last night of session to give them the raise they sought.” (Johnson Dep. at 95:25 –

96:17, FEC Exh. 10).

       313.    “Because big money independent expenditures unduly influence election

outcomes, they also inevitably influence the legislative process because quid pro quo or not,

legislators can determine whose support they owe their election to. There is a big difference

between one person spending a million dollars to influence an election outcome, and one million




                                                 98
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 104 of 142



people each contributing one dollar to arrive at the same sum. The first is undue influence. The

latter gives people the voice that they are due.” (Testimony of Derek Cressman, Government

Watchdog Director of Common Cause, Hearing of the California Fair Political Practices

Commission, Feb. 14, 2008, at 2, FEC Exh. 93).

        314.    Large contributions pose the danger that “policymakers will seek to do favors for

donors, and that donors will be pressured to give increasing amounts in exchange for access to

the policymaking process,” and the favors will include not just roll call votes, but also

influencing action at other stages of the legislative process. “Rep. Snowbarger was offered an

explicit quid pro quo; . . . State Senator Chvala refused to move bills in the state Senate without

contributions to independent expenditure committees, and U.S. Senators in 1998 killed a bill that

would have allowed the regulation of tobacco.” (Wilcox Rept. at 21, FEC Exh. 1.) Thus, “there

is a clear link between independent expenditures and not just special access, but also policy

influence.” (Id.) Just as soft money donations in unlimited amounts to political party

committees influenced policymaking, large contributions to entities making independent

expenditures will have “the same impact.” (Wilcox Rept. at 21-22, FEC Exh. 1.)

        I.      Large Contributions for Independent Expenditures Create an Appearance of
                Corruption.

        315.    The importance of preventing the appearance of corruption is well established.

“If the public believes that politicians give favors to large donors, then trust in the political

system is undermined. The appearance of corruption has a corrosive effect on the public’s

ability to judge whether their trust in government is warranted.” (Wilcox Rept. at 22, FEC Exh.

1 (citing Mark E. Warren, Democracy and Deceit: Regulating Appearances of Corruption, 50

Am. J. Pol. Sci. 160-74 (2006), and Dennis F. Thompson, Ethics in Congress: From Individual

to Institutional Corruption (1995)).) Allowing unlimited contributions to entities making



                                                  99
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 105 of 142



independent expenditures to help candidates win election “will likely contribute to the perception

of corruption by the public.” (Wilcox Rept. at 23, FEC Exh. 1.)

       316.    FPPC Chairman Ross Johnson explained independent expenditures and the

appearance of corruption as follows: “Why do we have campaign finance requirements,

reporting requirements, contribution limits, all the rest of it, the requirement of forming a

committee and so on? It’s because you as a citizen have a right to expect that your elected

representatives are going to represent you, your community and in [my] case, the people of

California. And they have a right to not have to concern themselves or wonder. . .[:] is my

representative who’s elected to represent me really making his or her decisions on the basis of

who can throw the most money into a political campaign? And it doesn’t matter if that is in the

form of a direct contribution or an independent expenditure.” (Johnson Decl. at 49:9-25, FEC

Exh. 2.).

               1.      A Coal Company Executive’s Contributions for Independent
                       Expenditures In a 2004 West Virginia Supreme Court Race Illustrate
                       the Appearance of Corruption.

       317.    Independent expenditures in a 2004 judicial election in West Virginia created an

appearance of corruption. Independent expenditures, paid for largely through the contributions

of the chief executive of a coal company with a high-profile case pending before the West

Virginia Supreme Court, played a significant role in defeating one of the court’s incumbent

justices. (Starcher Decl., FEC Exh. 5.)

       318.    Massey Energy Co. is the fourth largest coal company in the United States.

Headquartered in Richmond, Virginia, Massey Energy controls approximately one-third of

Appalachia’s coal reserves. Massey’s CEO is Don Blankenship. (Starcher Decl. ¶ 4, FEC Exh.

5.)




                                                100
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 106 of 142



       319.    In August, 2002, a Boone County West Virginia jury found Massey liable in tort

in a case brought by a rival coal company, Harman Mining Corporation, and its president, Hugh

Caperton, alleging, inter alia, tortious interference with existing and prospective contractual

relations and fraudulent misrepresentation. The jury returned a verdict against Massey that

included more than $50,000,000 in damages. A few days later, Blankenship told his employees

that he intended to appeal. Almost two years later, in June 2004, the trial judge denied Massey’s

Motion to Set Aside the Verdict. (Starcher Decl. ¶ 5, FEC Exh. 5.)

       320.    In 2004, West Virginia Supreme Court Justice Warren McGraw was running for

reelection. Justice McGraw was seen as more likely to uphold the judgment against Massey than

his opponent. (Starcher Decl. ¶ 6, FEC Exh. 5.)

       321.    On August 20, 2004, less than two months after Massey’s Motion to Set Aside the

Verdict was denied, a section 527 organization called “And for the Sake of the Kids” registered

with the West Virginia Secretary of State. According to its website, “And for the Sake of the

Kids” was established solely to defeat Justice Warren McGraw. (Starcher Decl. ¶ 7, FEC Exh. 5;

Mot. Of Resp’t Corporations for Disqualification of Justice Benjamin, Oct. 19, 2005, FEC Exh.

104 at 8-9.)

       322.    On the same day it registered with the state, “And for the Sake of the Kids”

received its first two contributions, for $500 and $100,000, from Blankenship. During the rest of

2004, and leading up to the November election, Blankenship provided almost 70% of the funding

for “And for the Sake of the Kids,” contributing approximately $2.5 million of its $3.6 million

raised. Much of the remaining funds raised by “And for the Sake of the Kids” came from

interests tied to the coal industry or from organizations solicited by Blankenship himself.




                                                101
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 107 of 142



(Starcher Decl. ¶ 8, FEC Exh. 5; Mot. Of Resp’t Corporations for Disqualification of Justice

Benjamin, Oct. 19, 2005, FEC Exh. 104 at 8-14.)

       323.    During the 2004 election, “And for the Sake of the Kids” spent more than $3.2

million, almost entirely on ads advocating Justice McGraw’s defeat. One notorious ad accused

Justice McGraw of assigning a convicted child rapist to a West Virginia School as a janitor.

According to Justice Larry Starcher, a colleague of Justice McGraw on the court, the ads were

misleading and untruthful. (Starcher Decl. ¶ 9, FEC Exh. 5; Mot. Of Resp’t Corporations for

Disqualification of Justice Benjamin, Oct. 19, 2005, FEC Exh. 104 at 8-14.)

       324.    Don Blankenship also spent around $500,000 in independent expenditures in his

own name supporting Justice McGraw’s challenger, Brent Benjamin. (Starcher Decl. ¶ 10, FEC

Exh. 5; Mot. Of Resp’t Corporations for Disqualification of Justice Benjamin, Oct. 19, 2005,

FEC Exh. 104 at 11-12.)

       325.    Justice McGraw lost the general election to Brent Benjamin, largely due to the

massive contributions Mr. Blankenship made for independent advertisements. According to

Justice Starcher, “(t)he election was bought; by funding an ad campaign through a group with an

absurdly misleading name, Don Blankenship purchased a seat on the Supreme Court while a $50

million verdict against his company was on appeal. Thanks to the huge contributions

Blankenship made to “And for the Sake of the Kids” to run negative ads and the money he spent

independently to support his favored candidate, Justice McGraw was not really defeated by an

unknown lawyer named Brent Benjamin. Justice McGraw was defeated by Don Blankenship, a

wealthy Richmond, Virginia resident, who poured about three million dollars into defeating him.

It’s obscene that a seat on the Supreme Court was bought and I’m highly offended by it. I’ve




                                              102
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 108 of 142



been criticized because I said publicly that seeing a seat bought makes me want to puke, but

that’s how we describe it out here.” (Starcher Decl. ¶ 11, FEC Exh. 5.)

       326.    In November 2007, the Supreme Court held in favor of Massey in its appeal of the

verdict in the case brought against it by Harman. By that time, the verdict in the case had, due to

interest, increased to $76 million. Justice Benjamin, whose 2004 campaign was supported by

more than $3.5 million dollars from Blankenship and/or Massey associates, voted with the

majority. In late January 2008, the Court vacated its November decision and voted to rehear the

appeal when photos surfaced of another justice, Chief Justice Maynard, vacationing on the

French Riviera with Don Blankenship. Justice Benjamin refused to recuse himself from the case.

(Starcher Decl. ¶ 12, FEC Exh. 5; Chris Dickerson, Company Asks Benjamin to Recuse Himself

Again, This Time with Poll Numbers, Legal Newsline.com, Mar. 8, 2008, FEC Exh. 94.) On

April 3, 2008, the Court reversed the judgment in the case. Three members of the Court,

including Justice Benjamin, ruled in favor of Don Blankenship’s firm. (Starcher Decl. ¶ 13, FEC

Exh. 5.)

       327.    As a result of Mr. Blankenship’s funding of independent expenditures, the public

doubted that Justice Benjamin could be fair. (See infra Facts 328-329.)

       328.    In a telephone poll of 753 West Virginia voters, more than 2/3 of those polled

doubted that Justice Benjamin could be fair and impartial regarding Massey’s appeal of the

Harman case. Interviewees were asked whether the $3.5 million spent by Massey’s CEO to help

elect Justice Benjamin caused them to doubt that Justice Benjamin could be fair. Sixty-seven%

said they had such doubts. (Chris Dickerson, Company Asks Benjamin to Recuse Himself Again,

This Time with Poll Numbers, Legal Newsline.com, Mar. 8, 2008, FEC Exh. 94; Second

Renewed Jt. Mot. for Disqualification of Justice Benjamin, Aff. of Robert Drake, Mar. 28, 2008,




                                               103
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 109 of 142



FEC Exh. 95.) This is “a clear sign of appearance of corruption.” (Wilcox Rept. at 23, FEC

Exh. 1.)

           329.   “Public confidence in the court’s decision in the Massey case is close to zero,”

says Justice Starcher, who continues, “I hardly know a soul who could believe that a justice who

benefited to this extent from a litigant could rule fairly on cases involving that litigant or his

companies.” Starcher concludes that “The pernicious effect of Mr. Blankenship’s bestowal of

his personal wealth has created a cancer on the affairs of the Supreme Court.” (Starcher Decl.

¶¶ 12, 14, FEC Exh. 5.)

       330.       The funds expended by Blankenship through “And for the Sake of the Kids” to

elect Justice Benjamin created an appearance of corruption. As Justice Starcher explains,

“[m]illions of dollars in electoral support by the CEO of an active litigant in the court is clearly

sufficient to create an appearance of corruption. … In essence, Mr. Blankenship used a few

million dollars in contributions to take over $60 million from Harman and Hugh Caperton

[Harman’s CEO], and is getting away with it scot-free.” (Starcher Decl. ¶¶ 12 – 14, FEC Exh.

5.)

       331.       West Virginia Supreme Court Justice Richard Neely explains the results of such

unlimited contributions: “These ads and this kind of campaign works. Now every seat on the

Supreme Court is for sale. … Judges will be required to dance with the one that brung them . …

A 12-year term makes you a little more independent than a short term would make you. But, at

the end of the day, people tend to associate with and support the people who have helped them.

When someone like Don Blankenship offers you $3 million, you can’t turn it down.” (Mot. Of

Resp’t Corporations for Disqualification of Justice Benjamin, Oct. 19, 2005, FEC Exh. 104 at

18.)




                                                  104
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 110 of 142



       332.    Just as there was a clear appearance of corruption as a result of unlimited

contributions in this judicial election, a similar appearance of corruption would arise in

legislative elections in which unlimited contributions were permitted. Justice Starcher explains:

“I have personally seen how massive contributions to a misleadingly named 527 organization

can corrupt the judicial system. I do not see why elections for legislative office are any different.

. . . Reasonable restrictions on the amounts that individuals can contribute to organizations like

the one that defeated Justice McGraw, such as the $5,000 limit on contributions to political

committees under federal law, properly respect both an individual’s right to speak out on

important issues, including the selection of judges, and the public’s right to fair and honest

democratic processes.” (Starcher Decl. ¶ 15, FEC Exh. 5.)

               2.      The Public Views Large Election-Related Contributions As
                       Corrupting, Regardless of the Recipient.

       333.    Recent polling shows that the public views contributions to groups running ads

supporting candidates are as likely to lead to corruption as contributions made directly to

candidates. In a nationwide poll conducted in August 2008, by Zogby International, an almost

identical majority of survey respondents indicated that both direct contributions to candidates

and contributions to groups to spend on advertising campaigns supporting congressional

candidates would be likely to lead to corruption. (Results of Nationwide Poll, Zogby

International, Aug. 25, 2008, FEC Exh. 96.)

       334.    The Commission paid Zogby International to ask four questions when Zogby

conducted an omnibus telephone survey of 1,207 adults randomly drawn from a national sample.

Identical majorities of survey respondents thought it likely that a congressional candidate would

do a political favor for a contributor once elected to office, whether the contributor made a

contribution of $100,000 or more to the candidate’s campaign, or a contribution of $100,000 or



                                                105
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 111 of 142



more to a group to spend on an advertising campaign supporting that candidate. For both types

of contributions, 82% of survey respondents thought it likely that the candidate would do a

political favor for the contributor. (Results of Nationwide Poll, Zogby International, Aug. 25,

2008, FEC Exh.96 at 2; Calogero Decl. ¶ 3, FEC Exh. 97.)

       335.    Similarly, nearly identical majorities of survey respondents thought it likely that a

congressional candidate would give a contributor’s opinion special consideration once elected to

office, whether the contributor made a contribution of $100,000 or more to the candidate’s

campaign, or a contribution of $100,000 or more to a group to spend on an advertising campaign

supporting that candidate. For contributions directly to the candidate’s campaign, 77% of survey

respondents thought it likely that the candidate would give the contributor’s opinion special

consideration. For contributions to a group to spend on an advertising campaign supporting a

candidate, 79% of survey respondents thought it likely that the candidate would give the

contributor’s opinion special consideration. (Results of Nationwide Poll, Zogby International,

Aug. 25, 2008, FEC Exh. 96 at 3-4.)

       336.    According to Georgetown University Professor Clyde Wilcox, who has taught

courses and lectured in public opinion survey research, the results of the Zogby survey suggest

that the “public views a contribution made to a group that’s helping a candidate the same way

they view a direct contribution to the candidate.” Contributions to a group to spend on the

advertising campaign would, Wilcox explains, “have in the public’s view the same possibility of

generating special consideration and political favors.” The public would view such contributions

as “indirect contributions.” (Wilcox Dep. at 303-04, FEC Exh. 18.)

       337.    The public views preferential access or other special favors granted by candidates

to donors as corrupt, whether those special favors are done for someone who has contributed




                                                106
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 112 of 142



directly to the candidate, or for someone who has contributed to an independent group to help the

candidate. (Wilcox Dep. at 45-46, FEC Exh. 18.)

       338.    The public perception of an appearance of corruption evident from the poll

regarding Mr. Benjamin’s contributions and the Zogby poll is consistent with earlier research.

(See infra (the next two facts).

       339.    “The public believes that large direct contributions to candidates, and also large

indirect contributions to party soft money committees lead to preferential access and influence

over policymaking.” (Wilcox Rept. at 22-23, FEC Exh. 1 (citing Robert Y. Shapiro, Public

Attitudes Toward Campaign Finance Practice and Reform in Inside the Campaign Finance

Battle (Anthony Corrado et al., eds., 2003).)

       340.    A survey conducted during the McConnell litigation revealed that an

overwhelming majority of the public believed that large contributions to political parties and

large independent expenditures to benefit candidates would lead to special consideration by

Members of Congress. (Wilcox Rept. at 23, FEC Exh. 1.)

       341.    “The public is unlikely to believe that large direct contributions to candidates are

corrupting, that large indirect contributions made through political parties are corrupting, but that

large indirect contributions made through interest groups are not corrupting. … Allowing

unlimited contributions to [entities making independent expenditures] that help candidates win

election will likely contribute to the perception of corruption by the public.” (Wilcox Rept. at

23, FEC Exh. 1.)




                                                107
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 113 of 142



               3.     Coordination is Inherently Very Difficult to Police and Candidate
                      Campaigns Are Often Involved With “Independent” Spending Below
                      the Level of Involvement That Constitutes “Coordination” Within the
                      Meaning of the Law.

       342.    Limits on contributions to political committees are also important because

coordination is inherently very difficult to police and candidate campaigns are often involved

with “independent” spending below the level of involvement that constitutes “coordination”

within the meaning of the law.

       343.    There is reason to believe that cooperation, even if it doesn’t rise to the legal of

“coordination,” occurs in various ways. Several incidents from California state races illustrate

this point. For example, Chairman Ross Johnson of the FPPC recalls the following incident:

“while I was serving as the Republican leader in the [California State] Assembly, an Assembly

candidate came to me for an endorsement. To demonstrate the legitimacy of the campaign, the

candidate told me that a professional association had directly committed to making a $75,000

independent expenditure in support. Subsequently, that association did, in fact, make such an

independent expenditure on the candidate’s behalf. The candidate won the election.” (Johnson

Decl. ¶ 10, FEC Exh. 2).

       344.    As another example from California, during the 2006 election cycle, there was a

clear pattern of a candidate committee inundating voters’ mailboxes with campaign materials for

three or four days, and then stopping, while for the next three or four days, independent

expenditure committees would inundate mailboxes with campaign material, and then back and

forth. The mailing alternated almost exactly between the candidate’s committee and independent

expenditure committees. According to Chairman Johnson, “[i]f there was no coordination, it was

an unbelievable coincidence.” (Johnson Decl. ¶ 10, FEC Exh. 2).




                                                108
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 114 of 142



       J.      Money Raised through Associations with Many Protections of the Corporate
               Form Pose a Danger of “Corrosive and Distorting Effects of Immense
               Aggregations of Wealth.”

       345.    Organizing SpeechNow as an Unincorporated Non-Profit Association under DC

law provides its members the same kind of limited liability as they would have under a corporate

form. (See FEC Exh. 20 at SNK0159.)

       346.    Even though the Uniform Unincorporated Nonprofit Association Act

(“UUNAA”), on which the D.C. statute is based, is relatively new, some individuals have

already taken advantage of its protections. See infra facts

       347.    One such example involved a lawsuit following the 1996 election for the Fourth

Congressional District of Colorado U.S. House of Representatives seat. Guy Kelley, a

Democrat, unsuccessfully challenged Bob Schaffer, the Republican incumbent, that year.

Following the campaign, two of his campaign workers sued him in his individual capacity for

back wages they claimed they never received. These claims were dismissed because the court

found that the employees were actually hired by Kelley’s campaign committee, that the

committee was formed as an unincorporated nonprofit association under Colorado’s version of

the UUNAA, and, accordingly, Kelley was not personally liable for the actions of the committee.

Mohr v. Kelley, 8 P.3d 543, 544 (Colo. Ct. App. 2000).

       348.    As the Colorado Court of Appeals explained, “the Association Act makes a

nonprofit unincorporated association a legal entity separate and apart from its members.

Therefore, logically, nonprofit unincorporated associations are more in the nature of

corporations, limited partnerships, or limited liability companies.” Id. at 545.

       349.    SpeechNow itself has used the protection from liability afforded by the D.C.

statute as an inducement to potential members. In an email from David Keating to a prospective




                                               109
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 115 of 142



member, Keating explained that the D.C. statute “provides some substantial protection” from

“possible lawsuits.” (FEC Exh. 20 at SNK0159; Keating Dep. at 130-31, FEC Exh. 11.)

       K.      Independent Expenditures Through Groups are Less Transparent to the
               Public than Independent Expenditures Made by Individuals.

       350.    “Individuals can now spend unlimited amounts on independent expenditures, but

their names must be included as a disclaimer for the source of the advertisement. This allows

voters to assess the reliability of the information and arguments in the advertisements, and

perhaps discount them if they perceive a self interest on the part of the individual.” (Wilcox

Rept. at 24, FEC Exh. 1.)

       351.     It is not difficult for individuals who are capable of making large contributions

for independent expenditures to hire consultants to create ads, but “many prefer to shield their

identity by creating groups with positive sounding names to list in the disclaimer.” (Wilcox

Rept. at 24, FEC Exh. 1.)

        352. “And for the Sake of the Kids,” the entity established by a coal company CEO

and other coal company executives, illustrates the potential for an individual to shield his identity

behind a group with a misleading name. (See supra Section 3.2805.) Disclaimers on the ads that

Mr. Blankenship himself ran (positive ads in support of Justice Benjamin) would have made his

funding of the ad transparent to the public from the advertisement itself. Including the group’s

misleading name in the disclaimer on the group’s negative advertisements (against Justice

McGraw), on the other hand, provided little information to the public about the group of coal

executives funding “And for the Sake of the kids.” “Voters who saw these ads would have been

better able to evaluate them had they included a disclaimer that they were paid for by the

president of a coal company with significant business before the Court.” (Wilcox Rept. at 24,

FEC Exh. 1.)



                                                110
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 116 of 142



       353.    While candidates know who’s making independent expenditures, the public has

more difficulty when the only information in the ad is a deceptive group name. In California,

for example, “‘[i]independent expenditure’ committees make it easy to hide the true source of

contributions. The names sound good—Californians for a Better Government, California

Alliance for Progress and Education, Alliance for a Better California, and Working Californians.

But how are California voters to know who these groups really are? For the average voter it

involves far too much detective work to figure out who is really behind a particular ‘independent

expenditure’ committee or effort.” (FPPC, Independent Expenditures: The Giant Gorilla in

Campaign Finance, June 2008, at 6, FEC Exh. 47.)

       354.    Despite the generically positive names of many committees, nearly 60% of all the

money spent by the largest independent expenditure groups in California came from just 10

contributors consisting of Indian tribes, developers, labor unions and consumer attorneys.

(FPPC, Independent Expenditures: The Giant Gorilla in Campaign Finance, June 2008, at 21,

FEC Exh. 47.).

       355.    FPPC Chairman Ross Johnson describes this phenomenon as follows: “They have

nice sounding names, but the public rarely knows who is funding the groups’ independent

expenditures when their television or radio advertisements are aired. They will call themselves

‘friends of education,’ for example. This can hide who the true special interests are behind an

expenditure, or mask a close relationship between an individual donor and the candidate. For

example, in the June primary [in California], there was a large independent expenditure that

attacked a member for the state assembly who was running for state senate. It was sponsored by

an Indian gaming interest whose plan for a new casino the Assembly-member had opposed. But

the name of the Indian tribe’s expenditure committee was “Education Leaders for High




                                               111
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 117 of 142



Standards,” and the independent expenditure focused on an education issue; voters had little

reason to suspect that the attack ads were actually finance by gaming interests.” (Johnson Decl.

¶ 12, FEC Exh. 2.).

       356.    With the case of independent expenditure campaigns, misleading group names

make it much more difficult “for voters and citizens and the media to understand who is behind

these efforts.” (Johnson Dep. at 26:10-13, FEC Exh. 10.).

       357.    A number of independent expenditure groups in California are creating and

funding sub-groups that support specific candidates. Accordingly, when the sub-group discloses

who funded its independent expenditures, it merely lists the name of another group that makes

independent expenditures. To find out who is actually funding the ads, the public now needs to

peel away another layer of “the onion.” The report prepared by the FPPC discusses a number of

groups using this and other similar tactics. (FPPC, Independent Expenditures: The Giant Gorilla

in Campaign Finance, June 2008, at 53-59, FEC Exh. 47).

       358.    “It seems likely that single donors will create organizations as they have done

with organizations such as Republicans for Clean Air and Let Freedom Ring. . . . [B]y making

these expenditures through the name of a group which may be little more than a front for their

personal contributions, they mislead voters in their evaluation of the source of the ads.” (Wilcox

Rept. at 25, FEC Exh. 1.)

       359.    Using “positive sounding group names that may represent little more than a

checking account, individuals can avoid taking responsibility for harshly negative ads.” (Wilcox

Rept. at 25, FEC Exh. 1.) As former Senator Tom Daschle explains, “‘[s]ometimes it is hard for

voters to know where the money is coming from for these ads.’” Independent ads run under the

guise of a group are frequently “‘negative and harmful,’” and using such groups “‘allows people




                                               112
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 118 of 142



to make statements without taking responsibility for them.’” (Wilcox Rept. at 25, FEC Exh. 1

(quoting Daschle).)

       360.    “Republicans for Clean Air,” which ran advertisements in the 2000 Republican

Presidential primary (see supra Fact 156), was actually just two individuals – brothers who

together spent $25 million on ads supporting their favored candidate. The ads, however, only

identified the organization, not the donors. If groups like this could finance independent

expenditure advertisements, wealthy donors could target specific candidates for election or

defeat while hiding behind “dubious and misleading names” like “The Coalition – Americans

Working for Real Change,” “Citizens for Better Medicare,” and “Republicans for Clean Air.”

McConnell, 540 U.S. at 197 (quoting McConnell, 251 F. Supp. 2d at 237 (D.D.C.)).

       L.      The Disclosure of All Receipts and Expenditures Ensures that Vital
               Information About Who is Supporting Candidates is Made Publicly
               Available.

       361.    “If interest groups whose principal purpose is electoral advocacy are allowed to

accept large contributions but required only to disclose those funds which are used for the direct

costs of airing independent expenditures, it will limit disclosure in harmful ways. Disclosure is

important because it allows voters to hold candidates accountable for any special treatment they

give to their supporters.” (Wilcox Rept. at 23, FEC Exh. 1.)

       362.    “[G]roups engage in considerable research to develop successful advertising

campaigns, and this research frequently involves considerable costs. Groups fund large surveys,

focus groups, and other types of research, and spend money in pre-production and on ads. They

have overhead costs that are part of their normal operations, and contributions that help pay for

those costs are valuable to the group and therefore indirectly valuable to candidates. The

percentage of funds that are spent to buy television or radio time can often be a relatively small




                                                113
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 119 of 142



portion of overall spending.” (Wilcox Rept. at 24, FEC Exh. 1.)

       363.    “Allowing groups to disclose only contributions that fund disbursements that buy

advertising would . . . lead to the worst possible combination – citizens would not be able to

trace the money that helped to develop and prepare advertisements, but candidates would know

who gave. Individuals could make large contributions to fund the overhead of these

organizations and the research and other costs that go into preparing disbursements, but these

contributions could be totally invisible to the public. They could then pay for the advertisements

with other contributions, perhaps from smaller donors.” (Wilcox Rept. at 24, FEC Exh. 1.)

       364.    “Meanwhile, there are ample ways that donors can signal their contributions to

candidates, thereby claiming credit for their help. Thus the candidate would know and be

grateful for the contribution, but voters would not be able to see the connection between donor

and politician.” (Wilcox Rept. at 24, FEC Exh. 1.)

       365.    Allowing journalists and voters to know donors behind advertising campaigns

permits scrutiny of the donors’ role in public policy formation. With respect to the case of

Republicans for Clean Air, “initially the donors who funded these ads were known to the Bush

campaign but not to the public. But after the identity of the donors was revealed by some clever

journalistic sleuthing, there was increased scrutiny to the role of the two donors to the group in

setting the administration’s energy policy.” (Wilcox Rept. at 24, FEC Exh. 1 (citing Jonathan S.

Krasno and Frank Sorauf, Issue Advocacy and the Integrity of the Political Process in Inside the

Campaign Finance Battle (Anthony Corrado et al. eds., 2003.)

        366.   “‘The public’s interest in revealing these transactions is countered by the private

interest of many groups and donors to keep them secret. Thus the ability to route money to

groups for candidate-oriented issue ads without disclosure has attracted an increasing amount of




                                                114
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 120 of 142



money to this activity. In the growing opaqueness of campaign financing, the opportunity for

donors and officeholders to forge close relationships or strike deals without risk of detection

grows too.’” (Wilcox Rept. at 24, FEC Exh. 1 (quoting Jonathan S. Krasno and Frank Sorauf,

Issue Advocacy and the Integrity of the Political Process in Inside the Campaign Finance Battle

(Anthony Corrado et al. eds., 2003.)

       367.    “Allowing individuals to make large contributions to groups which primarily air

independent expenditures, and to disclose only the funds used for the expenditures themselves,

risks allowing donors to hide their contributions from public scrutiny. This weakens the ability

of voters, the media, and civil society groups to closely monitor the relationship between large

donors and policymakers. The more avenues that donors can find to aid policymakers outside of

the disclosure system, the more opaque the system becomes.” (Wilcox Rept. at 25, FEC Exh. 1.)

       368.    Disbursements for overhead and for polling and other background expenses are

can be substantial. (See infra Facts 369-375).

       369.    Political committees — not including candidate campaigns and political parties —

spent more than $1 billion during the 2005-2006 election cycle. Nearly half was spent on

independent expenditures and direct contributions to candidates, political parties and other

political committees. Thus, approximately $500 million of the spending by the approximately

5000 major-purpose entities was thus spent on other costs. (See generally Summary of PAC

Activity 1990-2006, http://www.fec.gov/press/press2007/20071009pac/sumhistory.pdf (last

visited Mar. 2, 2008) (5,091 committees disbursed approximately $1.055 billion, including $372

million in contributions to candidates) (Sadio Decl. B, FEC Exh. 99); 2005-2006 Summary of

PAC Independent Expenditures,

http://www.fec.gov/press/press2007/20071009pac/indepexp2006.pdf (last visited Mar. 2, 2008)




                                                 115
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 121 of 142



(independent expenditures of approximately $38 million) (Sadio Decl. C, FEC Exh. 107);

National Party Financial Activity Through the End of the Election Cycle,

http://www.fec.gov/press/press2007/partyfinal2006/demfederalye06.pdf (visited Mar. 5, 2008)

(receipts of Democratic political party committees) (Sadio Decl. D, FEC Exh. 107); National

Party Federal Financial Activity Through the End of the Election Cycle,

http://www.fec.gov/press/press2007/partyfinal2006/repfederalye06.pdf (visited Mar. 5, 2008)

(receipts of Republican political party committees) (Sadio Decl. E, FEC Exh. 107).)

       370.    Independent expenditures and contributions to candidates have, in fact,

constituted a small percentage of disbursements by nonconnected committees for several election

cycles. The total disbursements, contributions to candidates, and independent expenditures in

each of the last four election cycles are as follows:


                   Election            Total     Contributions Independent
                    Cycle      Disbursements     to Candidates Expenditures
                   ’99-’00     $139,662,019      $37,297,383    $5,589,170
                   ’01-’02     $165,680,186      $46,362,859    $2,221,561
                   ’03-’04     $255,174,076      $52,467,328 $18,159,133
                   ’05-’06     $354,532,003      $70,217,568    $8,083,013

FEC Summary of PAC Activity, 1990-2006, available at

http://www.fec.gov/press/press2007/20071009pac/sumhistory.pdf, FEC Exh. 99;

FEC Summary of PAC Independent Expenditures 1999-2000, 2001-2002, 2003-2004 and 2005-
2006, FEC Exh. 108, available at
http://www.fec.gov/press/press2001/053101pacfund/pacie00.htm (1999-2000);
http://www.fec.gov/press/press2003/20030327pac/indepexp.xls (2001-2002);
http://www.fec.gov/press/press2005/20050412pac/indepexp.pdf (2003-2004);
http://www.fec.gov/press/press2007/20071009pac/indepexp2006.pdf (2005-2006).)

       371.    Persons who are not a political committee are not required to file reports of all

their receipts and disbursements. Generally, they are only required to file reports for each

quarter of the year in which they have made independent expenditures aggregating in excess of



                                                 116
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 122 of 142



$250 during a calendar year. 2 U.S.C. § 434(c). Each quarterly report contains information

regarding the independent expenditure and each person who made a contribution in excess of

$200 “for the purpose of furthering an independent expenditure.” 2 U.S.C. § 434(c)(2)(A)-(C);

(Scott Dep. at 99-101, FEC Exh. 14.).

       372.    The disbursements for the independent expenditure would be reported on

FEC Form 5. (Scott Dep. at 101-102, FEC Exh. 14.) All persons, including political

committees, who make independent expenditures shortly before election day that exceed certain

thresholds must disclose information about the expenditures to the Commission within 24 or 48

hours. 2 U.S.C. § 434(g). Reports filed by such persons provide less information than the

periodic reports filed by political committees. (Compare FEC Form 3x, FEC Exh. 128, with

FEC Form 5, FEC Exh. 144).

       373.    The only contributors that may be identified would be, for each independent

expenditure, each person who made a contribution in excess of $200 “for the purpose of

furthering the reported independent expenditure.” 2 U.S.C. § 434(c)(2)(A)-(C). The

organization would not be required to identify those who funded the organization’s other

disbursements, including administrative expenses and overhead. On average, half of the

disbursements by major purpose entities fall into this category. (See supra Fact 369.)

SpeechNow has taken different positions regarding whether it would disclose all of its donors.

For example, David Keating testified that, if SpeechNow makes independent expenditures

without registering and reporting as a political committee, SpeechNow would disclose all of its

donors of more than $200 on the independent expenditure reports filed by SpeechNow. (Keating

Dep. at 184, FEC Exh. 11.) On the other hand, Mr. Keating testified at his combined individual

and Rule 30(b)(6) deposition that he agreed with the position taken in a letter to the Commission




                                               117
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 123 of 142



from the Club for Growth, insisting that disclosure was limited to contributors who had specified

that that contribution was for the purpose of furthering an independent expenditure. (Keating

Dep. at 82-84, FEC Exh. 11.)

       374.    SpeechNow also has not assured the Court that it would report receipts and

disbursements for various election-related expenses such as opposition research on candidates

and polling. At his combined individual and Rule 30(b)(6) deposition, Mr. Keating took no

position on whether SpeechNow would disclose its disbursements for expenses such as candidate

research or public opinion polling on its independent expenditure reports. (Keating Dep. 185-

186, FEC Exh. 11.)

       375.    The danger that relevant information about election-related expenses (such as

opposition research on candidates and polling)and information about contributors to major

purpose entities will go reported is illustrated by the Club for Growth. In 2008, Club for Growth

conducted polls in the district of congressional candidate Andy Harris that mentioned his name

and then later made $157,777 in independent expenditures in connection with Andy Harris’

congressional race. (Keating Dep. 80-81, FEC Exh. 11.) Club for Growth filed an independent

expenditure report with the Federal Election Commission for these independent expenditures.

(Keating Dep. Exh. 6, FEC Exh. 131.) The report does not disclose any donors and does not

disclose any disbursements for polling. (Keating Dep. Exh. 6, FEC Exh. 131.) The Federal

Election Commission sent Club for Growth a request for additional information regarding this

report, and Club for Growth submitted a written response to the Commission. (Keating Dep. 80-

86, FEC Exh. 11; Keating Dep. Exh. 7, FEC Exh. 132.) The Club for Growth took the position

that it need not identify contributors that give to “support general programs without specifying”

that the contribution was given for the purpose of making an independent expenditure. (Keating




                                               118
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 124 of 142



Dep. Exh. 7, FEC Exh. 132.) Mr. Keating indicated that he personally agreed with the Club for

Groth’s position that disclosure of such contributions was not required. (Keating Dep. at 82-84,

FEC Exh. 11).

V.     Robust Fundraising Has Occurred Within Federal Contribution Limits and Large
       Sums Can Be Raised For Independent Expenditures Through the Aggregation of
       Money From a Number of Donors.

       A.       Both The Number of Nonconnected Committees and Their Total Receipts
                Have Consistently Risen Since 1990 and Increased Dramatically This
                Decade.

       376.     In the 2005-2006 election cycle, nonconnected political committees raised and

spent more than $350 million. (FEC Summary of PAC Activity, 1990-2006, FEC Exh. 99,

available at http://www.fec.gov/press/press2007/20071009pac/sumhistory.pdf.)

       377.     The total number of nonconnected political committees and their total receipts

have increased since 1989-1990. (FEC Summary of PAC Activity, 1990-2006, FEC Exh. 99,

available at http://www.fec.gov/press/press2007/20071009pac/sumhistory.pdf.)

       378.     The number of nonconnected committees increased from 1,321 in the 1989-90

election cycle to 1,797 in the 2005-06 election cycle. (FEC Summary of PAC Activity, 1990-

2006, FEC Exh. 99, available at

http://www.fec.gov/press/press2007/20071009pac/sumhistory.pdf.)

       379.     The total receipts of nonconnected committees increased from approximately $72

million in the 1989-90 election cycle to approximately $352 million in the 2005-06 election

cycle. (FEC Summary of PAC Activity, 1990-2006, FEC Exh. 99, available at

http://www.fec.gov/press/press2007/20071009pac/sumhistory.pdf.)

       380.     Between 1989-90 and 2005-06, the total receipts of nonconnected committees

increased from each presidential election cycle to the next and from each non-presidential




                                               119
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 125 of 142



election cycle to the next. (FEC Summary of PAC Activity, 1990-2006, FEC Exh. 99, available

at http://www.fec.gov/press/press2007/20071009pac/sumhistory.pdf.)

       381.    Total receipts of nonconnected committees doubled from the 1999-2000 election

cycle to the 2003-04 election cycle, increasing from approximately $144 million to

approximately $289 million. (FEC Summary of PAC Activity, 1990-2006, FEC Exh. 99,

available at http://www.fec.gov/press/press2007/20071009pac/sumhistory.pdf.)

       382.    Total receipts of nonconnected committees more than doubled from the 2001-

2002 election cycle to the 2005-06 election cycle, increasing from approximately $166 million to

approximately $353 million. (FEC Summary of PAC Activity, 1990-2006, FEC Exh. 99,

available at http://www.fec.gov/press/press2007/20071009pac/sumhistory.pdf.)

       383.    The total number of nonconnected political committees, their total receipts,

disbursements, and contributions to candidates in each election cycle are as follows:

          Election Nonconnected        Total         Total             Contributions
            Cycle   Committees      Receipts Disbursements             to Candidates
          ’89-’90     1,321      $71,569,940 $71,382,835               $15,070,009
          ’91-’92     1,376      $73,810,989 $76,232,864               $18,326,404
          ’93-’94     1,318      $76,860,606 $75,060,494               $18,201,369
          ’95-’96     1,259      $81,165,399 $81,265,563               $23,960,110
          ’97-’98     1,326     $114,321,557 $107,775,031              $28,154,544
          ’99-’00     1,362     $144,266,748 $139,662,019              $37,297,383
          ’01-’02     1,401     $166,652,339 $165,680,186              $46,362,859
          ’03-’04     1,650     $289,423,580 $255,174,076              $52,467,328
          ’05-’06     1,797     $352,947,674 $354,532,003              $70,217,568

(FEC Summary of PAC Activity, 1990-2006, FEC Exh. 99, available at

http://www.fec.gov/press/press2007/20071009pac/sumhistory.pdf.)

       384.    In the 2008 election cycle, various independent groups have successfully raised

funds within the legal limits. According to Tom Matzzie, MoveOn.org’s former Washington




                                               120
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 126 of 142



director, “[T]here are a lot of groups with hard money capacity.” (Matthew Mosk, “Economic

Downturn Sidelines Donors to ‘527’ Groups,” N.Y. Times, Oct. 19, 2008.)

       B.      The National Political Parties Successfully Recruited New Donors When
               They Were No Longer Permitted to Receive Unlimited Contributions.

       385.    Prior to the Bipartisan Campaign Reform Act of 2002, the national political party

committees were able to receive donations in unlimited amounts, and donations from

corporations and unions, into their soft money accounts. (McConnell v. FEC, 540 U.S. 93, 122-

126 (2003).) In their hard money accounts, they were only permitted to accept contributions up

to $20,000 per calendar year. (Former 2 U.S.C. § 441a(a)(1)(B) (2002).) Following BCRA, the

national political parties were only able to accept contributions into their hard money account, up

to $25,000 per calendar year. This latter amount is indexed for inflation; the limit for the 2007-

2008 cycle is $28,500. (2 U.S.C. § 441a(a)(1)(B); see 72 Fed. Reg. 5294, 5295 (Feb. 5, 2007).)

       386.    Following BCRA, the national political party committees recruited hundreds of

thousands of new donors. (Corrado and Varney, Party Money in the 2006 Elections: The Role of

National Party Committees in Financing Congressional Campaigns, Campaign Finance Institute

(2007) at 2, FEC Exh. 135.)

       387.    The national political party committees raised as much in hard money alone in

2003-04 as they had raised in hard and soft money combined in the previous presidential election

cycle, 1999-2000. (Id. at 3.)

       388.    In 1999-2000, the national party committees raised $574,500,000 in hard money

and $495,100,000 in soft money for a combined total of $1,069,600,000 in receipts. In the 2003-

2004 cycle, the national party committees raised $1,233,300,000 in hard money alone. (Id. at 3.)




                                                121
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 127 of 142



       389.    The national political party committees raised almost 90 percent as much in hard

money alone in 2005-06 as they had raised in hard and soft money combined in the previous

non-presidential election cycle, 2001-2002. (Id. at 3.)

       390.    In 2001-2002, the national party committees raised $515,200,000 in hard money

and $496,100,000 in soft money for a combined total of $1,011,300,000 in receipts. In the 2005-

2006 cycle, the national party committees raised $903,400,000 in hard money alone. (Id. at 3.)

       391.    When the national political party committees were no longer able to raise

contributions of unlimited amounts, they were able to continue to raise comparable amounts of

money within the hard money limits by recruiting new donors. (See supra Facts 374-390.)

       C.      SpeechNow Is Capable of Raising Significant Sums Within the
               Contribution Limits.

       392.    The Act’s limits on contributions to political committees do not limit the

aggregate receipts available to SpeechNow. (See 2 U.S.C. § 441a(a).)

       393.    Under the Act, potential contributors, including the individual plaintiffs,

may contribute directly to SpeechNow up to the Act’s individual and aggregate contribution

limits. (2 U.S.C. §§ 431(11), 441a(a)(1)(C), 441a(a)(3); see 72 Fed. Reg. 5294, 5295 (Feb. 5,

2007).) A “limitation upon the amount that any one person or group may contribute to a . . .

political committee entails only a marginal restriction upon the contributor’s ability to engage in

free communication.” (Buckley v. Valeo, 424 U.S. 1, 21 (1976).) The “overall effect” of dollar

limits on contributions is

         merely to require candidates and political committees to raise funds from a
         greater number of persons and to compel people who would otherwise contribute
         amounts greater than the statutory limits to expend such funds on direct political
         expression, rather than to reduce the total amount of money potentially available
         to promote political expression. (Id.)




                                                122
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 128 of 142



       394.     SpeechNow remains free “to aggregate large sums of money to promote effective

advocacy.” To increase receipts, SpeechNow can raise funds from a greater number of persons.

(Buckley v. Valeo, 424 U.S. 1, 21 (1976); Keating Dep. at 48-49, FEC Exh. 11.)

       395.     SpeechNow has made only minimal efforts to locate supporters and raise funds

but has nevertheless already attracted a number of supporters and potential contributors.

(See infra Facts 396 - 401.)

       396.     In addition to the individual plaintiffs, another individual, Richard Marder, is

willing and able to contribute at least $5,000 to SpeechNow. (Am. Compl. (Doc. 28-02) ¶ 32.)

       397.     As of mid-August 2008, 182 people had signed up on SpeechNow’s website

indicating that they were interested in receiving SpeechNow’s newsletters. (SNK0370-0372,

FEC Exh. 20.) Seventy-five (75) of those people indicated that they would be interested in

making a donation. (Id.)

       398.     SpeechNow has voluntarily chosen not to accept any contributions during the

pendency of this case, even contributions of less than $5,000, and has declined the contributions

that have been offered to date. (Keating Dep. at 165-166, FEC Exhibit 11; SpeechNow

Response to FEC Interrogatory 9, FEC Exh. 105 at 23.) Its fundraising has thus been “very

limited.” (Keating Dep. at 166, 169, FEC Exh. 11.)

       399.     Indeed, SpeechNow has spent less than $1,000 to date. (Keating Decl. ¶ 31;

Keating Dep. at 166, FEC Exh. 11; Spreadsheet, Keating Exh. 15, SNK0220-0221,

FEC Exh. 20.)

       400.     If it had chosen to accept contributions of up to $5,000 during the pendency of

this case, SpeechNow could immediately raise $22,200 from Mssrs. Keating, Marder, Young,

Russo, and Burkhardt. (Am. Compl. (Doc. 28-02) ¶ 32.)




                                                 123
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 129 of 142



       401.    SpeechNow could have raised additional funds from the 75 people who have

already indicated an interest in making a donation, as well as from others if it were actively

seeking to raise funds. (SNK0370-0372, FEC Exh. 20; Keating Dep. at 166, FEC Exh. 11.)

       402.    SpeechNow has received a considerable amount of free publicity through the

media. (See infra Facts 403-408.)

       403.    Plaintiffs have affiliations with several prominent advocacy groups. (See supra

Facts 33, 71, infra Facts 411-423, 433, 435.) David Keating also knows columnists and

reporters, such as John Fund at the Wall Street Journal. David Keating often sees Mr. Fund at

events, and as Mr. Keating testified, “We cross paths often.” David Keating often receives

emails from Mr. Fund at work. (Keating Dep. at 176-177; FEC Exh. 11.) David Keating sent

Mr. Fund information about SpeechNow. (Keating Dep. at 176-178, FEC Exh. 11; SNK0190-

0192, FEC Exh. 20.) David Keating also emailed George Will information regarding

SpeechNow. (SNK0193-0194, FEC Exh. 20.)

       404.    As a result of SpeechNow’s advisory opinion request submitted to the

Commission and as a result of this litigation, SpeechNow has received publicity in a number of

national newspapers, as well as online. (Keating Dep. at 178-180, FEC Exh. 11; Bauer, A Major

Question Before The FEC: SpeechNow’s Case For Independent Activity (Nov. 29, 2007),

available at

http://www.moresoftmoneyhardlaw.com/moresoftmoneyhardlaw/updates/outside_groups.html?

AID=1144, SNK0190-0192, FEC Exh. 20; Samples, The Politics of Free Speech Change for the

Better, available at http://www.cato-at-liberty.org/2007/12/02/the-politics-of-free-speech-

change-for-the-better/ (Dec. 2, 2007), YOU0020-0021, FEC Exh. 24; Crabtree, New 527 Group

Takes Aim At Campaign Contribution Limits, The Hill (Dec. 3, 2007), YOU0033-0034,




                                                124
      Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 130 of 142



FEC Exh. 24; Jacob Sullum, Ad Lib (Dec. 5, 2007), available at

http://www.townhall.com/columnists/JacobSullum/2007/12/05/ad_lib, SNK0175-0176,

FEC Exh. 20; Gerstein, New Group Seeks Changes For Political Fundraising, New York Sun

(Dec. 6, 2007), YOU0031-0032, FEC Exh. 24; Kuhnhenn, FEC Recommendation Could End Up

in Court, USA Today (Jan. 22, 2008), YOUO0009-0012, FEC Exh. 24; Editorial, Free

SpeechNow, New York Sun (Jan. 24, 2008), FEC Exh. 138; Salant, Split FEC Vote Leaves

SpeechNow Silenced, Bloomberg/Newsroom (Jan. 24, 2008), SNK0505-0506, FEC Exh. 20;

Weigel, SpeechNow Goes to Court (Feb. 14, 2008), available at

http://www.reason.com/blog/show/124990.html, SNK0173, FEC Exh. 20; Mullins, Free-Speech

Group Targets Campaign-Finance Law (Feb. 14, 2008), available at

http://blogs.wsj.com/washwire/2008/02/14/free-speech-group-targets-campaign-finance-law/,

SNK0173, FEC Exh. 20; Bauer, SpeechNow, in CourtNow (Feb. 15, 2008), available at

http://www.moresoftmoneyhardlaw.com/moresoftmoneyhardlaw/updates/outside groups.html?

AID=1197, SNK0199-202, FEC Exh. 20; Suit Could Unleash Surge Of Money In 2008

Presidential Race, The New York Sun (Feb. 15, 2008), FEC Exh. 20; On Message, Los Angeles

Times (Feb. 15, 2008), YOU0013-0014, FEC Exh. 24; McElhatton, Suit Aims To Ease

Campaign Fundraising Limits, The Washington Times (Feb. 15, 2008), YOU0014-0015,

FEC Exh. 24; BNA, FEC To Oppose Bid For Court Injunction By Group Seeking Unlimited

Contributions (Feb. 15, 2008), SNK0198-0202, FEC Exh. 24; Editorial, Speak Easier,

Wall Street Journal (Feb. 23, 2008), SNK0211-0212, FEC Exh. 24; Farnam, Conservative Group

Challenges Portions Of Finance Law, Wall Street Journal (Mar. 8, 2008), SNK0203,

FEC Exh. 24; Suit Aims To Lift Campaign Finance Donor Limits, The Washington Times

(Mar. 9, 2008), FEC Exh. 139; Will, McCain and the Oath, Newsweek (Mar. 10, 2008),




                                             125
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 131 of 142



SNK0216-0218, FEC Exh. 20; Bauer, SpeechNow Put Off For A While; A Damage Report

(July 2, 2008), available at

http://www.moresoftmoneyhardlaw.com/moresoftmoneyhardlaw/updates/outside groups.html?

AID=1294, SNK00206-0210, FEC Exh. 20.)

       405.    Counsel for plaintiffs wrote an op-ed column that was published in the

Washington Post two days after this litigation was filed. Unfettered Speech, Now,

Washington Post (Feb 16, 2008), YOU0018-0019, FEC Exh. 24. Counsel for plaintiffs also

posted a piece about SpeechNow on a blog. (Smith, An Acid Test For Campaign Finance

Reform (Dec. 7, 2007), available at

http://www.redstate.com/blogs/brad smith/2007/dec/06/an acid test for campaign finance ref

orm, FEC Exh. 101.)

       406.    SpeechNow and its counsel issued press releases and held at a press conference,

and SpeechNow created a website, www.SpeechNow.org. (SNK0114-115, SNK0181,

SNK0183-0185, SNK0186-0187, SNK0198-0202, SNK0206-208, SNK0367-0369, SNK0463-

0465, SNK0489-0450, SNK0491, SNK0538-0538, FEC Exh. 20; CRA0001, FEC Exh. 2;

YOU0002, YOU0013-0017, FEC Exh. 24.)

       407.    SpeechNow’s website has led reporters and radio talk show hosts to contact

SpeechNow, which has granted interview requests that generated publicity that increased the

number of individuals who signed up on SpeechNow’s website as supporters. (SpeechNow

Response to FEC Interrogatory 9, FEC Exh. 105 at 23-24.)

       408.    The publicity resulting from SpeechNow’s legal actions has been good for the

organization. As Mr. Keating testified, “Certainly our organization’s been discussed in




                                              126
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 132 of 142



newspaper accounts. * * * Well, generally speaking, publicity is good.” (Keating Dep. at 179,

FEC Exh. 11.)

       409.     SpeechNow’s organizers and supporters include a number of prominent activists

and donors. (See infra Facts 410-425.)

       410.     David Keating was previously executive vice-president of the National Taxpayers

Union (“NTU”). (Keating Dep. at 10, FEC Exh. 11.) Under his guidance, NTU developed a

political action committee that had “much success” in the 1994 elections. (Keating Exh. 2 at 5,

FEC Exh. 140; Keating Dep. at 10-12, FEC Exh. 11.)

       411.     David Keating has been Executive Director of Club for Growth (in its various

incarnations under the Internal Revenue Code) since 2000. (Keating Dep. at 8-9, 15-17, 20-21,

FEC Exh. 11.) When the group was created the year before Mr. Keating began working there, it

had only a handful of members, essentially its board of directors. (Keating Dep. at 45,

FEC Exh. 11.) Under Mr. Keating’s direction, CFG’s membership increased fifteen-fold in his

first approximately five years with the group and raised over $15 million, including over

$5 million in hard-money donations, in a single election cycle. (Keating Exh. 2 at 5,

FEC Exh. 140; Keating Dep. at 10-12, FEC Exh. 11.) Every year the membership total

increased. By early 2007, Club for Growth had grown to around 20,000-25,000 members under

Mr. Keating’s direction. (Keating Dep. at 46, FEC Exh. 11.) Club for Growth now has

approximately 35,000 members. (Keating Dep. at 45, FEC Exh. 11.)

       412.     Mr. Keating was involved in the efforts to increase the membership of Club for

Growth. He “would supervise writing the mailings or helping design the website and things of

that nature and finding lists to rent to ask people to join the organization, all those kinds of

details.” (Keating Dep. at 49, FEC Exh. 11.)




                                                 127
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 133 of 142



       413.     Club for Growth has maintained a separate segregated fund that registered with

and reported to the Federal Election Commission as a political committee, both when its primary

operating entity was a section 527 organization under the Internal Revenue code up until early

2007 and subsequently when its primary operating entity was a section 501(c)(4) organization.

(Keating Dep. at 8-9, 20-21, 29-30, FEC Exh. 11.)

       414.     CFG members have contributed to Club for Growth’s PAC. CFG PAC made

independent expenditures supporting or opposing federal candidates. Every election cycle, Club

for Growth PAC’s total receipts increased. The statutory limit on contributions to Club for

Growth PAC remains $5,000. (Keating Dep. at 17-19, 48-49, FEC Exh. 11.) David Keating

attributed the increase in Club for Growth PAC’s total receipts to the increasing number of CFG

members. “Primarily there were more members asked to give money. So they had more people

to ask to give money, you wind up raising more money.” (Keating Dep. at 49, FEC Exh. 11.)

Mr. Keating was “reasonably pleased by the increase” in total receipts. (Keating Dep. at 48-49,

FEC Exh. 11.)

       415.     Club For Growth PAC’s activity during the 1999-2000 and subsequent election

cycles was as follows.

  Election Cycle          1999-2000     2001-2002     2003-2004     2005-2006     2007-2008

  Total Receipts:          $127,730      $452,953    $1,910,454    $2,865,338    $2,554,567
  Total                    $119,366      $390,286    $1,938,903    $2,758,513    $1,798,462
  Expenditures:
  Contributions to          $91,432      $297,385      $221,184       $11,792           $19,026
  federal candidates:
  Independent                     $0       $7,049    $1,499,446    $2,753,238    $1,558,610
  Expenditures:

Totals for the 2007-2008 election cycle include data released by the Federal Election

Commission on September 8, 2008, except for the independent expenditure total, which is based




                                               128
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 134 of 142



on data released on September 17, 2008. (Keating Exh. 5, FEC Exh. 141; Keating Dep. at 50-55,

FEC Exh. 11.)

       416.     SpeechNow’s vice-president Jon Coupal is also President of the Howard Jarvis

Taxpayers Association (“HJTA”), a 501(c)(4) nonprofit organization with more than 250,000

supporters. (Coupal Dep. at 13; Howard Jarvis Taxpayers Association, About Us,

http://www.hjta.org/aboutus (visited Feb. 26, 2008).) HJTA advocates on behalf of California

taxpayers. Mr. Coupal’s responsibilities include serving as chief executive officer of the

organization and managing the organization. This includes overseeing HJTA’s lobbying efforts,

including visiting legislative offices and informing legislators and their staffs of HJTA’s position

on issues. Mr. Coupal also directs HJTA’s litigation efforts. Coupal Dep. at 13.

       417.     HJTA has multiple political action committees: a federal committee, a state PAC

and two state committees for the purpose of engaging in political activity supporting or opposing

ballot initiatives. (Coupal Dep. at 20-21, FEC Exh. 8.)

       418.     HJTA also has a connected organization, the Howard Jarvis Taxpayers

Foundation, a 501(c)(3) organization, which is the principal organization for funding litigation

efforts and academic studies. (Coupal Dep. at 21, FEC Exh. 8.)

       419.     The entities connected with HJTA have separate boards of directors, but

Jon Coupal sits on all the boards. (Coupal Dep. at 22, FEC Exh. 8.)

       420.     In his capacity as President of HJTA, Mr. Coupal writes a weekly column, called

“California Commentary,” which is sent by email to HJTA members and frequently published by

daily and weekly newspapers in California. (Coupal Dep. at 23-24, FEC Exh. 8.)




                                                129
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 135 of 142



       421.     Plaintiff Edward Crane is also the President of the Cato Institute, an established

advocacy group that has been in existence for over thirty years. (Crane Decl. (Doc. 2-5) ¶ 8;

Keating Dep. at 132-133, FEC Exh. 11; Young Dep. at 25, FEC Exh. 19.)

       422.     Mr. Young urged the Cato Institute to publicize SpeechNow’s lawsuit and Mr.

Crane agreed. Mr. Young wrote in a November 16, 2007 email message to Mr. Crane,

“My understanding is that IJ/CCP/SpeechNow plan to publicize the eventual suit, I believe, soon

after the FEC rules against us. Perhaps Cato should play a role in this.” (Young Exh. 10,

YOU0023-0024, FEC Exh. 24.) Mr. Crane responded, “Not as a participant, but certainly with

studies, op-eds and forums.” (Id.) Mr. Young replies, “That would be great.” (Id.) After this

litigation was filed on February 14, 2008, the Cato Institute sponsored a Policy Forum held on

March 8, 2008 entitled “Freeing SpeechNow: Free Speech and Association vs. Campaign

Finance Regulation.” (SNK0503-0504, FEC Exh. 20.)

       423.     Plaintiff Fred Young was president of his family business, Young Radiator

Company, until he sold it approximately ten years ago. Mr. Young describes himself as

“partially” retired, and an investor. He serves on the board of directors of a couple of “think

tanks,” including the Cato Institute and Reason Foundation. (Young Dep. at 21-27,

FEC Exh. 19.)

       424.     Plaintiff Fred Young has supported both Club for Growth and Club for

Growth PAC financially, beginning in 2000. Mr. Young contributed $2,000 and $5,000 to Club

for Growth in 2000 and 2001, respectively. In subsequent years, Mr. Young contributed

amounts in excess of $5,000 to Club for Growth: $10,000 in both 2002 and 2003; $15,000 in

2004; and $25,000 in both 2005 and 2006. (Young Dep. at 32-33; FEC Exh. 19,

FEC Exhs. 45-46.)




                                                130
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 136 of 142



       425.     Plaintiffs are thus in a strong position to raise funds from a great number of

donors. (See infra Facts 426-430.)

       426.     Plaintiffs are situated better in their “start-up” phase than many of the thousands

of major-purpose entities that have managed to comply with the Act’s contribution limits and

reporting requirements for the last thirty plus years. (See Summary of PAC Activity 1990-2006,

FEC Exh. 99.)

       427.     SpeechNow’s decision not to accept any contributions while plaintiffs pursue this

litigation is a voluntary choice based on SpeechNow’s alleged preference to avoid registering as

a political committee. This decision is not mandated by anything in FECA. Mr. Keating

testified, “If I wanted to be a political committee, I would have filed as a political committee.”

(Keating Dep. at 167-168, FEC Exh. 11.)

       428.     Mr. Keating’s decision not to register SpeechNow as a political committee is

influenced, in part, by his personal choices and his views regarding how he wants to spend his

time. Mr. Keating testified: “I have a lot of things to do, three kids, and a full-time job.”

(Keating Dep. at 169, FEC Exh. 11.)

       429.     While this case is pending, the potential donors already identified could have

financed SpeechNow’s proposed independent expenditures by themselves through contributions

within FECA’s limits. SpeechNow had planned advertisements that would cost $120,000.

(SNK0236, FEC Exh. 20.) The organization could have financed these advertisements with

contributions from the approximately eighty people already interested in giving at an average

contribution of less than $2,000, or it could have financed the advertisements with as few as

24 individual contributors giving the maximum of $5,000. (Id.)




                                                 131
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 137 of 142



       430.     Robust amounts of fundraising have occurred within the federal limits, including

fundraising by nonconnected committees by appealing to a broad base of donors. At its creation,

SpeechNow already possesses significant advantages: supporters with a great deal of experience

in hard money fundraising, a considerable amount of exposure in the media, prominent

organizers and donors, and interested donors lining up to contribute. (See supra Facts 376-429.)

       431.     SpeechNow’s contributors are able to express themselves not only through

contributions to SpeechNow, but also through contributions to candidates they support, unlimited

independent expenditures, and unlimited donations to non-candidate issue groups. (See infra

Facts 432-437.)

       432.     The Act’s limits on contributions to political committees do not in any way limit

independent expenditures by SpeechNow or any of the individual plaintiffs. (2 U.S.C. § 441a(a).

See FEC v. Nat’l Conservative Political Action Comm., 470 U.S. 480 (1985); Buckley v. Valeo,

424 U.S. 1, 39-51 (1976).)

       433.     Contributors to SpeechNow, including the individual plaintiffs, have

demonstrated alternative ways to convey their views aside from making large contributions to

SpeechNow. This includes becoming directly involved in such groups as an officer or director,

as plaintiffs Keating, Crane, Young have done. Plaintiff Keating served as executive director of

Club for Growth and Citizens Club for Growth. (Keating Dep. at 8-9, 15-17, 20-21,

FEC Exh. 11.) Plaintiff Edward Crane is President of the Cato Institute. (Crane Decl. (Doc. 2-5)

¶ 8; Keating Dep. at 132-133, FEC Exh. 11; Young Dep. at 25, FEC Exh. 19.) Plaintiff Fred

Young serves as a member of the board of directors of the Cato Institute. (Young Dep. at 21-27,

FEC Exh. 19.)




                                                132
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 138 of 142



       434.    Contributors to SpeechNow, including the individual plaintiffs, have donated

directly to candidates and groups who share their views on the First Amendment and campaign

finance laws. Plaintiffs Keating, Young, Russo and Burkhardt have all contributed to such

candidates and groups. Keating Contribution Report, FEC Exh. 130; Young Dep. at 60-61, 68

(approximately three dozen contributions to federal candidates and their committees in the past

ten years), FEC Exh. 19; Russo Dep. at 35 (contributions to Paul and Bush campaigns),

FEC Dep. at 13; Burkhardt Dep. at 25-29, FEC Exh. 7.) Plaintiff Fred Young has contributed to

Republican Party committees and Club for Growth’s PAC. (Young Dep. at 65, FEC Exh. 19.)

       435.    Contributors to SpeechNow, including the individual plaintiffs, can donate

unlimited amounts of money directly to non-candidate issue groups that share their views.

For example, Fred Young has donated to Club for Growth, the Cato Institute, the Center for

Competitive Politics, and the Institute for Justice. (Young Dep. at 68-69, 87, 90-91,

FEC Exh. 19.) Plaintiff Scott Burkhardt has donated to the Cato Institute, Reason Foundation,

Heritage Foundation and others. (Burkhardt Dep. at 26-29, FEC Exh. 7.)

       436.    Contributors to SpeechNow, including the individual plaintiffs, also can make

independent expenditures themselves, either performing tasks themselves or hiring persons to

perform those tasks. For example, plaintiffs have alleged that they could produce and air

advertisements in a single media market (Indianapolis, Baton Rouge, or New Orleans) for less

than $70,000. Thus, Mr. Young, who allegedly is willing to contribute $110,000, could finance

these or similar advertisements himself. (Young Dep. at 92-93, FEC Exh. 19.)

       437.    Technology has made purchasing of advertisements easier than ever. There are

several companies that now provide the means for individuals to pay to air advertisements.

One company, Wide Orbit, Inc. dba VoterVoter.com, allows citizens to finance advertisements




                                               133
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 139 of 142



for as little as $500. (Advisory Opinion Request 2008-10, FEC Exh. 120. See

http://www.votervoter.com/wot-tvad/.) Another company, SaysMe.tv, represented by one of the

counsel for SpeechNow, allows citizens to place their own television advertisements on cable

television for as little as $50. (Comment by SaysMe.tv on AOR 2008-10, FEC Exh. 121.

See http://www.saysme.tv/.)

       VI.      Political Committee Reporting Requirements Do Not Threaten The Survival
                of SpeechNow or Other Campaign Groups.

       438.     The registration, recordkeeping and reporting obligations for nonconnected

committees are straightforward and are not burdensome. (See infra Facts 439-452.)

       439.     Any organization that qualifies as a political committee must register with the

Commission by filing FEC Form 1, a four-page form. (2 U.S.C. § 433; FEC Form 1 and

Instructions, FEC Exh. 125-126.)

       440.     Registration with the Commission is pretty straightforward. Committees just file

FEC Form 1. (Scott Dep. at 108-109, FEC Exh. 14.)

       441.     Approximately 8,000 political committees currently are registered with the

Commission, but not all are active in the current election cycle. (Scott Dep. at 77-79, 127-130,

FEC Exh. 14.)

       442.     Political committees must file periodic reports for disclosure to the public of all

receipts and disbursements to or from a person in excess of $200 in a calendar year (and in some

instances, of any amount), as well as total operating expenses and cash on hand. (See 2 U.S.C.

§§ 433-34.)

       443.     Nonconnected political committees file their reports on FEC Form 3X. Scott

Dep. at 124. Any independent expenditures by nonconnected political committees are disclosed




                                                 134
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 140 of 142



on Schedule E. (Scott Dep. at 124-125, 127, FEC Exh. 14; FEC Form 3X and Instructions,

FEC Exh. 127-128.)

       444.    Generally, the reporting requirements that apply to nonconnected political

committees are not complicated. While there may be some provisions of the regulations that are

more complicated that others, the basic provisions regarding registration, fundraising and

reporting are not complicated. (Scott Dep. at 156, FEC Exh. 14.)

       445.    It is not “burdensome for a group or individual to file reports of its receipts and

disbursements with the Federal Election Commission.” Robert Hickmott, former DNC

Associate Finance Director and DSCC Deputy Executive Director, believes it would not be

burdensome “[b]ased on [his] experience at the DNC and DSCC, and because of the reporting I

must do as a registered lobbyist before Congress. . . . Although filing properly with the

Commission may require some additional training, and certainly requires recordkeeping and

other administrative tasks, thousands and thousands of PACs and other political committees have

successfully registered and reported to the FEC over the course of the past 25 years.” (Hickmott

Decl. ¶ 12, FEC Exh. 114.)

       446.    Since 1990, the number of nonconnected committees has been increasing rather

than decreasing. This confirms that the reporting requirements have not inhibited the

development and maintenance of committees. (See supra Facts 376-383.)

       447.    SpeechNow can handle registration and reporting as a political committee. (See

infra Facts 448-452.)

       448.    Plaintiff David Keating is Treasurer of SpeechNow. (See supra Fact 42.)

If SpeechNow were to register and report with the Commission as a federal political committee,




                                                135
       Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 141 of 142



David Keating, as treasurer, would be the one responsible for ensuring that the reports are filed.

(Keating Dep. at 181, FEC Exh. 11.)

       449.    As noted earlier, Mr. Keating developed a successful PAC at the National

Taxpayers Union. (See supra Fact 410.) Mr. Keating assisted NTU PAC with its reporting

obligations under the Act. (Keating Dep. at 29-30, FEC Exh. 11.)

       450.    Mr. Keating also has directed Club for Growth’s highly successful PAC since

2000. (See supra Fact 414.) Mr. Keating has assisted Club for Growth PAC with its reporting

obligations under the Act by “help[ing] the organization determine what its obligations were and

help to see that it had the systems in place to make sure the reports are filed properly.” (Keating

Dep. at 29-30, FEC Exh. 11.)

       451.    David Keating admitted, in his remarks at a policy forum sponsored by The Cato

Institute about this litigation, that he understands the legal requirements under the Act for

reporting by political committees and can perform the duties of treasurer, stating “I can

handle it.” He also said, with respect to fundraising under the Act, “I think I can handle it.”

(Partial Transcript of Policy Forum “Freeing SpeechNow: Free Speech and Association vs.

Campaign Finance Regulation” (March 5, 2008) at 3, FEC Exh. 129.)

       452.    At deposition, Mr. Keating acknowledged that he could perform the

responsibilities of treasurer of SpeechNow, saying “I’m sure I could do it.” (Keating Dep.

at 180-181, FEC Exh. 11.) David Keating “generally” understands the requirements for

reporting by nonconnected political committees. (Keating Dep. at 180, FEC Exh. 11.)

                                              Respectfully submitted,

                                              Thomasenia P. Duncan
                                              (D.C. Bar No. 424222)
                                              General Counsel




                                                136
      Case 1:08-cv-00248-JDB Document 45 Filed 10/28/08 Page 142 of 142



                                   David Kolker
                                   (D.C. Bar No. 394558)
                                   Associate General Counsel

                                   Kevin Deeley
                                   Assistant General Counsel

                                   Robert W. Bonham III
                                   (D.C. Bar No. 397859)
                                   Senior Attorney

                                   Vivien Clair
                                   Steve N. Hajjar
                                   Greg J. Mueller
                                   (D.C. Bar No. 462840)
                                   Graham Wilson
                                   Attorneys

October 28, 2008                   FOR THE DEFENDANT
                                   FEDERAL ELECTION COMMISSION
                                   999 E Street NW
                                   Washington, DC 20463
                                   (202) 694-1650




                                     137
